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          UNITED STATES DISTRICT COURT
    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


                          No. 2:20-cv-966


     DONALD J. TRUMP FOR PRESIDENT, INC., et al.,

                                            Plaintiffs

                                 v.

     KATHY BOOCKVAR, in her capacity as Secretary of the
     Commonwealth of Pennsylvania, et al.,

                                            Defendants.


                             OPINION


     J. Nicholas Ranjan, United States District Judge

            Plaintiffs in this case are President Trump’s
     reelection campaign, the Republican National Committee,
     and several other Republican congressional candidates and
     electors. They originally filed this suit, alleging federal
     and state constitutional violations stemming from
     Pennsylvania’s implementation of a mail-in voting plan for
     the upcoming general election.

            Since then, the Pennsylvania Supreme Court issued
     a decision involving similar claims, which substantially
     narrowed the focus of this case. And Secretary of the
     Commonwealth, Kathy Boockvar, issued additional
     election “guidance,” which further narrowed certain of the
     claims.

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            Therefore, as this case presently stands, only three
     claims remain. First, whether the use of so-called “drop
     boxes”1 for mail-in ballots is unconstitutional, given the
     lack of guidance or mandates that those drop boxes have
     security guards to man them. Second, whether the
     Secretary’s guidance as to mail-in ballots—specifically, her
     guidance that county election boards should not reject
     mail-in ballots where the voter’s signature does not match
     the one on file—is unconstitutional. Third, whether
     Pennsylvania’s restriction that poll watchers be residents
     in the county for which they are assigned, as applied to the
     facts of this case, is unconstitutional.

           In order to present these claims to the Court on a
     complete record, the parties engaged in extensive fact and
     expert discovery, and have filed cross-motions for summary
     judgment. No party has raised a genuine dispute of
     material fact that would require a trial, and the Court has
     found none. As such, the parties’ cross-motions for
     summary judgment are ready for disposition.

            After a careful review of the parties’ submissions
     and the extensive evidentiary record, the Court will enter
     judgment in favor of Defendants on all of Plaintiffs’ federal-
     constitutional claims, decline to exercise supplemental
     jurisdiction over the state-constitutional claims, and
     dismiss this case. This is so for two main reasons.

            First, the Court concludes that Plaintiffs lack Article
     III standing to pursue their claims. Standing, of course, is
     a necessary requirement to cross the threshold into federal
     court. Federal courts adjudicate cases and controversies,
     where a plaintiff’s injury is concrete and particularized.
     Here, however, Plaintiffs have not presented a concrete
     injury to warrant federal-court review. All of Plaintiffs’
     remaining claims have the same theory of injury—one of
     “vote dilution.” Plaintiffs fear that absent implementation
     of the security measures that they seek (guards by drop
     boxes, signature comparison of mail-in ballots, and poll

     1“Drop boxes” are receptacles similar to U.S. Postal Service
     mailboxes. They are made of metal, and have a locking
     mechanism, storage compartment, and an insert or slot
     into which a voter can insert a ballot. See generally [ECF
     549-9].
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     watchers), there is a risk of voter fraud by other voters. If
     another person engages in voter fraud, Plaintiffs assert
     that their own lawfully cast vote will, by comparison, count
     for less, or be diluted.

            The problem with this theory of harm is that it is
     speculative, and thus Plaintiffs’ injury is not “concrete”—a
     critical element to have standing in federal court. While
     Plaintiffs may not need to prove actual voter fraud, they
     must at least prove that such fraud is “certainly
     impending.” They haven’t met that burden. At most, they
     have pieced together a sequence of uncertain assumptions:
     (1) they assume potential fraudsters may attempt to
     commit election fraud through the use of drop boxes or
     forged ballots, or due to a potential shortage of poll
     watchers; (2) they assume the numerous election-security
     measures used by county election officials may not work;
     and (3) they assume their own security measures may have
     prevented that fraud.

            All of these assumptions could end up being true,
     and these events could theoretically happen. But so could
     many things. The relevant question here is: are they
     “certainly impending”? At least based on the evidence
     presented, the answer to that is “no.” And that is the legal
     standard that Plaintiffs must meet. As the Supreme Court
     has held, this Court cannot “endorse standing theories that
     rest on speculation about the decisions of independent
     actors.” See Clapper v. Amnesty Int’l USA, 568 U.S. 398,
     414 (2013).

            Second, even if Plaintiffs had standing, their claims
     fail on the merits. Plaintiffs essentially ask this Court to
     second-guess the judgment of the Pennsylvania General
     Assembly and election officials, who are experts in creating
     and implementing an election plan. Perhaps Plaintiffs are
     right that guards should be placed near drop boxes,
     signature-analysis experts should examine every mail-in
     ballot, poll watchers should be able to man any poll
     regardless of location, and other security improvements
     should be made. But the job of an unelected federal judge
     isn’t to suggest election improvements, especially when
     those improvements contradict the reasoned judgment of
     democratically elected officials. See Andino v. Middleton,
     --- S. Ct. ---, 2020 WL 5887393, at *1 (Oct. 5, 2020)

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     (Kavanaugh, J. concurring) (state legislatures should not
     be subject to “second-guessing by an unelected federal
     judiciary,” which is “not accountable to the people”)
     (cleaned up).

            Put differently, “[f]ederal judges can have a lot of
     power—especially when issuing injunctions. And
     sometimes we may even have a good idea or two. But the
     Constitution sets out our sphere of decision-making, and
     that sphere does not extend to second-guessing and
     interfering with a State’s reasonable, nondiscriminatory
     election rules.” New Georgia Project v. Raffensperger, ---
     F.3d ---, 2020 WL 5877588, at *4 (11th Cir. Oct. 2, 2020).

           As discussed below, the Court finds that the election
     regulations put in place by the General Assembly and
     implemented by Defendants do not significantly burden
     any right to vote. They are rational. They further
     important state interests.       They align with the
     Commonwealth’s elaborate election-security measures.
     They do not run afoul of the United States Constitution.
     They will not otherwise be second-guessed by this Court.

                         BACKGROUND

     I.    Procedural Background

           A.     Plaintiffs’ original claims.

            On June 29, 2020, Plaintiffs filed their original
     complaint in this case against Defendants, who are the
     Secretary of the Commonwealth and the 67 county boards
     of elections. [ECF 4]. With their lawsuit, Plaintiffs
     challenged a number of Pennsylvania’s procedures with
     respect to mail-in voting—in particular, the use of drop
     boxes and the counting of mail-in ballots that contained
     certain procedural defects. See [id.]. Shortly after filing
     their original complaint, Plaintiffs moved for expedited
     discovery and an expedited declaratory-judgment hearing.
     [ECF 6]. Defendants opposed the motion. The Court
     partially granted the motion, scheduled a speedy hearing,
     and ordered expedited discovery before that hearing. [ECF
     123; ECF 124].




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           After Plaintiffs filed the original complaint, many
     non-parties sought to intervene in the action, including
     several organizations.2 The Court granted all intervention
     motions. [ECF 309].

            Defendants and Intervenors moved to dismiss the
     original complaint.    In response, Plaintiffs filed an
     amended complaint. [ECF 234]. The amended complaint
     maintained the gist of the original, but added two new
     counts and made a variety of other drafting changes. See
     [ECF 242]. Defendants and Intervenors moved to dismiss
     the first amended complaint, too, primarily asking the
     Court to abstain and stay the case.

           Plaintiffs’ first amended complaint asserted nine
     separate counts, but they could be sorted into three
     overarching categories.

                  1.     Claims alleging vote dilution due
                         to unlawful ballot collection and
                         counting procedures.

            The first category covered claims related to allegedly
     unlawful procedures implemented by some Defendants for
     the collection and counting of mail-in and absentee ballots.
     Those included claims related to (1) Defendants’ uneven
     use of drop boxes and other satellite ballot-collection sites,
     (2) procedures for verifying the qualifications of voters
     applying in person for mail-in or absentee ballots, and (3)
     rules for counting non-compliant ballots (such as ballots
     submitted without a secrecy envelope, without an elector
     declaration, or that contained stray marks on the
     envelope).

            In Count I, Plaintiffs alleged violations of the
     Elections Clause and the related Presidential Electors
     Clause of the U.S. Constitution. [ECF 234, ¶¶ 193-205].

     2 Intervenors include the Pennsylvania State Democratic
     Party, the League of Women Voters, the NAACP
     Pennsylvania State Conference, Common Cause
     Pennsylvania, Citizens for Pennsylvania’s Future, the
     Sierra Club, the Pennsylvania Alliance for Retired
     Americans, and several affiliated individuals of these
     organizations.
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     Plaintiffs asserted that, under these provisions, only the
     state legislature may set the time, place, and manner of
     congressional elections and determine how the state
     chooses electors for the presidency. [Id. at ¶ 196].

            In support of this claim, Plaintiffs alleged that
     Secretary Boockvar’s guidance concerning the use of mail-
     in ballot drop boxes, whether county boards of elections
     must independently verify mail-in ballot applications, and
     the counting of non-compliant mail-in ballots, was an
     executive overreach—in that the Secretary’s guidance
     allegedly violated certain provisions of the Election Code
     enacted by the Pennsylvania General Assembly. [Id. at ¶
     201]. Plaintiffs also claimed that the Secretary’s “unlawful
     guidance” increased the risk of fraudulent or unlawful
     voting and infringed on the right to vote, which, they said,
     amounted to additional violations of the 1st and 14th
     Amendments to the U.S. Constitution. [Id. at ¶¶ 202-03].

            In Count II, Plaintiffs alleged a violation of the
     Equal-Protection Clause under the 14th Amendment. [Id.
     at ¶¶ 206-15]. Plaintiffs asserted that the implementation
     of the foregoing (i.e., mail-in ballot drop boxes, the
     verification of mail-in ballot applications, and the counting
     of non-compliant ballots) was different in different
     counties, thereby treating voters across the state in an
     unequal fashion. [Id. at ¶¶ 211-13].

            In Count III, Plaintiffs asserted a violation of the
     Pennsylvania State Constitution. [Id. at ¶¶ 216-22].
     Plaintiffs alleged that the same actions and conduct that
     comprised Counts I and II also violated similar provisions
     of the Pennsylvania Constitution. [Id. at ¶ 220].

            Finally, in Counts VI and VII, Plaintiffs alleged that
     Defendants violated provisions of the federal and state
     constitutions by disregarding the Election Code’s notice
     and selection requirements applicable to “polling places.”
     [Id. at ¶¶ 237-52]. Plaintiffs alleged that drop boxes are
     “polling places,” and thus subject to certain criteria for site
     selection and the requirement that county election boards
     provide 20 days’ public notice. [Id. at ¶¶ 239-42]. Plaintiffs
     asserted that Defendants’ failure to provide this notice or
     select appropriate “polling places” in the primary election,

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     if repeated in the general election, would create the risk of
     voter fraud and vote dilution. [Id. at ¶¶ 243-246].

                  2.     Poll-watcher claims.

            The second category of claims in the first amended
     complaint consisted of challenges to the constitutionality of
     Election-Code provisions related to poll watchers.

           In Count IV, Plaintiffs alleged violations of the 1st
     and 14th Amendments. These claims had both a facial and
     an as-applied component. [ECF 234, ¶ 230 (“On its face
     and as applied to the 2020 General Election . . .”)].

            First, Plaintiffs alleged that 25 P.S. § 2687 was
     facially unconstitutional because it “arbitrarily and
     unreasonably” limits poll watchers to serving only in their
     county of residence and to monitoring only in-person voting
     at the polling place on election day. [Id. at ¶ 226]. Second,
     Plaintiffs alleged that the same provision was
     unconstitutional as applied in the context of
     Pennsylvania’s new vote-by-mail system, because these
     poll-watcher restrictions, combined with insecure voting
     procedures, create unacceptable risks of fraud and vote
     dilution. [Id. at ¶ 228]. Plaintiffs contended that these
     limitations make it “functionally impracticable” for
     candidates to ensure that they have poll watchers present
     where ballots are deposited and collected, given the
     widespread use of remote drop boxes and other satellite
     collection sites. [Id.].

          Count V was the same as Count IV, but alleged that
     the same poll-watching restrictions violated the
     Pennsylvania Constitution, too. [Id. at ¶ 234].

                  3.     In-person voting claims.

            The third category of claims consisted of challenges
     to the procedures for allowing electors to vote in person
     after requesting a mail-in ballot.

           That is, in Counts VIII and IX, Plaintiffs asserted
     that the Election Code permits an elector that has
     requested a mail-in ballot to still vote in person so long as
     he remits his spoiled ballot. [ECF 234, ¶¶ 253-267].
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     Plaintiffs asserted that during the primary, some counties
     allowed such electors to vote in person, while others did
     not, and they fear the same will happen in the general
     election. [Id. at ¶¶ 255, 259]. Plaintiffs also asserted that
     some counties allowed electors who had voted by mail to
     vote in person, in violation of the Election Code. [Id. at ¶¶
     257-58]. Plaintiffs alleged that this conduct also violates
     the federal and state constitutional provisions concerning
     the right to vote and equal protection. [Id. at ¶¶ 261, 265].

           B.     The Court’s decision to abstain.

           Upon consideration of Defendants’ and Intervenors’
     motions to dismiss the first amended complaint, on August
     23, 2020, the Court issued an opinion abstaining under
     R.R. Comm’n of Tex. v. Pullman Co., 312 U.S. 496 (1941)
     and temporarily staying the case. [ECF 409, 410].

            In doing so, the Court determined that the three
     requisite prongs for Pullman abstention were met, and
     that the discretionary considerations weighed in favor of
     abstention. [ECF 409, p. 3 (“[Under Pullman, federal
     courts abstain] if (1) doing so requires interpretation of
     ‘unsettled questions of state law’; (2) permitting resolution
     of the unsettled state-law questions by state courts would
     ‘obviate the need for, or substantially narrow the scope of
     adjudication of the constitutional claims’; and (3) an
     ‘erroneous construction of state law would be disruptive of
     important state policies[.]’” (citing Chez Sez III Corp. v.
     Township of Union, 945 F.2d 628, 631 (3d Cir. 1991))); id.
     at p. 30 (explaining that after the three prongs of Pullman
     abstention are met, the court must “make a discretionary
     determination of whether abstention is appropriate given
     the particular facts of this case,” which requires weighing
     “such factors as the availability of an adequate state
     remedy, the length of time the litigation has been pending,
     and the impact of delay on the litigants.” (cleaned up))].

            The Court found that abstaining under Pullman was
     appropriate because of several unresolved ambiguities in
     Pennsylvania’s Election Code. Specifically, the Court
     found that there were significant ambiguities as to whether
     the Election Code (1) permitted delivery of ballots to
     locations other than the county election board’s
     headquarters, such as drop boxes, (2) permitted counties to

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     count ballots that were not placed within the “secrecy
     envelope” (i.e., “naked ballots”), (3) considered drop boxes
     and other ballot-collection sites as “polling places,” as
     defined in the Election Code, and (4) required counties to
     automatically verify ballot applications for mail-in ballots
     (where the person applied for the ballot in person), even if
     there was no “bona fide objection” to the application. [ECF
     409, pp. 17-23].

             The Court explained that each of these ambiguities,
     if settled, would significantly narrow—or even resolve—
     some of Plaintiffs’ claims. As the Court explained, for
     example, if a state court interpreted the Election Code to
     disallow drop boxes, Plaintiffs would obtain their requested
     relief (i.e., no drop boxes); alternatively, if drop boxes were
     authorized by the Election Code, then Plaintiffs’
     allegations that drop boxes were illegal would be
     eliminated, which would, in turn, significantly affect the
     constitutional analysis of Plaintiffs’ claims. [Id. at pp. 25-
     28]. The same held true for “naked ballots,” the breadth of
     coverage of “polling places,” and the requisite verification
     for personal ballot applications.

             The Court then explained that it was appropriate for
     it to abstain until a state court could interpret the
     ambiguous state law. [Id. at pp. 28-30]. The Court
     concluded that if it interpreted the ambiguous state law,
     there was a sufficient chance that a state court could
     disagree with the interpretation, which would render this
     Court’s interpretation not only advisory, but disruptive to
     state policies. The Court noted that especially in the
     election context, states have considerable discretion to
     implement their own policies without federal intervention.
     Accordingly, because these were questions of uninterpreted
     state law that were sufficiently ambiguous, federalism and
     comity demanded that a state court, not this Court, be the
     first interpreter.

            Finally, the Court explained that, despite the
     imminence of the election, abstention was still proper. [Id.
     at pp. 30-33]. The Court noted that state-court litigation
     was already pending that would resolve some of the
     statutory ambiguities at issue. [Id. at p. 31]. Further, the
     Court highlighted three courses Plaintiffs could
     immediately take to resolve the statutory ambiguities:

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     intervene in the pending state-court litigation; file their
     own state-court case; or appeal this Court’s abstention
     decision to the Third Circuit, and then seek certification of
     the unsettled state-law issues in the Pennsylvania
     Supreme Court. [Id. at pp. 31-33].

            Additionally, the Court explained that it would stay
     the entire case, despite several of Plaintiffs’ claims not
     being subject to Pullman abstention as they were not based
     on ambiguous state law. [Id. at pp. 34-37]. That’s because,
     in its discretion, the Court determined it would be more
     efficient for this case to progress as a single proceeding,
     rather than in piecemeal fashion. [Id.]. However, the
     Court allowed any party to move to lift the stay as to the
     few claims not subject to Pullman abstention, if no state-
     court decision had been issued by October 5, 2020. [Id.].

           On August 28, 2020, five days after the Court
     abstained, Plaintiffs moved to modify the Court’s stay, and
     moved for a preliminary injunction. [ECF 414]. Plaintiffs
     requested, among other things, that the Court order
     Defendants to segregate, and not pre-canvass or canvass,
     all ballots that were returned in drop boxes, lacked a
     secrecy envelope, or were delivered by a third party. [Id.].
     Plaintiffs also requested that the Court lift the stay by
     September 14, 2020, instead of October 5, 2020. [Id.].

           The Court denied Plaintiffs’ motion for preliminary
     injunctive relief, finding that Plaintiffs failed to show they
     would be irreparably harmed. [ECF 444; ECF 445]. The
     Court also declined to move up the date when the stay
     would be lifted. [Id.]. The Court noted that, at the request
     of Secretary Boockvar, the Pennsylvania Supreme Court
     had already exercised its extraordinary jurisdiction to
     consider five discrete issues and clarify Pennsylvania law
     in time for the general election. [Id. at p. 1]. Since that
     case appeared to be on track, the Court denied Plaintiffs’
     motion without prejudice, and the Court’s abstention
     opinion and order remained in effect.

           C.     The Pennsylvania          Supreme       Court’s
                  decision.

           On September 17, 2020, the Pennsylvania Supreme
     Court issued its decision in Pennsylvania Democratic Party

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     v. Boockvar, --- A.3d ---, 2020 WL 5554644 (Pa. Sept. 17,
     2020). The court clarified three issues of state election law
     that are directly relevant to this case.

                  1.     Counties are permitted under the
                         Election     Code  to    establish
                         alternate ballot-collection sites
                         beyond just their main county
                         office locations.

            The Pennsylvania Supreme Court first considered
     whether the Election Code allowed a Pennsylvania voter to
     deliver his or her mail-in ballot in person to a location other
     than the established office address of the county’s board of
     election. Boockvar, 2020 WL 5554644, at *8. The court
     further considered the means by which county boards of
     election could accept hand-delivered mail-in ballots. Id.

            Consistent with this Court’s abstention opinion, the
     court found that “the parties’ competing interpretations of
     the Election Code on [these questions] are reasonable,
     rendering the Code ambiguous” on these questions. Id.
     After applying traditional principles of statutory
     interpretation, the court held that “the Election Code
     should be interpreted to allow county boards of election to
     accept hand-delivered mail-in ballots at locations other
     than their office addresses including drop-boxes.” Id. at *9.
     The court reached this conclusion due to “the clear
     legislative intent underlying Act 77 … to provide electors
     with options to vote outside of traditional polling places.”
     Id.

            The respondents in that case further argued that
     this interpretation would cause county boards of election to
     “employ myriad systems to accept hand-delivered mail-in
     ballots,” which would “be unconstitutionally disparate
     from one another in so much as some systems will offer
     more legal protections to voters than others will provide”
     and violate the Equal-Protection Clause Id. The court
     rejected this argument. It found that “the exact manner in
     which each county board of election will accept these votes
     is entirely unknown at this point; thus, we have no metric
     by which to measure whether any one system offers more
     legal protection than another, making an equal protection
     analysis impossible at this time.” Id.

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                  2.     Ballots lacking inner secrecy
                         envelopes should not be counted.

            The court next considered whether the boards of
     elections “must ‘clothe and count naked ballots,’ i.e., place
     ballots that were returned without the secrecy envelope
     into a proper envelope and count them, rather than
     invalidate them.” Boockvar, 2020 WL 5554644, at *21.
     The court concluded that they should not.

             The court held that “the Legislature intended for the
     secrecy envelope provision [in the Election Code] to be
     mandatory.” Id. at *24. In other words, the relevant
     provisions “make clear the General Assembly’s intention
     that, during the collection and canvassing processes, when
     the outer envelope in which the ballot arrived is unsealed
     and the sealed ballot removed, it should not be readily
     apparent who the elector is, with what party he or she
     affiliates, or for whom the elector has voted.” Id. The
     secrecy envelope “properly unmarked and sealed ensures
     that result,” and “[w]hatever the wisdom of the
     requirement, the command that the mail-in elector utilize
     the secrecy envelope and leave it unblemished by
     identifying information is neither ambiguous nor
     unreasonable.” Id.

            As a result, the court ultimately concluded, “a mail-
     ballot that is not enclosed in the statutorily-mandated
     secrecy envelope must be disqualified.” Id. at *26

                  3.     Pennsylvania’s county-residency
                         requirement for poll watchers is
                         constitutional.

            The final relevant issue the court considered was
     whether the poll-watcher residency requirement found in
     25 P.S. § 2687(b) violates state or federal constitutional
     rights. Boockvar, 2020 WL 5554644, at *26. Relying on
     Republican Party of Pennsylvania v. Cortés, 218 F. Supp.
     3d 396 (E.D. Pa. 2016), the court concluded that the poll-
     watcher residency provision “impose[d] no burden on one’s
     constitutional right to vote and, accordingly, requires only
     a showing that a rational basis exists to be upheld.” Id. at
     *30.    The court found rational-basis review was
     appropriate for three reasons.

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             First, “there is no individual constitutional right to
     serve as a poll watcher; rather, the right to do so is
     conferred by statute.” Id. (citation omitted). Second, “poll
     watching is not incidental to the right of free association
     and, thus, has no distinct First Amendment protection.”
     Id. (cleaned up). Third, “poll watching does not implicate
     core political speech.” Id. (citation omitted).

            The court went on to find that there was a “clear
     rational basis for the county poll watcher residency
     requirement[.]” Id. That is, given “Pennsylvania has
     envisioned a county-based scheme for managing elections
     within the Commonwealth,” it is “reasonable that the
     Legislature would require poll watchers, who serve within
     the various counties of the state, to be residents of the
     counties in which they serve.” Id.

            In upholding the constitutionality of the “county poll
     watcher residency requirement,” the court rejected the
     claim that “poll watchers are vital to protect against voter
     fraud and that because of the distribution of voters
     throughout Pennsylvania, the residency requirement
     makes it difficult to identify poll watchers in all precincts.”
     Id. The court concluded that the claims of “heightened
     election   fraud      involving     mail-in   voting”     were
     “unsubstantiated” and “specifically belied by the Act 35
     report issued by [Secretary Boockvar] on August 1, 2020.”
     Id. Moreover, the court held that the “speculative claim
     that it is ‘difficult’ for both parties to fill poll watcher
     positions in every precinct, even if true, is insufficient to
     transform the Commonwealth’s uniform and reasonable
     regulation requiring that poll watchers be residents of the
     counties they serve into a non-rational policy choice.” Id.

            Based on the foregoing, the court declared “that the
     poll-watcher residency requirement does not violate the
     state or federal constitutions.” Id. at *31.

           D.     Plaintiffs’ notice of remaining claims.

            Following the Pennsylvania Supreme Court’s
     decision, this Court lifted the stay it had imposed pursuant
     to the Pullman abstention doctrine and ordered the parties
     to identify the remaining viable claims and defenses in the
     case. [ECF 447].

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            In their notice, Plaintiffs took the position that
     nearly all their claims remained viable, with a few discrete
     exceptions. Plaintiffs conceded that their “federal and
     state constitutional claims of voter dilution solely on the
     basis that drop boxes and other collection sites are not
     statutorily authorized by the Pennsylvania Election Code
     [were] no longer viable.” [ECF 448, p. 4]. They also stated
     that their “facial challenge to the county residency
     requirement under 25 P.S. § 2687 is no longer a viable
     claim.” [Id. at p. 10]. Plaintiffs also moved for leave to
     amend their complaint a second time to add new
     allegations and a new claim relating to Secretary
     Boockvar’s recent signature-comparison guidance. [ECF
     451].

            Defendants and Intervenors, for their part,
     suggested that Plaintiffs’ claims had been substantially
     narrowed, if not outright mooted, by the Pennsylvania
     Supreme Court’s decision, and reminded the Court that
     their arguments for dismissal remained outstanding.

           E.     The Court’s September             23,    2020,
                  memorandum orders.

            In response to the notices filed by the parties and
     Plaintiffs’ motion for leave to amend the first amended
     complaint, the Court issued an order granting Plaintiffs’
     motion, narrowing the scope of the lawsuit, and
     establishing the procedure for resolving the remaining
     claims. [ECF 459].

            As to Plaintiffs’ proposed amendment to their
     complaint, the Court found that the new claim and
     allegations were relatively narrow, and thus amendment
     wouldn’t prejudice Defendants and Intervenors. [Id. at pp.
     3-4]. As a result, the Court granted the motion. [Id. at p.
     4].

            The Court, however, did inform the parties that it
     would “continue to abstain under Pullman as to Plaintiffs’
     claim pertaining to the notice of drop box locations and,
     more generally, whether the “polling place” requirements
     under the Election Code apply to drop-box locations.” [Id.
     at p. 5]. This was so because those claims involve still-
     unsettled issues of state law. The Court explained that the

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     “fact that the Pennsylvania Supreme Court did not address
     this issue in its recent decision is immaterial” because the
     “propriety of Pullman abstention does not depend on the
     existence of parallel state-court proceedings.” [Id. (citing
     Stoe v. Flaherty, 436 F.3d 209, 213 (3d Cir. 2006)].
     Moreover, Plaintiffs had several other avenues to pursue
     prompt interpretation of state law after this Court
     abstained. [Id. at p. 6].

           The Court also informed the parties, for similar
     reasons, that it would continue to abstain with respect to
     Plaintiffs’ claims regarding Secretary Boockvar’s guidance
     that personal applications for mail-in ballots shall be
     accepted absent a “bona fide objection.” [ECF 460].

            The Court found that “no Article III ‘case or
     controversy’ remain[ed] with respect to the claims on which
     the Pennsylvania Supreme Court effectively ruled in
     Plaintiffs’ favor on state-law grounds (e.g., illegality of
     third-party ballot delivery; excluding ‘naked ballots’
     submitted without inner-secrecy envelopes).” [ECF 459, p.
     6]. Because there was “no reason to believe Defendants
     plan to violate what they themselves now agree the law
     requires,” the Court held that Plaintiffs’ claims were
     premature and speculative. [Id. at p. 7]. The Court
     therefore dismissed those claims as falling outside of its
     Article III power to adjudicate. [Id. (citations omitted)].

            To resolve the remaining claims, the Court directed
     the parties to file cross-motions for summary judgment
     presenting all arguments for dismissal or judgment under
     Federal Rule of Civil Procedure 56.        [Id. at pp. 8-10].
     Before briefing on those motions, the Court authorized
     additional expedited discovery. [Id. at pp. 4-5]. The parties
     completed discovery and timely filed their motions; they
     identified no material disputes of fact; and therefore, the
     motions are now fully briefed and ready for disposition.

           F.     The claims now at issue.

            Based on the Pennsylvania Supreme Court’s prior
     ruling, this Court’s prior decisions, Plaintiffs’ nine-count
     Second Amended Complaint, and recent guidance issued
     by Secretary Boockvar, the claims remaining in this case


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     are narrow and substantially different than those asserted
     at the outset of the case.

            Drop Boxes (Counts I-III). Plaintiffs still advance
     a claim that drop boxes are unconstitutional, but in a
     different way. Now that the Pennsylvania Supreme Court
     has expressly held that drop boxes are authorized under
     the Election Code, Plaintiffs now assert that the use of
     “unmanned” drop boxes is unconstitutional under the
     federal and state constitutions, for reasons discussed in
     more detail below.

            Signature Comparison (Counts I-III). Plaintiffs’
     newly added claim relates to signature comparison.
     Secretary Boockvar’s September 2020 guidance informs
     the county boards that they are not to engage in a signature
     analysis of mail-in ballots and applications, and they must
     count those ballots, even if the signature on the ballot does
     not match the voter’s signature on file. Plaintiffs assert
     that this guidance is unconstitutional under the federal
     and state constitutions.

            Poll Watching (Counts IV, V). The Pennsylvania
     Supreme Court already declared that Pennsylvania’s
     county-residency requirement for poll watchers is facially
     constitutional.    Plaintiffs now only assert that the
     requirement, as applied, is unconstitutional under the
     federal and state constitutions.

            The counts that remain in the Second Amended
     Complaint, but which are not at issue, are the counts
     related to where poll watchers can be located. That is
     implicated mostly by Counts VI and VII, and by certain
     allegations in Counts IV and V. The Court continues to
     abstain from reaching that issue. Plaintiffs have filed a
     separate state lawsuit that would appear to address many
     of those issues, in any event. [ECF 549-22; ECF 573-1].
     Counts VIII and IX concern challenges related to voters
     that have requested mail-in ballots, but that instead seek
     to vote in person. The Secretary issued recent guidance,
     effectively mooting those claims, and, based on Plaintiffs’
     positions taken in the course of this litigation, the Court
     deems Plaintiffs to have withdrawn Counts VIII and IX.
     [ECF 509, p. 15 n.4 (“[I]n the September 28 guidance
     memo, the Secretary corrected [her] earlier guidance to

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     conform to the Election Code and states that any mail-in
     voter who spoils his/her ballot and the accompanying
     envelopes and signs a declaration that they did not vote by
     mail-in ballot will be allowed to vote a regular ballot.
     Therefore, Plaintiffs agree to withdraw this claim from
     those that still are being pursued.”)].

     II.   Factual Background

           A.     Pennsylvania’s Election Code, and the
                  adoption of Act 77.

                  1.    The county-based election system.

            Pennsylvania’s Election Code, first enacted in 1937,
     established a county-based system for administering
     elections. See 25 P.S. § 2641(a) (“There shall be a county
     board of elections in and for each county of this
     Commonwealth, which shall have jurisdiction over the
     conduct of primaries and elections in such county, in
     accordance with the provisions of [the Election Code].”).
     The Election Code vests county boards of elections with
     discretion to conduct elections and implement procedures
     intended to ensure the honesty, efficiency, and uniformity
     of Pennsylvania’s elections. Id. §§ 2641(a), 2642(g).

                  2.    The adoption of Act 77.

           On October 31, 2019, the Pennsylvania General
     Assembly passed “Act 77,” a bipartisan reform of
     Pennsylvania’s Election Code. See [ECF 461, ¶¶ 91]; 2019
     Pa. Legis. Serv. Act 2019-77 (S.B. 421).

            Among other things, by passing Act 77,
     Pennsylvania joined 34 other states in authorizing “no
     excuse” mail-in voting by all qualified electors. See [ECF
     461, ¶¶ 92]; 25 P.S. §§ 3150.11-3150.17; [ECF 549-11, p. 5
     (“The largest number of states (34), practice no-excuse
     mail-in voting, allowing any persons to vote by mail
     regardless of whether they have a reason or whether they
     will be out of their jurisdiction on Election Day.”)].
     Previously, a voter could only cast an “absentee” ballot if
     certain criteria were met, such as that the voter would be
     away from the election district on election day. See 1998
     Pa. Legis. Serv. Act. 1998-18 (H.B. 1760), § 14.

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             Like the previous absentee voting system,
     Pennsylvania’s mail-in voting system requires voters to
     “opt-in” by requesting a ballot from either the Secretary or
     the voter’s county board of elections. See 25 P.S. §§
     3146.2(a), 3150.12(a). When requesting a ballot, the voter
     must provide, among other things, his or her name, date of
     birth, voting district, length of time residing in the voting
     district, and party choice for primary elections. See 25 P.S.
     §§ 3146.2(b), 3150.12(b). A voter must also provide proof of
     identification; namely, either a driver’s license number or,
     in the case of a voter who does not have a driver’s license,
     the last four digits of the voter’s Social Security number,
     or, in the case of a voter who has neither a driver’s license
     nor a Social Security number, another form of approved
     identification. 25 P.S. § 2602(z.5)(3). In this respect,
     Pennsylvania differs from states that automatically mail
     each registered voter a ballot—a practice known as
     “universal mail-in voting.” [ECF 549-11, p. 6] (“[N]ine
     states conduct universal vote-by-mail elections in which
     the state (or a local entity, such [as] a county or
     municipality) mails all registered voters a ballot before
     each election without voters’ [sic] having to request
     them.”).

                  3.     The COVID-19 pandemic.

            Since early 2020, the United States, and
     Pennsylvania, have been engulfed in a viral pandemic of
     unprecedented scope and scale. [ECF 549-8, ¶ 31]. In that
     time, COVID-19 has spread to every corner of the globe,
     including Pennsylvania, and jeopardized the safety and
     health of many people. [Id. at ¶¶ 31, 38-39, 54-55, 66]. As
     of this date, more than 200,000 Americans have died,
     including more than 8,000 Pennsylvanians. See Covid in
     the U.S.: Latest Map and Case Count, The New York
     Times, available at https://www.nytimes.com/interactive/
     2020/us/coronavirus-us-cases.html (last visited Oct. 10,
     2020); COVID-19 Data for Pennsylvania, Pennsylvania
     Department of Health, available at https://www.health.pa.
     gov/topics/disease/coronavirus/Pages/Cases.aspx        (last
     visited Oct. 10, 2020).

          There have been many safety precautions that
     Pennsylvanians have been either required or urged to take,
     such as limiting participation in large gatherings,

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     maintaining social distance, and wearing face coverings.
     [ECF 549-8, ¶¶ 58, 63-65]. The threat of COVID-19 is
     likely to persist through the November general election.
     [Id. at ¶¶ 53-56, 66-68].

           B.     Facts relevant to drop boxes.

            Pennsylvania’s county-based election system vests
     county boards of elections with “jurisdiction over the
     conduct of primaries and elections in such county, in
     accordance with the provisions” of the Election Code. 25
     P.S. § 2641(a). The Election Code further empowers the
     county boards to “make and issue such rules, regulations
     and instructions, not inconsistent with law, as they may
     deem necessary for the guidance of voting machine
     custodians, elections officers and electors.” Id. at § 2642(f).
     The counties are also charged with the responsibility to
     “purchase, preserve, store and maintain primary and
     election equipment of all kinds, including voting booths,
     ballot boxes and voting machines.” Id. at § 2642(c).

            As noted above, in Pennsylvania Democratic Party v.
     Boockvar, the Pennsylvania Supreme Court interpreted
     the Election Code, which allows for mail-in and absentee
     ballots to be returned to the “county board of election,” to
     “permit[] county boards of election to accept hand-delivered
     mail-in ballots at locations other than their office addresses
     including drop-boxes.” 2020 WL 5554644, at *10.

             Thus, it is now settled that the Election Code
     permits (but does not require) counties to authorize drop
     boxes and other satellite-collection locations for mailed
     ballots. 25 P.S. § 3150.16(a). Pennsylvania is not alone in
     this regard—as many as 34 other states and the District of
     Columbia authorize the use of drop boxes or satellite ballot
     collection sites to one degree or another. [ECF 549-11, p.
     8, fig. 4]. Indeed, Secretary Boockvar stated that as many
     as 16% of voters nationwide had cast their ballots using
     drop boxes in the 2016 general election, including the
     majority of voters in Colorado (75%) and Washington
     (56.9%). [ECF 547, p. 18 (citing ECF 549-16)].




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                  1.     Secretary Boockvar’s guidance
                         with respect to drop boxes.

             Since the passage of Act 77, Secretary Boockvar has
     issued several guidance documents to the counties
     regarding the counties’ implementation of mail-in voting,
     including guidance with respect to the use of drop boxes.
     [ECF 504-21; 504-22; 504-23; 504-24; 504-25; 571-1, Ex. E].
     In general terms, the Secretary’s guidance as to drop boxes
     informed the counties that the use of drop boxes was
     authorized by the Election Code and recommended “best
     practices” for their use. Her latest guidance offered
     standards for (1) where drop boxes should be located, [ECF
     504-23, § 1.2], (2) how drop boxes should be designed and
     what signage should accompany them, [id. at §§ 2.2-2.3],
     (3) what security measures should be employed, [id. at §
     2.5], and (4) what procedures should be implemented for
     collecting and returning ballots to the county election
     office, [id. at §§ 3.1-3.3, 4].

             As to the location of drop boxes, the Secretary
     recommended that counties consider the following criteria,
     [id. at § 1.2]:

           •   Locations that serve heavily populated
               urban/suburban areas, as well as rural areas;

           •   Locations near heavy traffic areas such as
               commercial corridors, large residential areas,
               major employers and public transportation
               routes;

           •   Locations that are easily recognizable and
               accessible within the community;

           •   Locations in areas in which there have
               historically been delays at existing polling
               locations, and areas with historically low
               turnout;

           •   Proximity to communities with historically low
               vote by mail usage;

           •   Proximity to language minority communities;

           •   Proximity to voters with disabilities;

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           •   Proximity to communities with low rates of
               household vehicle ownership;

           •   Proximity to low-income communities;

           •   Access to accessible and free parking; and

           •   The distance and time a voter must travel by car
               or public transportation.

           With respect to drop-box design criteria, the
     Secretary recommended to counties, [id. at § 2.2]:

           •   Hardware should be operable without any tight
               grasping, pinching, or twisting of the wrist;

           •   Hardware should require no more than 5 lbs. of
               pressure for the voter to operate;

           •   Receptacle should be operable within reach-
               range of 15 to 48 inches from the floor or ground
               for a person utilizing a wheelchair;

           •   The drop-box should provide specific points
               identifying the slot where ballots are inserted;

           •   The drop-box may have more than one ballot slot
               (e.g. one for drive-by ballot return and one for
               walk-up returns);

           •   To ensure that only ballot material can be
               deposited and not be removed by anyone but
               designated county board of election officials, the
               opening slot of a drop-box should be too small to
               allow tampering or removal of ballots; and

           •   The opening slot should also minimize the ability
               for liquid to be poured into the drop-box or
               rainwater to seep in.

          The   Secretary’s       guidance    as   to    signage
     recommended, [id. at § 2.3]:

           •   Signage should be in all languages required
               under the federal Voting Rights Act of 1965 (52
               U.S.C. Sec. 10503);

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           •   Signage should display language stating that
               counterfeiting, forging, tampering with, or
               destroying    ballots   is  a    second-degree
               misdemeanor pursuant to sections 1816 and
               1817 of the Pennsylvania Election Code (25 P.S.
               §§ 3516 and 3517);

           •   Signage should also provide a statement that
               third-party return of ballots is prohibited unless
               the person returning the ballot is rendering
               assistance to a disabled voter or an emergency
               absentee voter. Such assistance requires a
               declaration signed by the voter and the person
               rendering assistance; and

           •   Signage should provide a statement requesting
               that the designated county elections official
               should be notified immediately in the event the
               receptacle is full, not functioning, or is damaged
               in any fashion, and should provide a phone
               number and email address for such purpose.

            With respect to ballot security, the Secretary stated
     that county boards should implement the following
     security measures, [id. at § 2.5]:

           •   Only personnel authorized by the county board of
               elections should have access to the ballots inside
               of a drop-box;

           •   Drop-boxes should be secured in a manner to
               prevent their unauthorized removal;

           •   All drop-boxes should be secured by a lock and
               sealed with a tamper-evident seal. Only
               authorized election officials designated by the
               county board of elections may access the keys
               and/or combination of the lock;

           •   Drop-boxes should be securely fastened in a
               manner as to prevent moving or tampering, such
               as fastening the drop-box to concrete or an
               immovable object;

           •   During the hours when the staffed return site is
               closed or staff is unavailable, the drop-box should
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               be placed in a secure area that is inaccessible to
               the public and/or otherwise safeguarded;

           •   The county boards of election should ensure
               adequate lighting is provided at all ballot return
               sites when the site is in use;

           •   When feasible, ballot return sites should be
               monitored by a video security surveillance
               system, or an internal camera that can capture
               digital images and/or video. A video security
               surveillance system can include existing systems
               on county, city, municipal, or private buildings.
               Video surveillance should be retained by the
               county election office through 60 days following
               the deadline to certify the election; and

           •   To prevent physical damage and unauthorized
               entry, the drop-box at a ballot return site located
               outdoors should be constructed of durable
               material able to withstand vandalism, removal,
               and inclement weather.

           With respect to ballot collection and “chain of
     custody” procedures, the Secretary stated that counties
     should adhere to the following standards, [id. at §§ 3.1-3.2]:

           •   Ballots should be collected from ballot return
               sites only by personnel authorized by the county
               board of elections and at times determined by the
               board of elections, at least every 24 hours,
               excluding Saturdays and Sundays;

           •   The county board of elections should designate at
               least two election officials to collect voted ballots
               from a ballot return site. Each designated
               election official should carry identification or an
               official designation that identifies them as an
               election official authorized to collect voted
               ballots;

           •   Election officials designated to collect voted
               ballots by the board of elections should sign a
               declaration declaring that he or she will timely
               and securely collect and return voted ballots, will

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               not permit any person to tamper with a ballot
               return site or its contents, and that he or she will
               faithfully and securely perform his or her duties;

           •   The designated election officials should retrieve
               the voted ballots from the ballot return site and
               place the voted ballots in a secure ballot transfer
               container;

           •   The designated election officials should note on
               Ballot Return Site Collection Forms the site and
               unique identification number of the ballot return
               site and the date and time of retrieval;

           •   Ballots collected from any ballot return site
               should be immediately transported to the county
               board of elections;

           •   Upon arrival at the office of the county board of
               elections, the county board of elections, or their
               designee(s), should note the time of arrival on the
               same form, as described above;

           •   The seal number should be verified by a county
               election official or a designated representative;

           •   The county board of elections, or their
               designee(s), should inspect the drop-box or secure
               ballot transfer container for evidence of
               tampering and should receive the retrieved
               ballots by signing the retrieval form and
               including the date and time of receipt. In the
               event tampering is evident, that fact must be
               noted on the retrieval form;

           •   The completed collection form should be
               maintained in a manner proscribed by the board
               of elections to ensure that the form is traceable
               to its respective secure ballot container; and

           •   The county elections official at the county
               election office or central count location should
               note the number of ballots delivered on the
               retrieval form.



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           And finally, as to election day and post-election day
     procedures with respect to drop boxes, the Secretary
     provided as follows, [id. at §§ 3.3, 4]:

           •   The county board of elections should arrange for
               authorized personnel to retrieve ballots on
               election night and transport them to the county
               board of elections for canvassing of the ballots;

           •   Authorized personnel should be present at ballot
               return sites immediately prior to 8:00 p.m. or at
               the time the polls should otherwise be closed;

           •   At 8:00 p.m. on election night, or later if the
               polling place hours have been extended, all ballot
               return sites and drop-boxes must be closed and
               locked;

           •   Staff must ensure that no ballots are returned to
               the ballot return site after the close of polls;

           •   After the final retrieval after the closing of the
               polls, the drop-box must be removed or locked
               and/or covered to prevent any further ballots
               from being deposited, and a sign shall be posted
               indicating that polling is closed for the election;
               and

           •   Any ballots collected from a return site should be
               processed in the same manner as mail-in ballots
               personally delivered to the central office of the
               county board of elections official by the voter and
               ballots received via the United States Postal
               Service or any other delivery service.

              The Secretary and her staff developed this guidance
     in consultation with subject-matter experts within her
     Department and after review of the policies, practices, and
     laws in other states where drop boxes have been used.
     [ECF 549-6, pp. 23:14-22]. The evidence reflects at least
     one instance in which the Secretary’s deputies reiterated
     that these “best practices” should be followed in response
     to inquiries from county officials considering whether to
     use drop boxes. [ECF 549-32 (“Per our conversation, the
     list of items are things the county must keep in mind if you

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     are going to provide a box for voters to return their ballots
     in person.”)].

           Approximately 24 counties plan to use drop boxes
     during the November general election, to varying degrees.
     [ECF 549-28; ECF 504-1]. Of these, about nine counties
     intend to staff the drop boxes with county officials, while
     about 17 counties intend to use video surveillance in lieu of
     having staff present. [ECF 549-28].

                  2.     Defendants’    and     Intervenors’
                         evidence of the benefits and low
                         risks associated with drop boxes.

            Secretary Boockvar advocates for the use of drop
     boxes as a “direct and convenient way” for voters to deliver
     cast ballots to their county boards of elections, “thereby
     increasing turnout.” [ECF 547, p. 22 ¶ 54 (citing 549-11 at
     pp. 10-11)]. The Secretary also touts the special benefits of
     expanding drop-box use in the ongoing COVID-19
     pandemic. Specifically, she asserts that drop boxes reduce
     health risks and inspire voter confidence because “many
     voters understandably do not wish to cast their votes in
     person at their polling place on Election Day” due to
     COVID-19. [Id. at ¶¶ 55, 57 (citing ECF 549-2 ¶ 39; ECF
     549-11 at p. 10; 549-8, ¶ 95)]. Drop boxes, she says, allow
     voters to vote in person without coming into “close
     proximity to other members of the public, compared to in-
     person voting or personally delivering a mail-in ballot to a
     public office building.” [Id. at ¶ 57].

            Secretary Boockvar also states that drop boxes are
     highly convenient, and cost-saving, for both counties and
     voters. For counties, she notes that “24-hour secure ballot
     drop boxes” are “cost-effective measures . . . as they do not
     have to be staffed by election judges.” [Id. at p. 24 ¶ 62
     (citing ECF 549-11 at p. 11); ECF 549-9 at ¶ 34]. As for
     voters, the Secretary explains that, in a state where “ten
     counties . . . cover more than 1,000 square miles” and “two-
     thirds” of counties “cover more than 500 square miles,”
     many Pennsylvania voters “could be required to drive
     dozens of miles (and perhaps in excess of 100 miles) if he or
     she wished to deposit his or her mail-in ballot in person at
     the main county board of elections office.” [Id. at ¶ 58
     (citing ECF 549-29)].

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            In addition to any tangible benefit drop boxes may
     have for voter access and turnout, Secretary Boockvar also
     states that drop boxes have a positive impact on voter
     confidence. In particular, she cites a recent news article,
     and a letter sent by the General Counsel of the U.S. Postal
     Service regarding Pennsylvania’s absentee and mail-in
     ballot deadline, which have raised concerns over the
     timeliness and reliability of the U.S. Postal Service. [Id. at
     ¶¶ 60-61 (citing ECF 549-13; ECF 549-14); ECF 549-17;
     ECF 549-2 ¶¶ 42-43]. Voters’ fears that votes returned by
     mail will not be timely counted could, the Secretary
     worries, “justifiably dissuade voters from wanting to rely
     upon the Postal Service for return of their mail-in or
     absentee ballot.” [ECF 547, ¶ 61]. Drop boxes, she says,
     can address this concern by allowing voters to safely return
     mail-in ballots to an in-person location.

             In exchange for these benefits, the Secretary insists
     that any potential security risk associated with drop boxes
     is low. She notes that the federal Department of Homeland
     Security has released guidance affirming that a “ballot
     drop box provides a secure and convenient means for voters
     to return their mail ballot,” and recommending that states
     deploy one drop box for every 15,000 to 20,000 registered
     voters. [Id. at ¶¶ 63-65 (citing ECF 549-24, p. 1)]. She also
     points to a purported lack of evidence of systemic ballot
     harvesting or any attempts to tamper with, destroy, or
     otherwise commit voter fraud using drop boxes, either in
     Pennsylvania’s recent primary election, or in other states
     that have used drop boxes for many years. [Id. at ¶¶ 68-74
     (citations omitted)]. And she asserts that “[i]n the last 20
     years in the entire state of Pennsylvania, there have been
     fewer than a dozen confirmed cases of fraud involving a
     handful of absentee ballots” among the many millions of
     votes cast during that time period. [Id. at ¶ 70 (citing ECF
     549-10, pp. 3-4)].

            Finally, the Secretary, and other Defendants and
     Intervenors, argue that Pennsylvania already has robust
     measures in place to prevent fraud, including its criminal
     laws, voter registration system, mail-in ballot application
     requirement, and canvassing procedures. [Id. at ¶¶ 66-67
     (citing 25 P.S. §§ 3516 - 3518)]; [ECF 549-9, p. 15, ¶¶ 46-47
     (“These allegations are not consistent with my experience
     with drop box security, particularly given the strong voter
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     verification procedures that are followed by elections
     officials throughout the country and in Pennsylvania.
     Specifically, the eligibility and identity of the voter to cast
     a ballot is examined by an election judge who reviews and
     confirms all the personal identity information provided on
     the outside envelope. Once voter eligibility is confirmed,
     the ballot is extracted and separated from the outside
     envelope to ensure the ballot remains secret. During this
     step, election judges confirm that there is only one ballot in
     the envelope and checks for potential defects, such as tears
     in the ballot. . . . Regardless of the receptacle used for
     acceptance of the ballot (drop box versus USPS mailbox),
     ballot validation occurs when the ballot is received by the
     county board of elections. The validation is the same
     regardless of how the ballots are collected or who delivers
     the ballot, even where that delivery contravenes state
     law.”)].

            Defendants and Intervenors also point to several
     expert reports expressing the view that drop boxes are both
     low risk and beneficial. These experts include:

            Professor Matthew A. Barreto, a Professor of
     Political Science and Chicana/o Studies at UCLA. [ECF
     549-7]. Professor Barreto offers the opinion that ballot
     drop boxes are an important tool in facilitating voting in
     Black and Latino communities. Specifically, he discusses
     research showing that Black and Latino voters are
     “particularly concerned about the USPS delivering their
     ballots.” [Id. at ¶ 22]. And he opines that ballot drop boxes
     help to reassure these voters that their vote will count,
     because “there is no intermediary step between the voters
     and the county officials who collect the ballot.” [Id. at ¶
     24].

            Professor Donald S. Burke, a medical doctor and
     Distinguished University Professor of Health Science and
     Policy, Jonas Salk Chair in Population Health, and
     Professor of Epidemiology at the University of Pittsburgh.
     [ECF 549-8]. Professor Burke details the “significant risk
     of exposure” to COVID-19 in “enclosed areas like polling
     places.” [Id. at ¶ 69]. He opines that “depositing a ballot
     in a mailbox and depositing a ballot in a drop-box are
     potential methods of voting that impart the least health


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     risk to individual voters, and the least public health risk to
     the community.” [Id. at ¶ 95].

            Amber McReynolds, the CEO of the National Vote
     at Home Institute, with 13 years of experience
     administering elections as an Elections Director, Deputy
     Director, and Operations Manager for the City and County
     of Denver, Colorado. [ECF 549-9]. Ms. McReynolds opines
     that “[b]allot drop-boxes can be an important component of
     implementing expanded mail-in voting” that are “generally
     more secure than putting a ballot in post office boxes.” [Id.
     at ¶ 16 (a)]. She notes that “[d]rop boxes are managed by
     election officials . . . delivered to election officials more
     quickly than delivery through the U.S. postal system, and
     are secure.” [Id.].

            Ms. McReynolds also opines that Secretary
     Boockvar’s guidance with respect to drop boxes is
     “consistent with best practices and advice that NVAHI has
     provided across jurisdictions.” [Id. at ¶ 35]. But she also
     notes that “[b]est practices will vary by county based on the
     county’s available resources, population, needs, and
     assessment of risk.” [Id. at ¶ 52].

             More generally, Ms. McReynolds argues that
     “[d]rop-boxes do not create an increased opportunity for
     fraud” as compared to postal boxes. [Id. at ¶ 44]. She also
     suggests that Pennsylvania guards against such fraud
     through other “strong voter verification procedures,”
     including “ballot validation [that] occurs when the ballot is
     received by the county board of elections” and
     “[r]econciliation procedures adopted by election officials . .
     . [to] protect against the potential risk of double voting.”
     [Id. at ¶¶ 46-48]. She notes that “Pennsylvania’s balloting
     system requires that those who request a mail-in vote and
     do not return the ballot (or spoil the mail-in ballot at their
     polling place), can only vote a provisional ballot” and “[i]f a
     mail-in or absentee ballot was submitted by an individual,
     their provisional ballot is not counted.” [Id. at ¶ 48].

           Professor Lorraine C. Minnite, an Associate
     Professor and Chair of the Department of Public Policy and
     Administration at Rutgers University-Camden. [ECF 549-
     10]. Professor Minnite opines that “the incidence of voter
     fraud in contemporary U.S. elections is exceedingly rare,

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     including the incidence of voter impersonation fraud
     committed through the use of mail-in absentee ballots.”
     [Id. at p. 3]. In Pennsylvania specifically, she notes that
     “[i]n the last 20 years . . . there have been fewer than a
     dozen confirmed cases of fraud involving a handful of
     absentee ballots, and most of them were perpetrated by
     insiders rather than ordinary voters.” [Id. at pp. 3-4]. As
     a “point of reference,” she notes that 1,459,555 mail-in and
     absentee ballots were cast in Pennsylvania’s 2020 primary
     election alone. [Id. at 4].

            Professor Robert M. Stein, a Professor of Political
     Science at Rice University and a fellow in urban politics at
     the Baker Institute. [ECF 549-11]. Professor Stein opines
     that “the Commonwealth’s use of drop boxes provides a
     number of benefits without increasing the risk of mail-in or
     absentee voter fraud that existed before drop boxes were
     implemented because (manned or unmanned) they are at
     least as secure as U.S. Postal Service (‘USPS’) mailboxes,
     which have been successfully used to return mail-in ballots
     for decades in the Commonwealth and elsewhere around
     the U.S.” [Id. at p. 3]. According to Professor Stein, the
     use of drop boxes “has been shown to increase turnout,”
     which he suggests is particularly important “during a
     global pandemic and where research has shown that
     natural and manmade disasters have historically had a
     depressive effect on voter turnout.” [Id. at p. 4]. Professor
     Stein notes that “[d]rop boxes are widely used across a
     majority of states as a means to return mail-in ballots” and
     he is “not aware of any studies or research that suggest
     that drop boxes (manned or unmanned) are a source for
     voter fraud.” [Id.]. Nor is he aware “of any evidence that
     drop boxes have been tampered with or led to the
     destruction of ballots.” [Id.].

            Professor Paul Gronke, a Professor of Political
     Science at Reed College and Director of the Early Voting
     Information Center. [ECF 545-7]. Professor Gronke
     recommends that “drop boxes should be provided in every
     jurisdiction that has significant (20% or more) percentage[]
     of voters casting a ballot by mail, which includes
     Pennsylvania” for the general election. [Id. at ¶ 6]. He
     avers that “[s]cientific research shows that drop boxes raise
     voter turnout and enhance voter confidence in the elections
     process.” [Id. at ¶ 7]. Voters, he explains, “utilize drop
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     boxes heavily—forty to seventy percent of voters in vote by
     mail states and twenty-five percent or more in no-excuse
     absentee states.” [Id.]. Professor Gronke further states
     that he is “not aware of any reports that drop boxes are a
     source for voter fraud” despite having “been in use for years
     all over the country.” [Id. at ¶ 8]. And he suggests that the
     use of drop boxes is “especially important” in an election
     “that will be conducted under the cloud of the COVID-19
     pandemic, and for a state like Pennsylvania that is going
     to experience an enormous increase in the number of by-
     mail ballots cast by the citizenry of the state.” [Id. at ¶ 9].

            Based on this evidence, and the purported lack of
     any contrary evidence showing great risks of fraud
     associated with the use of drop boxes, Defendants and
     Intervenors argue that Pennsylvania’s authorization of
     drop boxes, and the counties’ specific implementation of
     them, furthers important state interests at little cost to the
     integrity of the election system.

                  3.     Plaintiffs’ evidence of the risks of
                         fraud and vote dilution associated
                         with drop boxes.

            Plaintiffs, on the other hand, argue that the drop
     boxes allow for an unacceptable risk of voter fraud and
     “illegal delivery or ballot harvesting” that, when it occurs,
     will “dilute” the votes of all lawful voters who comply with
     the Election Code. See, e.g., [ECF 461, ¶¶ 127-128]. As
     evidence of the dilutive impact of drop boxes, Plaintiffs
     offer a combination of anecdotal and expert evidence.

            Foremost among this evidence is the expert report of
     Greg Riddlemoser, the former Director of Elections and
     General Registrar for Stafford County, Virginia from 2011
     until 2019. [ECF 504-19]. According to Mr. Riddlemoser,
     “voter fraud exists.” [Id. at p. 2]. He defines the term
     “voter fraud” to mean any “casting and/or counting of
     ballots in violation of a state’s election code.” [Id.].
     Examples he gives include: “Voting twice yourself—even if
     in multiple jurisdictions,” “voting someone else’s ballot,”
     and “[e]lection officials giving ballots to or counting ballots
     from people who were not entitled to vote for various



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     reasons.” [Id. at pp. 2-3]. All of these things, he asserts,
     are “against the law and therefore fraudulent.” [Id.].3

            Mr. Riddlemoser argues that “ballot harvesting”
     (which is the term Plaintiffs use to refer to situations in
     which an individual returns the ballots of other people)
     “persists in Pennsylvania.” [Id. at p. 3]. He points to the
     following evidence to support this opinion:

           •   Admissions by Pennsylvania’s Deputy Secretary
               for Elections and Commissions, Jonathan Marks,
               that “several Pennsylvania counties permitted
               ballot harvesting by counting ballots that were
               delivered in violation of Pennsylvania law”
               during the recent primary election, [Id.];

           •   “[S]everal instances captured by the media where
               voters in the June 2020 Primary deposited
               multiple ballots into unstaffed ballot drop boxes,”
               [Id. at p. 4];

           •   “Other photographs and video footage of at least
               one county’s drop box (Elk County) on Primary
               Election day” which “revealed additional
               instances of third-party delivery,” [Id.]; and

           •   “Documents produced by Montgomery County”
               which “reveal that despite signs warning that
               ballot harvesting is not permitted, people during
               the 2020 Primary attempted to deposit into the
               five drop boxes used by that county ballots that
               were not theirs,” [Id.].

            With respect to the use of “unstaffed” or “unmanned”
     ballot drop boxes, Mr. Riddlemoser expresses the opinion
     that “the use of unmanned drop boxes presents the easiest
     opportunity for voter fraud” and “certain steps must be




     3 As noted above, Plaintiffs and Mr. Riddlemoser use the
     term “voter fraud” to mean “illegal voting”—i.e., voter
     fraud is any practice that violates the Election Code. For
     purposes of the Court’s decision and analysis of Plaintiffs’
     vote-dilution claims, the Court accepts this definition.
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     taken to make drop boxes ‘secure’ and ‘monitored.’” [Id. at
     p. 16].

            He states that, to be “secure,” drop boxes must be
     “attended” by “sworn election officials” at all times (i.e.,
     “never left unattended at any time they are open for ballot
     drop-off.”). [Id.]. He further suggests that officials
     stationed at drop boxes must be empowered, and required,
     to “verify the person seeking to drop off a ballot is the one
     who voted it and is not dropping off someone else’s ballot.”
     [Id.]. Doing so, he says, would, in addition to providing
     better security, also “allow the election official to ask the
     voter if they followed the instructions they were provided .
     . . and assist them in doing so to remediate any errors,
     where possible, before ballot submission.” [Id.].

            In addition to being “manned,” Mr. Riddlemoser
     suggests that certain procedures with respect to ballot
     collection are necessary to ensure the integrity of votes cast
     in drop boxes. For example, he suggests that, at the end of
     each day, drop boxes, which should themselves be
     “tamperproof,” should “be verifiably completely emptied
     into fireproof/tamperproof receptacles, which are then
     sealed and labeled by affidavit as to whom, where, when,
     etc.” [Id.] Once sealed, the containers “must then be
     transported by sworn officials in a county owned vehicle
     (preferably marked law enforcement) back to the county
     board where they are properly receipted and safeguarded.”
     [Id.]. Emptied drop boxes should also be sealed at the end
     of each day “such that they are not able to accept any
     additional ballots until they are ‘open’ again[.]” [Id.]. And
     boxes should be “examined to ensure no ballots are in the
     box, that nothing else is inside the box, and that the
     structural integrity and any security associated with the
     box remains intact.” [Id.]. All of this, he suggests, should
     also be “available for monitoring by poll watchers.” [Id.].

            According to Mr. Riddlemoser, anything short of
     these robust procedures won’t do. In particular, “video
     cameras would not prevent anyone from engaging in
     activity that could or is designed to spoil the ballots inside
     the box; such as dumping liquids into the box, lighting the
     ballots on fire by using gasoline and matches, or even
     removing the box itself.” [Id. at p. 17]. Even if the “identity
     of the person responsible may be determined . . . the ballots

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     themselves        would       be      destroyed—effectively
     disenfranchising numerous voters.” [Id.]. And given
     “recent footage of toppled statues and damage to
     government buildings” in the news, Mr. Riddlemoser finds
     the “forcible removal of ballot drop boxes” to be “a distinct
     possibility.” [Id.]. In addition to increasing the risk of
     ballot destruction, Mr. Riddlemoser notes that reliance on
     video cameras would also “not prohibit someone from
     engaging in ballot harvesting by depositing more than one
     ballot in the drop box[.]” [Id.].

            Beyond Mr. Riddlemoser’s expert testimony,
     Plaintiffs proffer several other pieces of evidence to support
     their claims that drop boxes pose a dilutive threat to the
     ballots of lawful voters. Most notably, they present
     photographs and video stills of, by the Court’s count,
     approximately seven individuals returning more than one
     ballot to drop boxes in Philadelphia and Elk County (the
     same photographs referenced by Mr. Riddlemoser). [ECF
     504-19, PDF pp. 49-71].

           Those photographs depict the following:

           •   An unidentified woman holding what
               appear to be two ballots at a Philadelphia
               drop box.




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           •   Instagram user “thefoodiebarrister” posing
               for a selfie with two ballots in Philadelphia;
               captioned, in part, “dropping of [sic] my
               votes in a designated ballot drop box.”




           •   A photograph posted to social media
               showing a hand placing two ballots in a
               drop box; captioned, in part, “Cory and I
               voted!”




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           •   A photograph of an unidentified man
               wearing a “Philadelphia Water” sweater
               and hat, placing two ballots in a
               Philadelphia drop box.




           •   Several video stills that, according to
               Plaintiffs, show voters depositing more
               than one ballot in an Elk County drop box.




           In addition to these photographs and video stills,
     Plaintiffs also provide a May 24, 2020, email sent by an

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     official in Montgomery County (which placed security
     guards to monitor its drop boxes) observing that security
     “have turned people away yesterday and today without
     incident who had ballots other than their own.” [ECF 504-
     28].

             Separate and apart from this evidence specific to the
     use of drop boxes, Plaintiffs and their expert also provide
     evidence of instances of election fraud, voter fraud, and
     illegal voting generally. These include, for example:

           •   A case in which a New Jersey court ordered a new
               municipal election after a city councilman and
               councilman-elect were charged with fraud
               involving mail-in ballots. [ECF 504-19, p. 3].

           •   A New York Post article written by an
               anonymous fraudster who claimed to be a
               “master at fixing mail-in ballots” and detailed his
               methods. [Id.].

           •   Philadelphia     officials’ admission        that
               approximately 40 people were permitted to vote
               twice during the 2020 primary elections. [Id.].

           •   A YouTube video purporting to show
               Philadelphia election officials approving the
               counting of mail-in ballots that lacked a
               completed certification on the outside of the
               envelope. [Id. (citation omitted)].

           •   The recent guilty plea of the former Judge of
               Elections in South Philadelphia, Domenick J.
               DeMuro, to adding fraudulent votes to voting
               machines on election day. [ECF 461, ¶ 61]; see
               United States v. DeMuro, No. 20-cr-112 (E.D. Pa.
               May 21, 2020).

           •   The 2014 guilty plea of Harmar Township police
               chief Richard Allen Toney to illegally soliciting
               absentee ballots to benefit his wife and her
               running mate in the 2009 Democratic primary for
               town council, [ECF 461, ¶ 69];

           •   The 2015 guilty plea of Eugene Gallagher for
               unlawfully persuading residents and non-
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                residents of Taylor, in Lackawanna County,
                Pennsylvania, to register for absentee ballots and
                cast them for him during his councilman
                candidacy in the November 2013 election, [Id.];

           •    The 1999 indictment of Representative Austin J.
                Murphy in Fayette County for forging absentee
                ballots for residents of a nursing home and
                adding his wife as a write-in candidate for
                township election judge, [Id.];

           •    The 1994 Eastern District of Pennsylvania and
                Third Circuit case Marks v. Stinson, which
                involved an alleged incident of extensive
                absentee ballot fraud by a candidate for the
                Pennsylvania State Senate, see Marks v. Stinson,
                19 F.3d 873 (3d Cir. 1994); Marks v. Stinson, No.
                93-6157, 1994 WL 1461135 (E.D. Pa. Apr. 26,
                1994), [ECF 461, ¶ 78]; and

           •    A report from the bipartisan Commission on
                Federal Election Reform, chaired by former
                President Jimmy Carter and former Secretary of
                State James A. Baker III, which observed that
                absentee voting is “the largest source of potential
                voter fraud” and proposed that states “reduce the
                risks of fraud and abuse in absentee voting by
                prohibiting      ‘third-party’      organizations,
                candidates, and political party activists from
                handling absentee ballots.” [ECF 461, ¶¶ 66-67,
                80].

           C.      Facts relevant to signature comparison.

           Many of the facts relevant to Plaintiffs’ signature-
     comparison claim relate to the verification procedures for
     mail-in and absentee ballots, on one hand, and those
     procedures for in-person voting, on the other. These are
     described below.

                   1.     Mail-in    and      absentee      ballot
                          verification.

           As noted above, Pennsylvania does not distribute
     unsolicited mail-in and absentee ballots. Rather, a voter
     must apply for the ballot (and any voter can). [ECF 549-2,
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     ¶ 64]. As part of the application for a mail-in ballot,4 an
     applicant must provide certain identifying information,
     including name, date of birth, length of time as a resident
     of the voting district, voting district if known, party choice
     in the primary, and address where the ballot should be
     sent. 25 P.S. § 3150.12(b). In applying for a mail-in ballot,
     the applicant must also provide “proof of identification,”
     which is defined by statute as that person’s driver’s license
     number, last four digits of Social Security number, or
     another specifically approved form of identification. [ECF
     549-2, ¶ 64; ECF 549-27]; 25 P.S. § 2602(z.5)(3). A
     signature is not mentioned in the definition of “proof of
     identification.” 25 P.S. § 2602(z.5)(3).         However, if
     physically capable, the applicant must sign the application.
     Id. at § 3150.12(c)-(d).

            Upon receiving the mail-in ballot application, the
     county board of elections determines if the applicant is
     qualified by “verifying the proof of identification and
     comparing the information provided on the application
     with the information contained on the applicant’s
     permanent registration card.” 25 P.S. § 3150.12b(a). The
     county board of elections then either approves the
     application5 or “immediately” notifies the applicant if the
     application is not approved. Id. at § 3150.12b(a), (c). Upon
     approval, the county mails the voter the mail-in ballot.



      4 The procedure for absentee ballots and applications
      largely resembles the procedure for mail-in ballots and
      applications.

      5If the application is approved, the approval is “final and
      binding,” subject only to challenges “on the grounds that
      the applicant was not a qualified elector.” 25 P.S. §
      3150.12b(a)(2). An unqualified elector would be, for
      example, an individual who has not “been a citizen of the
      United States at least one month.” Pa. Const. Art. 7, § 1;
      see also 25 P.S. § 2602(t) (defining “qualified elector” as
      “any person who shall possess all of the qualifications for
      voting now or hereafter prescribed by the Constitution of
      this Commonwealth, or who, being otherwise qualified by
      continued residence in his election district, shall obtain
      such qualifications before the next ensuing election”).
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            After receiving the ballot, the mail-in voter must
     “mark the ballot” with his or her vote, insert the ballot into
     the “secrecy” envelope, and place the “secrecy” envelope
     into a larger envelope. Id. at § 3150.16(a). Then, the voter
     must “fill out, date and sign the declaration printed on [the
     larger] envelope. [The larger] envelope shall then be
     securely sealed and the elector shall send [it] by mail … or
     deliver it in person to said county board of election.” Id.
     The declaration on the larger envelope must be signed,
     unless the voter is physically unable to do so. Id. at §
     3150.16(a)-(a.1).

            Once the voter mails or delivers the completed mail-
     in ballot to the appropriate county board of elections, the
     ballot is kept “in sealed or locked containers until they are
     to be canvassed by the county board of elections.” Id. at §
     3146.8(a). The county boards of elections can begin pre-
     canvassing and canvassing the mail-in ballots no earlier
     than election day. Id. at § 3146.8(g)(1.1).

             When pre-canvassing and canvassing the mail-in
     ballots, the county boards of elections must “examine the
     declaration on the [larger] envelope of each ballot … and
     shall compare the information thereon with that contained
     in the … Voters File.” Id. at § 3146.8(g)(3). The board shall
     then verify the “proof of identification” and shall determine
     if “the declaration [on the larger envelope] is sufficient.” Id.
     If the information in the “Voters File … verifies [the
     elector’s] right to vote,” the ballot shall be counted. Id.

                   2. In-person voting verification.

            When a voter decides to vote in-person on election
     day, rather than vote by mail, the procedures are different.
     There is no application to vote in person. Rather, on
     election day, the in-person voter arrives at the polling place
     and “present[s] to an election officer proof of identification,”
     which the election officer “shall examine.” Id. at § 3050(a).
     The in-person voter shall then sign a voter’s certificate”
     and give it to “the election officer in charge of the district
     register.” Id. at § 3050(a.3)(1). Next, the election officer
     shall “announce the elector’s name” and “shall compare the
     elector’s signature on his voter’s certificate with his
     signature in the district register.” Id. at § 3050(a.3)(2). If
     the election officer believes the signature to be “genuine,”

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     the in-person voter may vote. Id. But if the election officer
     does not deem the signature “authentic,” the in-person
     voter may still cast a provisional ballot and is given the
     opportunity to remedy the deficiency. Id.

                  3.     The September         11, 2020, and
                         September 28,         2020, sets of
                         guidance.
            In September 2020, Secretary Boockvar issued two
     new sets of guidance related to signature comparisons of
     mail-in and absentee ballots and applications. The first,
     issued on September 11, 2020, was titled “Guidance
     Concerning Examination of Absentee and Mail-In Ballot
     Return Envelopes.” [ECF 504-24]. The guidance stated, in
     relevant part, the “Pennsylvania Election Code does not
     authorize the county board of elections to set aside
     returned absentee or mail-in ballots based solely on
     signature analysis by the county board of elections.” [Id.
     at p. 3]. The second set of guidance, issued on September
     28, 2020, was titled, “Guidance Concerning Civilian
     Absentee and Mail-In Ballot Procedures.” [ECF 504-25].
     This September 28, 2020, guidance stated, in relevant part,
     “The Election Code does not permit county election officials
     to reject applications or voted ballots based solely on
     signature analysis. … No challenges may be made to mail-
     in and absentee ballots at any time based on signature
     analysis.” [Id. at p. 9]. Thus, as evidenced by these two
     sets of guidance, Secretary Boockvar advised the county
     boards of elections not to engage in a signature-comparison
     analysis of voters’ signatures on ballots and applications
     for ballots.

            Most of the counties intend to follow the Secretary’s
     guidance and will not compare signatures on mail-in
     ballots and applications for the upcoming general election.
     E.g., [ECF 504-1]. A few counties, however, stated their
     intent to not comply with the guidance, and instead would
     compare and verify the authenticity of signatures. E.g.,
     [id. (noting the counties of Cambria, Elk, Franklin,
     Juniata, Mifflin, Sullivan, Susquehanna, and Wyoming, as
     not intending to follow Secretary Boockvar’s guidance to
     not compare signatures)].



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            According to Defendants, there are valid reasons to
     not require signature comparisons for mail-in and absentee
     ballots. For example, Secretary Boockvar notes that
     signature verification is a technical practice, and election
     officers are not “handwriting experts.” [ECF 549-2, p. 19,
     ¶ 68].      Secretary Boockvar also notes that voters’
     signatures can change over time, and various medical
     conditions (e.g., arthritis) can impact a person’s signature.
     [Id.] Defendants’ expert, Amber McReynolds, also finds
     that     “signature    verification”    involves    “inherent
     subjectivity.” [ECF 549-9, p. 20, ¶ 64]. Ms. McReynolds
     further notes the “inherent variability of individuals’
     signatures over time.” [Id.] And according to Secretary
     Boockvar, these are just some reasons Pennsylvania
     implements verification procedures other than signature
     comparisons for mail-in voters, who, unlike in-person
     voters, are not present when their signature would be
     verified. [ECF 549-2, p. 20, ¶ 69].

            Plaintiffs’ expert, Greg Riddlemoser, on the other
     hand, states that signature comparison is “a crucial
     security aspect of vote-by-mail” and failing to verify
     signatures on mail-in ballots would “undermine voter
     confidence and would increase the possibility of voter
     fraud.” [ECF 504-19, pp. 10-11]. Mr. Riddlemoser asserts
     that Secretary Boockvar’s September 11, 2020, and
     September 28, 2020, guidance “encourage, rather than
     prevent, voter fraud.” [Id. at p. 12]. As such, Mr.
     Riddlemoser explains that mail-in voters should be subject
     to the same signature-comparison requirement as in-
     person voters. [Id. at pp. 13-14].

                  4.     Secretary Boockvar’s King’s Bench
                         petition.

            In light of this case and the parties’ disagreement
     over whether the Election Code mandates signature
     comparison for mail-in ballots, Secretary Boockvar filed a
     “King’s Bench” petition with the Pennsylvania Supreme
     Court on October 4, 2020. In that petition, she asked the
     Pennsylvania Supreme Court to exercise its extraordinary
     jurisdiction, in light of the impending election, to clarify
     whether the Election Code mandates signature comparison
     of mail-in and absentee ballots and applications. [ECF 556,
     p. 11; ECF 557].

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           On October 7, 2020, several groups, including
     Donald J. Trump for President, Inc. and the Republican
     National Committee—who are Plaintiffs in this case—
     moved to intervene as Respondents in the Pennsylvania
     Supreme Court case. [ECF 571-1]. The Pennsylvania
     Supreme Court has not yet decided the motion to intervene
     or whether to accept the case. The petition remains
     pending.

           D.     Facts relevant to poll-watcher claims.

           The position of “poll watcher” is a creation of state
     statute. See 25 P.S. § 2687. As such, the Election Code
     defines how a poll watcher may be appointed, what a poll
     watcher may do, and where a poll watcher may serve.

                  1.     The county-residency requirement
                         for poll watchers.

           The Election Code permits candidates to appoint two
     poll watchers for each election district. 25 P.S. § 2687(a).
     The Election Code permits political parties and bodies to
     appoint three poll watchers for each election district. Id.

            For many years, the Pennsylvania Election Code
     required that poll watchers serve only within their
     “election district,” which the Code defines as “a district,
     division or precinct, . . . within which all qualified electors
     vote at one polling place.” 25 P.S. § 2687(b) (eff. to May 15,
     2002) (watchers “shall serve in only one district and must
     be qualified registered electors of the municipality or
     township in which the district where they are authorized
     to act is located”); 25 P.S. § 2602(g). Thus, originally, poll
     watching was confined to a more limited geographic reach
     than one’s county, as counties are themselves made up of
     many election districts.

            Then, in 2004, the General Assembly amended the
     relevant poll-watcher statute to provide that a poll watcher
     “shall be authorized to serve in the election district for
     which the watcher was appointed and, when the watcher
     is not serving in the election district for which the watcher
     was appointed, in any other election district in the county
     in which the watcher is a qualified registered elector.” 25
     P.S. § 2687(b) (eff. Oct. 8, 2004).

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             This county-residency requirement is in line with (or
     is, in some cases, more permissive than) the laws of at least
     eight other states, which similarly require prospective poll
     watchers to reside in the county in which they wish to serve
     as a watcher or (similar to the pre-2004 Pennsylvania
     statute) limit poll watchers to a sub-division of the county.
     See, e.g., Fla. Stat. Ann. § 101.131(1) (Florida); Ind. Code
     Ann. § 3-6-8-2.5 (Indiana); Ky. Rev. Stat. Ann. § 117.315(1)
     (Kentucky); N.Y. Elec. Law § 8-500(5) (New York); N.C.
     Gen. Stat. Ann. § 163-45(a) (North Carolina); Tex. Elec.
     Code Ann. § 33.031(a) (Texas); S.C. Code Ann. § 7-13-860
     (South Carolina); Wyo. Stat. Ann. § 22-15-109(b)
     (Wyoming). However, at least one state (West Virginia)
     does not provide for poll watchers at all. See W. Va. Code
     Ann. § 3-1-37; W. Va. Code Ann. § 3-1-41

            The General Assembly has not amended the poll-
     watcher statute since 2004, even though some lawmakers
     have advocated for the repeal of the residency requirement.
     See Cortés, 218 F. Supp. 3d at 402 (observing that
     legislative efforts to repeal the poll-watcher residency
     requirement have been unsuccessful).

            As part of its September 17, 2020, decision, the
     Pennsylvania Supreme Court found that the county-
     residency requirement does not violate the U.S. or
     Pennsylvania constitutions. Bookcvar, 2020 WL 554644,
     at *31.

                   2.     Where and when poll watchers can
                          be present during the election.

           The Pennsylvania Election Code sets forth the rules
     for where and when poll watchers are permitted to be
     present.

            The Election Code provides that poll watchers may
     be present “at any public session or sessions of the county
     board of elections, and at any computation and canvassing
     of returns of any primary or election and recount of ballots
     or recanvass of voting machines under” the Code. 25 P.S. §
     2650. Additionally, one poll watcher for each candidate,
     political party, or political body may “be present in the
     polling place . . . from the time that the election officers
     meet prior to the opening of the polls . . . until the time that

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     the counting of votes is complete and the district register
     and voting check list is locked and sealed.” 25 P.S. §
     2687(b).

            During this time, poll watchers may raise objections
     to “challenge any person making application to vote.” Id.
     Poll watchers also may raise challenges regarding the
     voters’ identity, continued residence in the election district,
     or registration status. 25 P.S. § 3050(d).

             Although Pennsylvania has historically allowed
     absentee ballots to be returned by U.S. Postal Service or by
     in-person delivery to a county board of elections office, the
     Election Code does not provide (and has never provided for)
     any right to have poll watchers in locations where absentee
     voters fill out their ballots (which may include their home,
     office, or myriad other locations), nor where those votes are
     mailed (which may include their own mailbox, an official
     U.S. Postal Service collection box, a work mailroom, or
     other places U.S. Postal Service mail is collected), nor at
     county board of elections offices. [ECF 549-2, ¶¶ 86-90].

            Before Act 77, absentee ballots were held in election
     districts rather than centralized at the county board of
     elections. See 25 P.S. § 3146.8 (eff. Mar. 14, 2012 to Oct.
     30, 2019) (“In all election districts in which electronic
     voting systems are used, absentee ballots shall be opened
     at the election district, checked for write-in votes in
     accordance with section 1113-A and then either hand-
     counted or counted by means of the automatic tabulation
     equipment, whatever the case may be.”).

             At such time (again, before Act 77), poll workers
     opened those absentee ballots at each polling place after
     the close of the polls. Id. (“Except as provided in section
     1302.1(a.2), the county board of elections shall then
     distribute the absentee ballots, unopened, to the absentee
     voter’s respective election district concurrently with the
     distribution of the other election supplies. Absentee ballots
     shall be canvassed immediately and continuously without
     interruption until completed after the close of the polls on
     the day of the election in each election district. The results
     of the canvass of the absentee ballots shall then be included
     in and returned to the county board with the returns of that
     district.” (footnote omitted)).

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           With the enactment of Act 77, processing and
     counting of mail-in and absentee ballots is now centralized
     in each county board of elections, with all mail-in and
     absentee ballots in such county held and counted at the
     county board of elections (or such other site as the county
     board may choose) without regard to which election district
     those ballots originated from. 25 P.S. § 3146.8(a) (eff. Mar.
     27, 2020); [ECF 549-2, ¶ 81].

            Under Act 12, counties are permitted to “pre-
     canvass” mail-in or absentee ballots received before
     Election Day beginning at 7:00 a.m. on Election Day. 25
     P.S. § 3146.8(g)(1.1). Counties are further permitted to
     “canvass” ballots received after that time beginning “no
     earlier than the close of the polls on the day of the election
     and no later than the third day following the election.” Id.
     § 3146.8(g)(2).

            The Election Code permits “[o]ne authorized
     representative of each candidate” and “one representative
     from each political party” to “remain in the room in which
     the absentee ballots and mail-in ballots are pre-
     canvassed.” 25 P.S. § 3146.8(g)(1.1). Similarly, during
     canvassing, the Election Code permits “[o]ne authorized
     representative of each candidate” and “one representative
     from each political party” to “remain in the room in which
     the absentee ballots and mail-in ballots are canvassed.” 25
     P.S. § 3146.8(g)(2).

            The Election Code provisions pertaining to the “pre-
     canvass” and “canvass” do not make any separate reference
     to poll watchers, instead referring only to the “authorized
     representatives” of parties and candidates. See 25 P.S. §
     3146.8.

           On October 6, 2020, Secretary Boockvar issued
     guidance concerning poll watchers and authorized
     representatives. [ECF 571-1]. The guidance states that
     poll watchers “have no legal right to observe or be present
     at … ballot return sites,” such as drop-box locations. [ECF
     571-1, Ex. E, p. 5]. The guidance also states that while a
     candidate’s authorized representative may be present
     when mail-in ballots are opened (including during pre-
     canvass and canvass), the representative cannot challenge
     those ballots. [Id. at Ex. E, p. 4].

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            On October 9, 2020, in a separate lawsuit brought by
     the Trump Campaign in the Philadelphia County Court of
     Common Pleas, the state court there confirmed Secretary
     Boockvar’s guidance. Specifically, the state court held that
     satellite ballot-collection locations, such as drop-box
     locations, are not “polling places,” and therefore poll
     watchers are not authorized to be present in those places.
     [ECF 573-1, p. 12 (“It is clear from a reading of the above
     sections [of the Election Code] that the satellite offices
     where these activities, and only these activities, occur are
     true ‘offices of the Board of Elections’ and are not polling
     places, nor public sessions of the Board of Elections, at
     which watchers have a right to be present under the
     Election Code.”)]. Immediately after issuance of this
     decision, the Trump Campaign filed a notice of appeal,
     indicating its intention to appeal the decision to the
     Commonwealth Court of Pennsylvania. Having just been
     noticed, that appeal remains in its infancy as of the date of
     this Opinion.

                  3.     Plaintiffs’ efforts to recruit poll
                         watchers for the upcoming
                         general election.

            In order to become a certified poll watcher, a
     candidate must meet certain criteria. [ECF 504-20, ¶ 9].
     That is, a poll watcher needs to be “willing to accept token
     remuneration, which is capped at $120 under
     Pennsylvania state law” and must be able to take off work
     or otherwise make arrangements to be at the polling place
     during its open hours on Election Day, which can mean
     working more than 14 hours in a single day. [Id.].

            The Pennsylvania Director for Election Day
     Operations for the Trump Campaign, James J. Fitzpatrick,
     stated that the Trump Campaign wants to recruit poll
     watchers for every county in Pennsylvania. [ECF 504-2, ¶
     30]. To that end, the RNC and the Trump Campaign have
     initiated poll-watcher recruitment efforts for the general
     election by using a website called DefendYourBallot.com.
     [ECF 528-14, 265:2-15, 326:14-329-7].         That website
     permits qualified electors to volunteer to be a poll watcher.
     [Id.].   In addition, Plaintiffs have called qualified
     individuals to volunteer to be poll watchers, and worked


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     with county chairs and conservative activists to identify
     potential poll watchers. [Id.].

            Despite these efforts, the Trump Campaign claims it
     “is concerned that due to the residency restriction, it will
     not have enough poll watchers in certain counties.” [ECF
     504-2, ¶ 25]. Mr. Fitzpatrick, however, could not identify a
     specific county where the Trump Campaign has been
     unable to obtain full coverage of poll watchers or any
     county where they have tried and failed to recruit poll
     watchers for the General Election. [ECF 528-14, 261:21-
     262:3, 263:8-19, 265:2-266:3].

            In his declaration, Representative Reschenthaler
     shared Mr. Fitzpatrick’s concern, stating that he does not
     believe that he will “be able to recruit enough volunteers
     from Greene County to watch the necessary polls in Greene
     County.”      [ECF 504-6, ¶ 12].         But Representative
     Reschenthaler did not provide any information regarding
     his efforts to recruit poll watchers to date, or what he plans
     to do in the future to attempt to address his concern. See
     generally [id.].

            Representative Kelly stated in his declaration that
     he was “likely to have difficulty getting enough poll
     watchers from within Erie County to watch all polls within
     that county on election day.”          [ECF 504-5, ¶ 16].
     Representative Kelly never detailed his efforts (e.g., the
     outreach he tried, prospective candidates he unsuccessfully
     recruited, and the like), and he never explained why those
     efforts aren’t likely to succeed in the future. See generally
     [id.].

            In his declaration, Representative Thompson only
     stated that based on his experience, “parties and
     campaigns cannot always find enough volunteers to serve
     as poll watchers in each precinct.” [ECF 504-4, ¶ 20].

            According to statistics collected and disseminated by
     the Pennsylvania Department of State, there is a gap
     between the number of voters registered as Democrats and
     Republicans in some Pennsylvania counties. [ECF 504-34].
     Plaintiffs’ expert, Professor Lockerbie, believes this puts
     the party with less than a majority of voters in that county
     at a disadvantage in recruiting poll watchers. [ECF 504-

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     20, ¶ 15]. However, despite this disadvantage, Professor
     Lockerbie states that “the Democratic and Republican
     parties might be able to meet the relevant criteria and
     recruit a sufficient population of qualified poll watchers
     who meet the residency requirement[].” [Id. at ¶ 16].

            Additionally, Professor Lockerbie finds the gap in
     registered voters in various counties to be especially
     problematic for minor political parties. [Id. at ¶ 16]. As
     just one example, according to Professor Lockerbie, even if
     one were to assume that all third-party voters were
     members of the same minor party, then in Philadelphia
     County it would require “every 7th registrant” to be a poll
     watcher in order for the third party to have a poll watcher
     observing each precinct.” [Id.].

            Professor Lockerbie believes that disruptions to
     public life caused by the COVID-19 pandemic “magnified”
     the difficulties in securing sufficient poll watchers. [Id. at
     ¶ 10].

            Nothing in the Election Code limits parties from
     recruiting only registered voters from their own party.
     [ECF 528-14, 267:23-268:1]. For example, the Trump
     Campaign utilized at least two Democrats among the poll
     watchers it registered in the primary. [ECF 528-15,
     P001648].

                  4.     Rationale for the county-residency
                         requirement.

            Defendants have advanced several reasons to
     explain the rationale behind county-residency requirement
     for poll watchers.

            Secretary Boockvar has submitted a declaration, in
     which she has set forth the reasons for and interests
     supporting the county-residency requirement. Secretary
     Boockvar states that the residency requirement “aligns
     with Pennsylvania’s county-based election scheme[.]”
     [ECF 549-2, p. 22, ¶ 77]. “By restricting poll watchers’
     service to the counties in which they actually reside, the
     law ensures that poll watchers should have some degree of
     familiarity with the voters they are observing in a given
     election district.” [Id. at p. 22, ¶ 78].

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            In a similar vein, Intervenors’ expert, Dr. Barreto, in
     his report, states that, voters are more likely to be
     comfortable with poll watchers that “they know” and are
     “familiar with … from their community.” [ECF 524-1, p.
     14, ¶ 40]. That’s because when poll watchers come from
     the community, “there is increased trust in government,
     faith in elections, and voter turnout[.]” [Id.].

            At his deposition, Representative Kelly agreed with
     this idea: “Yeah, I think – again, depending how the
     districts are established, I think people are probably even
     more comfortable with people that they – that they know
     and they recognize from their area.” [ECF 524-23, 111:21-
     25].

                        LEGAL STANDARD

             Summary judgment is appropriate “if the movant
     shows that there is no genuine dispute as to any material
     fact and the movant is entitled to judgment as a matter of
     law.” Fed. R. Civ. P. 56(a). At summary judgment, the
     Court must ask whether the evidence presents “a sufficient
     disagreement to require submission to the jury or whether
     it is so one-sided that one party must prevail as a matter of
     law.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 251-52
     (1986). In making that determination, the Court must
     “consider all evidence in the light most favorable to the
     party opposing the motion.” A.W. v. Jersey City Pub. Schs.,
     486 F.3d 791, 794 (3d Cir. 2007).

            The summary-judgment stage “is essentially ‘put up
     or shut up’ time for the non-moving party,” which “must
     rebut the motion with facts in the record and cannot rest
     solely on assertions made in the pleadings, legal
     memoranda, or oral argument.” Berckeley Inv. Grp. Ltd. v.
     Colkitt, 455 F.3d 195, 201 (3d. Cir. 2006). If the non-
     moving party “fails to make a showing sufficient to
     establish the existence of an element essential to that
     party’s case, and on which that party will bear the burden
     at trial,” summary judgment is warranted. Celotext Corp.
     v. Catrett, 477 U.S. 317, 324 (1986).

           “The rule is no different where there are cross-
     motions for summary judgment.” Lawrence v. City of
     Philadelphia, 527 F.3d 299, 310 (3d Cir. 2008). The parties’

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     filing of cross-motions “does not constitute an agreement
     that if one is rejected the other is necessarily justified[.]”
     Id. But the Court may “resolve cross-motions for summary
     judgment concurrently.” Hawkins v. Switchback MX, LLC,
     339 F. Supp. 3d 543, 547 (W.D. Pa. 2018). When doing so,
     the Court views the evidence “in the light most favorable
     to the non-moving party with respect to each motion.” Id.

                   DISCUSSION & ANALYSIS

            Plaintiffs, Defendants, and Intervenors all cross-
     move for summary judgment on all three of Plaintiffs’
     remaining claims, which the Court refers to, in the short-
     hand, as (1) the drop-box claim, (2) the signature-
     comparison claim, and (3) the poll-watching claim. The
     common constitutional theory behind each of these claims
     is vote dilution. Absent the security measures that
     Plaintiffs seek, they fear that others will commit voter
     fraud, which will, in turn, dilute their lawfully cast votes.
     They assert that this violates the federal and Pennsylvania
     constitutions.

            The Court will address only the federal-
     constitutional claims. For the reasons that follow, the
     Court finds that Plaintiffs lack standing to bring their
     federal-constitutional claims because Plaintiffs’ injury of
     vote dilution is not “concrete” for Article III purposes.

            But even assuming Plaintiffs had standing, the
     Court also concludes that Defendants’ regulations,
     conduct, and election guidance here do not infringe on any
     right to vote, and if they do, the burden is slight and
     outweighed by the Commonwealth’s interests—interests
     inherent in the Commonwealth’s other various procedures
     to police fraud, as well as its overall election scheme.

            Finally, because the Court will be dismissing all
     federal-constitutional claims, it will decline to exercise
     supplemental jurisdiction over any of the state-
     constitutional claims and will thus dismiss those claims
     without prejudice.

     I.    Defendants’      procedural     and    jurisdictional
           challenges.

           At the outset, Defendants and Intervenors raise a
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     number of jurisdictional, justiciability, and procedural
     arguments, which they assert preclude review of the merits
     of Plaintiffs’ claims. Specifically, they assert (1) the claims
     are not ripe and are moot, (2) there is a lack of evidence
     against certain county boards, and those boards are not
     otherwise necessary parties, and (3) Plaintiffs lack
     standing. The Court addresses each argument, in turn.

           A.     Plaintiffs’ claims are ripe and not moot.

           Several Defendants have argued that Plaintiffs’
     claims in the Second Amended Complaint are not ripe and
     are moot. The Court disagrees.

                  1.     Plaintiffs’ claims are ripe.

            The ripeness doctrine seeks to “prevent the courts,
     through the avoidance of premature adjudication, from
     entangling themselves in abstract disagreements.” Artway
     v. Attorney Gen. of N.J., 81 F.3d 1235, 1246-47 (3d Cir.
     1996) (cleaned up). The ripeness inquiry involves various
     considerations including whether there is a “sufficiently
     adversarial posture,” the facts are “sufficiently developed,”
     and a party is “genuinely aggrieved.” Peachlum v. City of
     York, 333 F.3d 429, 433-34 (3d Cir. 2003). Ripeness
     requires the case to “have taken on fixed and final shape so
     that a court can see what legal issues it is deciding, what
     effect its decision will have on the adversaries, and some
     useful purpose to be achieved in deciding them.” Wyatt,
     Virgin Islands, Inc. v. Gov’t of the Virgin Islands, 385 F.3d
     801, 806 (3d Cir. 2004) (quoting Pub. Serv. Comm’n of Utah
     v. Wycoff Co., 344 U.S. 237, 244 (1952)). “A dispute is not
     ripe for judicial determination if it rests upon contingent
     future events that may not occur as anticipated, or indeed
     may not occur at all.” Id.

            Ultimately, “[r]ipeness involves weighing two
     factors: (1) the hardship to the parties of withholding court
     consideration; and (2) the fitness of the issues for judicial
     review.” Artway, 81 F.3d at 1247. Unlike standing,
     ripeness is assessed at the time of the court’s decision
     (rather than the time the complaint was filed). See
     Blanchette v. Connecticut General Ins. Corp., 419 U.S. 102,
     139-40 (1974).


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            The Court finds that Plaintiffs’ claims are ripe.
     Applying the two-factor test here, the Court first concludes
     that the parties would face significant hardship if the
     Court were to hold that the case was unripe (assuming it
     was otherwise justiciable). The general election is less
     than one month away, and Plaintiffs assert claims that
     could significantly affect the implementation of
     Pennsylvania’s electoral procedures. Further, if the Court
     were to find that Plaintiffs’ claims were not ripe, Plaintiffs
     would be burdened. This is because Plaintiffs would then
     have to either wait until after the election occurred—and
     thus after the alleged harms occurred—or Plaintiffs would
     have to bring suit on the very eve of the election, and thus
     there would be insufficient time for the Court to address
     the issues. This hardship makes judicial review at this
     time appropriate. The first factor is met.

            Some Defendants argue that because some of the
     Secretary’s guidance was issued after the 2020 primary
     election, Plaintiffs’ claims that rely on such guidance are
     not ripe because the guidance has not been implemented in
     an election yet. The Court disagrees. Both the allegations
     in the Second Amended Complaint, and the evidence
     presented on summary judgment, reveal that the guidance
     issued after the primary election will apply to the
     upcoming general election. This is sufficient to make this
     a properly ripe controversy.6


     6 In her summary-judgment brief, Secretary Boockvar
     argues that Plaintiffs’ as-applied challenge to
     Pennsylvania’s county-residency requirement is unripe.
     [ECF 547, pp. 60-63]. The Secretary reasons that Plaintiffs
     have not shown sufficient evidence that they are harmed
     by the county-residency requirement. This argument is
     directed more towards a lack of standing and a lack of
     evidence to support the claim on the merits. As the
     sufficiency of the evidence of harm is a separate issue from
     ripeness (which is more concerned with timing), the Court
     does not find Plaintiffs’ as-applied challenge to the county-
     residency requirement unripe. See Progressive Mountain
     Ins. Co. v. Middlebrooks, 805 F. App’x 731, 734 (11th Cir.
     2020) (“The question of ripeness frequently boils down to
     the same question as questions of Article III standing, but
     the distinction between the two is that standing focuses
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            The second factor the Court must consider in
     determining ripeness is “the fitness of the issues for
     judicial review.” Artway, 81 F.3d at 1247. “The principal
     consideration [for this factor] is whether the record is
     factually adequate to enable the court to make the
     necessary legal determinations. The more that the
     question presented is purely one of law, and the less that
     additional facts will aid the court in its inquiry, the more
     likely the issue is to be ripe, and vice-versa.” Id. at 1249.

            Under this framework, the Court concludes that the
     issues are fit for review. The parties have engaged in
     extensive discovery, creating a developed factual record for
     the Court to review. Further, as shown below, the Court
     finds it can assess Plaintiffs’ claims based on the current
     factual record and can adequately address the remaining
     legal questions that predominate this lawsuit. As such, the
     Court finds Plaintiffs’ claims fit for judicial review.

           Thus, Plaintiffs’ claims are presently ripe.

                  2.     Plaintiffs’ claims are not moot.

            Some Defendants also assert that Plaintiffs’ claims
     are moot because Plaintiffs reference allegations of harm
     that occurred during the primary election, and since then,
     Secretary Boockvar has issued new guidance and the
     Pennsylvania Supreme Court has interpreted the Election
     Code to clarify several ambiguities. The Court, however,
     concludes that Plaintiffs’ remaining claims are not moot.

             Mootness stems from the same principle as ripeness,
     but is stated in the inverse: courts “lack jurisdiction when
     ‘the issues presented are no longer ‘live’ or the parties lack
     a legally cognizable interest in the outcome.’” Merle v. U.S.,
     351 F.3d 92, 94 (3d Cir. 2003) (quoting Powell v.
     McCormack, 395 U.S. 486, 496 (1969)). Like ripeness and
     unlike standing, mootness is determined at the time of the
     court’s decision (rather than at the time the complaint is


     [on] whether the type of injury alleged is qualitatively
     sufficient to fulfill the requirements of Article III and
     whether the plaintiff has personally suffered that harm,
     whereas ripeness centers on whether that injury has
     occurred yet.” (cleaned up) (citations omitted)).
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     filed). See U.S. Parole Commission v. Geraghty, 445 U.S.
     388, 397 (1980). When assessing mootness, the Court may
     assume (for purposes of the mootness analysis) that
     standing exists. Friends of the Earth, Inc. v. Laidlaw
     Envtl. Servs., 528 U.S. 167, 180 (2000) (citation omitted).

            Here, the Court finds that Plaintiffs’ claims are not
     moot, as the claims Plaintiffs are proceeding with are
     “live.” First, Plaintiffs’ claims are based on guidance that
     issued after the primary election and are to be applied in
     the upcoming general election. As such, the harms alleged
     are not solely dependent on the already-passed primary
     election. Second, Defendants, by and large, have made
     clear that they intend to abide by guidance that Plaintiffs
     assert is unlawful or unconstitutional. Third, Plaintiffs
     sufficiently show that certain Defendants intend to engage
     in the conduct (e.g., use unmanned drop-boxes) that
     Plaintiffs say infringes their constitutional rights. Thus,
     these issues are presently “live” and are not affected by the
     completion of the primary election.7 Plaintiffs’ claims are
     not moot.

                  3.     All   named     Defendants      are
                         necessary parties to this lawsuit.

           Many of the county boards of elections that are
     Defendants in this case argue that the claims against them
     should be dismissed because Plaintiffs did not specifically
     allege or prove sufficient violative facts against them.
     Plaintiffs argue in response that all county boards have
     been joined because they are necessary parties, and the
     Court cannot afford relief without their presence in this
     case. The Court agrees with Plaintiffs, and declines to




     7 In their briefing, the parties focused on the “capable of
     repetition yet evading review” exception to the mootness
     doctrine. The Court, however, does not find that it needs
     to rely on this exception. Nearing the eve of the election, it
     is clear that Defendants intend to engage in the conduct
     that Plaintiffs assert is illegal and unconstitutional. Thus,
     the claims are presently live, and are not “evading review”
     in this circumstance.

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     dismiss the county boards from the case.           They are
     necessary parties.

            Federal Rule of Civil Procedure 19(a) states that a
     party is a necessary party that must be joined in the
     lawsuit if, “in that [party’s] absence, the court cannot
     accord complete relief among existing parties.” Fed. R. Civ.
     P. 19(a)(1)(A).

            Here, if the county boards were not named
     defendants in this case, the Court would not be able to
     provide Plaintiffs complete relief should Plaintiffs prove
     their case. That’s because the Court could not enjoin the
     county boards if they were not parties. See Fed. R. Civ. P.
     65(d)(2).8 This is important because each individual county
     board of elections manages the electoral process within its
     county lines.      As one court previously summarized,
     “Election procedures and processes are managed by each of
     the Commonwealth’s sixty-seven counties. Each county
     has a board of elections, which oversees the conduct of all
     elections within the county.” Cortés, 218 F. Supp. 3d at 403

     8 While Rule 65(d)(2)(C) states that an injunction binds
     “[non-parties] who are in active concert or participation”
     with the parties or the parties’ agents, the Court does not
     find that Rule 65(d) helps the county boards. As discussed,
     the county boards manage the elections and implement the
     electoral procedures.     While the Court could enjoin
     Secretary Boockvar, for example, from using unmanned
     drop boxes, each individual county election board could still
     use unmanned drop boxes on their own. Doing so would
     not result in the counties being in “active concert or
     participation” with Secretary Boockvar, as each county is
     independently managing the electoral process within their
     county lines. See Marshak v. Treadwell, 595 F.3d 478, 486
     (3d Cir. 2009) (“[N]on-parties guilty of aiding or abetting or
     acting in concert with a named defendant or his privy in
     violating the injunction may be held in contempt.” (cleaned
     up) (citations omitted)). In other words, each county
     elections board would not be “aiding or abetting” Secretary
     Boockvar in violating the injunction (which would
     implicate Rule 65(d)(2)(C)); rather, the counties would be
     utilizing their independent statutory authority to manage
     elections within their county lines.

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     (citing 25 P.S. § 2641(a)). “The county board of elections
     selects, fixes and at times alters the polling locations of new
     election districts. Individual counties are also tasked with
     the preservation of all ballots cast in that county, and have
     the authority to investigate fraud and report irregularities
     or any other issues to the district attorney[.]” Id. (citing 25
     P.S. §§ 2726, 2649, and 2642). The county boards of
     elections may also make rules and regulations “as they
     may deem necessary for the guidance of voting machine
     custodians, elections officers and electors.” 25 P.S. §
     2642(f).

            Indeed, Defendants’ own arguments suggest that
     they must be joined in this case. As just one example, a
     handful of counties assert in their summary-judgment
     brief that the “[Election] Code permits Boards to exercise
     discretion in certain areas when administering elections, to
     administer the election in a manner that is both legally-
     compliant and meets the unique needs of each County’s
     citizens.” [ECF 518, p. 6]. Thus, because of each county’s
     discretionary authority, if county boards engage in
     unconstitutional conduct, the Court would not be able to
     remedy the violation by enjoining only Secretary
     Boockvar.9


     9 As evidence of the county boards’ indispensability, one
     court recently found that the failure to join local election
     officials in an election case can make the harm alleged not
     “redressable.” It would be a catch-22 to say that county
     boards cannot be joined to this case as necessary parties,
     but then dismiss the case for lack of standing due to the
     boards’ absence. Cf. Jacobson v. Florida Secretary of
     States, --- F.3d ---, 2020 WL 5289377, at *11-12 (11th Cir.
     Sept. 3, 2020) (“The problem for the [plaintiffs] is that
     Florida law tasks the [county] Supervisors, independently
     of the Secretary, with printing the names of candidates on
     ballots in the order prescribed by the ballot statute. … The
     Secretary is responsible only for certifying to the
     supervisor of elections of each county the names of persons
     nominated . . . Because the Secretary didn’t do (or fail to
     do) anything that contributed to [plaintiffs’] harm, the
     voters and organizations cannot meet Article III’s
     traceability requirement.” (cleaned up)).

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            To grant Plaintiffs relief, if warranted, the Court
     would need to enter an order affecting all county boards of
     elections—which the Court could not do if some county
     boards were not joined in this case. Otherwise, the Court
     could only enjoin violative conduct in some counties but not
     others. As a result, inconsistent rules and procedures
     would be in effect throughout the Commonwealth. While
     some counties can pledge to follow orders issued by this
     Court, the judicial system cannot rely on pledges and
     promises, regardless of the county boards’ good intent. The
     only way to ensure that any illegal or unconstitutional
     conduct is uniformly remedied, permanently, is to include
     all county boards in this case.

           Thus, because the county boards are necessary
     parties, the Court cannot dismiss them.

                  4.    Plaintiffs   lack Article III standing
                        to raise      their claims of vote
                        dilution      because they cannot
                        establish     a “concrete” injury-in-
                        fact.

           While Plaintiffs can clear the foregoing procedural
     hurdles, they cannot clear the final one—Article III
     standing.

            Federal courts must determine that they have
     jurisdiction before proceeding to the merits of any claim.
     Steel Co. v. Citizens for Better Env’t, 523 U.S. 83, 94-95
     (1998).      Article III of the Constitution limits the
     jurisdiction of federal courts to “Cases” and
     “Controversies.” One component of the case-or-controversy
     requirement is standing, which requires a plaintiff to
     demonstrate the now-familiar elements of (1) injury in fact,
     (2) causation, and (3) redressability.      See Lujan v.
     Defenders of Wildlife, 504 U.S. 555, 560–61 (1992).

            Standing is particularly important in the context of
     election-law cases, including a case like this one, that
     challenge the laws, regulations, and guidance issued by
     elected and appointed state officials through the
     democratic processes.      As the Supreme Court has
     explained, the standing “doctrine developed in our case law
     to ensure that federal courts do not exceed their authority

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     as it has been traditionally understood.” Spokeo, Inc. v.
     Robins, 136 S. Ct. 1540, 1547 (2016) (cleaned up). The
     doctrine “limits the category of litigants empowered to
     maintain a lawsuit in federal court to seek redress for a
     legal wrong.” Id. In this way, “Article III standing serves
     to prevent the judicial process from being used to usurp the
     powers of the political branches.” Id. Nowhere is that
     concern more acute than in a case that challenges a state’s
     exercise of its core constitutional authority to regulate the
     most deeply political arena of all—elections.

            Here, Defendants and Intervenors claim that
     Plaintiffs lack standing, largely arguing that Plaintiffs’
     injury is too speculative. [ECF 547, pp. 43-50]. The Court
     agrees and finds that Plaintiffs lack Article III standing for
     this reason.

            Initially, to frame the standing inquiry,
     understanding the specific claims at issue is important. As
     discussed above, there are essentially three claims
     remaining in this case: (1) a challenge to Secretary
     Boockvar’s guidance that does not require all drop boxes to
     have manned security personnel; (2) a challenge to
     Secretary Boockvar’s guidance that counties should not
     perform a signature comparison for mail-in ballots; and (3)
     a challenge to Pennsylvania’s county-residency restriction
     for poll-watchers. See [ECF 509, pp. 4-5]. The theory
     behind all of these claims and the asserted injury is one of
     vote dilution due to the heightened risk of fraud; that is,
     without the above measures in place, there is an imminent
     risk of voter fraud (primarily by mail-in voters); and if that
     fraud occurs, it will dilute the votes of many of Plaintiffs,
     who intend to vote in person in the upcoming election.
     [ECF 551, p. 12 (“As qualified electors who will be voting
     in the November election, Plaintiffs will suffer an injury
     through their non-equal treatment and/or the dilution or
     debasement of their legitimately case votes by absentee
     and mail-in votes that have not been properly verified by
     matching the voters’ signatures on their applications and
     ballots to the permanent voter registration record and/or
     that have been improperly delivered by others to drop
     boxes or other mobile collection sites in manners that are
     different[] from those offered or being used in their counties
     of residence.”)].


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             Turning to the familiar elements of Article III
     standing, the first and, in the Supreme Court’s estimation,
     “foremost” element—injury-in-fact—is dispositive. See
     Gill v. Whitford, 138 S. Ct. 1916, 1929 (2018). Specifically,
     the Court finds that Plaintiffs’ theory of vote dilution,
     based on the evidence presented, is insufficient to establish
     standing because Plaintiffs’ injury-in-fact is not
     sufficiently “concrete.”

            With respect to injury-in-fact, the Supreme Court
     has made clear that an injury must be “concrete” and
     “particularized.”   See Spokeo, 136 S. Ct. at 1548.
     Defendants argue that the claimed injury of vote dilution
     caused by possible voter fraud here is too speculative to be
     concrete. The Court agrees.

            To establish a “concrete” injury, Plaintiffs rely on a
     chain of theoretical events.          They first argue that
     Defendants’ lack of election safeguards (poll watchers,
     drop-box guards, and signature-comparison procedures)
     creates a risk of voter fraud or illegal voting. See [ECF 461,
     ¶¶ 230-31, 240, 256]. That risk, they say, will lead to
     potential fraudsters committing voter fraud or ballot
     destruction. [Id.]. And if that happens, each vote cast in
     contravention of the Election Code will, in Plaintiffs’ view,
     dilute Plaintiffs’ lawfully cast votes, resulting in a
     constitutional violation.

            The problem with this theory of harm is that this
     fraud hasn’t yet occurred, and there is insufficient evidence
     that the harm is “certainly impending.”

            To be clear, Plaintiffs need not establish actual fraud
     at this stage; but they must establish that fraud is
     “certainly impending,” and not just a “possible future
     injury.” See Clapper, 568 U.S. at 409 (“Thus, we have
     repeatedly reiterated that threatened injury must be
     certainly impending to constitute injury in fact, and that
     allegations of possible future injury are not sufficient.”)
     (cleaned up).

            This case is well past the pleading stage. Extensive
     fact and expert discovery are complete. [ECF 462]. Nearly
     300 exhibits have been submitted on cross-motions for
     summary judgment (including 68 by Plaintiffs alone).

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     Plaintiffs bear the burden of proof on this issue, and unlike
     on a motion to dismiss, on summary judgment, they must
     come forward with proof of injury, taken as true, that will
     prove standing, including a concrete injury-in-fact. See
     Lujan, 504 U.S. at 561 (1992) (“At the pleading stage,
     general factual allegations of injury resulting from the
     defendant's conduct may suffice . . . In response to a
     summary judgment motion, however, the plaintiff can no
     longer rest on such mere allegations, but must set forth by
     affidavit or other evidence specific facts . . . which for
     purposes of the summary judgment motion will be taken to
     be true.”) (cleaned up).

            Based on the evidence presented by Plaintiffs,
     accepted as true, Plaintiffs have only proven the
     “possibility of future injury” based on a series of speculative
     events—which falls short of the requirement to establish a
     concrete injury. For example, Plaintiffs’ expert, Mr.
     Riddlemoser, opines that the use of “unstaffed or
     unmanned” drop boxes merely “increases the possibility
     for voter fraud (and vote destruction)[.]” [ECF 504-19, p.
     20 (emphasis added)]. That’s because, according to him
     (and Plaintiffs’ other witnesses), theoretical bad actors
     might intentionally “target” a drop box as the “easiest
     opportunity for voter fraud” or with the malicious “intent
     to destroy as many votes … as possible.” [Id. at pp. 16-18;
     see also ECF 504-2, ¶ 12 (declaring that drop boxes “may
     serve as a target for bad actors that may wish to tamper
     with lawfully case ballots before such ballots are counted”)
     (emphasis added)]. But there’s no way of knowing whether
     these independent actors will ever surface, and if they do,
     whether they will act as Mr. Riddlemoser and Plaintiffs
     predict.

            Similarly, Mr. Riddlemoser concludes that, at most,
     not conducting signature analysis for mail-in and absentee
     ballots “open[s] the door to the potential for massive fraud
     through a mechanism already susceptible to voter fraud.”
     [ECF 504-19, p. 20].

            This increased susceptibility to fraud and ballot
     destruction is the impetus for Plaintiffs, in their various
     capacities, to express their concerns that vote dilution
     might occur and disrupt their right to a “free and fair
     election.” See, e.g., [504-3, ¶ 6; 504-4, ¶ 7; ECF 504-6, ¶¶

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     6-8; ECF 504-7, ¶¶ 5-9]. But these concerns, as outlined
     above, are based solely on a chain of unknown events that
     may never come to pass.

            In addition to Plaintiffs’ expert report, Plaintiffs’
     evidence consists of instances of voter fraud in the past,
     including an article in the N.Y. Post purporting to detail
     the strategies of an anonymous fraudster, as well as
     pointing to certain prior cases of voter fraud and election
     irregularities (e.g., Philadelphia inadvertently allowing 40
     people to vote twice in the 2020 primary election; some
     counties counting ballots that did not have a completed
     declaration in the 2020 primary election). [ECF 461, ¶¶
     63-82; ECF 504-19, p. 3 & Ex. D]. Initially, with one
     exception noted directly below, none of this evidence is tied
     to individuals using drop boxes, submitting forged mail-in
     ballots, or being unable to poll watch in another county—
     and thus it is unclear how this can serve as evidence of a
     concrete harm in the upcoming election as to the specific
     claims in this case.

            Perhaps the best evidence Plaintiffs present are the
     several photographs and video stills, which are depicted
     above, and which are of individuals who appear to be
     delivering more than one ballot to a drop box during the
     primary election. It is undisputed that during the primary
     election, some county boards believed it be appropriate to
     allow voters to deliver ballots on behalf of third parties.
     [ECF 504-9, 92:4-10; ECF 504-10, 60:3-61:10; ECF 504-49].

            But this evidence of past injury is also speculative.
     Initially, the evidence is scant. But even assuming the
     evidence were more substantial, it would still be
     speculative to find that third-party ballot delivery will also
     occur in the general election. It may; it may not. Indeed,
     it may be less likely to occur now that the Secretary issued
     her September 28, 2020, guidance, which made clear to all
     county boards that for the general election, third-party
     ballot delivery is prohibited. [ECF 504-25 (“Third-person
     delivery of absentee or mail-in ballots is not permitted, and
     any ballots delivered by someone other than the voter are
     required to be set aside. The only exceptions are voters
     with a disability, who have designated in writing an agent
     to deliver their ballot for them.”)]. It may also be less likely
     to occur in light of the Secretary’s other guidance, which

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     recommends that county boards place signs near drop
     boxes, warning voters that third-party delivery is
     prohibited.

            It is difficult—and ultimately speculative—to
     predict future injury from evidence of past injury. This is
     why the Supreme Court has recognized that “[p]ast
     exposure to illegal conduct does not in itself show a present
     case or controversy regarding injunctive relief if
     unaccompanied by any continuing, present adverse
     effects.” Lujan, 504 U.S. at 564 (cleaned up).

            In fact, based on Plaintiffs’ theory of harm in this
     case, it is almost impossible for them to present anything
     other than speculative evidence of injury. That is, they
     would have to establish evidence of a certainly impending
     illegal practice that is likely to be prevented by the
     precautions they seek. All of this sounds in “possible future
     injury,” not “certainly impending” injury. In that way, this
     case is very much like the Supreme Court’s decision in
     Clapper.

            In Clapper, plaintiffs-respondents were attorneys,
     other advocates, and media groups who communicated
     with clients overseas whom they feared would be subject to
     government surveillance under a FISA statute. 568 U.S.
     at 406. The plaintiffs there alleged that the FISA statute
     at issue created a risk of possible government surveillance,
     which prevented them from communicating in confidence
     with their clients and compelled them to travel overseas
     instead and incur additional costs. Id. at 406-07. Based on
     these asserted injures, the plaintiffs filed suit, seeking to
     invalidate provisions of FISA. Id. at 407.

            The Supreme Court held that plaintiffs there lacked
     standing because their risk of harm was not concrete—
     rather, it was attenuated and based on a series of
     speculative events that may or may not ever occur. Id. at
     410 (finding that “respondents’ argument rests on their
     highly speculative fear that: (1) the Government will decide
     to target the communications of non-U.S. persons with
     whom they communicate; (2) in doing so, the Government
     will choose to invoke its authority under § 1881a rather
     than utilizing another method of surveillance; (3) the
     Article III judges who serve on the Foreign Intelligence

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     Surveillance Court will conclude that the Government’s
     proposed surveillance procedures satisfy § 1881a’s many
     safeguards and are consistent with the Fourth
     Amendment; (4) the Government will succeed in
     intercepting the communications of respondents’ contacts;
     and (5) respondents will be parties to the particular
     communications that the Government intercepts).

           In the end, the Court found that it would not
     “endorse standing theories that rest on speculation about
     the decisions of independent actors.” Id. at 414.

            Like Clapper, here, Plaintiffs’ theory of harm rests
     on speculation about the decisions of independent actors.
     For drop boxes, that speculation includes that unknown
     individuals will utilize drop boxes to commit fraud or other
     illegal activity; for signature comparison, that fraudsters
     will submit forged ballots by mail; for poll watchers, that
     illegal votes will not be sufficiently challenged; and for all
     these claims, that other security measures in place to
     monitor drop boxes, to verify ballot information, and to
     challenge ballots will not work.

            All of this may occur and may result in some of
     Plaintiffs’ votes being diluted; but the question is whether
     these events are “certainly impending.” The evidence
     outlined above and presented by Plaintiffs simply fails to
     meet that standard.

             This is not to say that claims of vote dilution or voter
     fraud never give rise to a concrete injury. A plaintiff can
     have standing to bring a vote-dilution claim—typically, in
     a malapportionment case—by putting forth statistical
     evidence and computer simulations of dilution and
     establishing that he or she is in a packed or cracked
     district. See Gill, 138 S. Ct. at 1936 (Kagan, J., concurring).
     And a plaintiff can have standing to bring a voter-fraud
     claim, but the proof of injury there is evidence of actual
     fraud in the election and thus the suit will be brought after
     the election has occurred. See, e.g., Marks v. Stinson, 19
     F.3d 873 (3d Cir. 1994). But, at least based on the evidence
     presented here, a claim of vote dilution brought in advance
     of an election on the theory of the risk of potential fraud
     fails to establish the requisite concrete injury for purposes
     of Article III standing.

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           Plaintiffs advance three other theories of harm here,
     in order to establish standing—none of which establish a
     concrete injury-in-fact.

            First, Plaintiffs assert that since some of them are
     Republican candidates and that Republicans are more
     likely to vote in person and Democrats more likely to vote
     by mail, that their injury here is a competitive
     disadvantage in the electoral process. [ECF 551, pp. 16-18
     (“The challenged guidance will further harm the RNC
     through the institutional prioritization of voting by mail
     and the potential disenfranchisement of Republican voters,
     who prefer to vote in person in the upcoming General
     Election.”)]. This too is a speculative, non-concrete injury.
     There is nothing in the record to establish that potential
     voter fraud and dilution will impact Republicans more than
     Democrats.

            To be sure, the information that Plaintiffs present
     shows that more Democrats are likely to use mail-in
     ballots. [ECF 551, p. 31 (“[I]n Pennsylvania, of the 1.9
     million absentee or mail-in ballots that have been
     requested for the November 3, 2020 General Election,
     ‘nearly 1.5 million Democrats have requested a mail-in
     ballot—nearly three times the requests from Republicans.’”
     (quoting L. Broadwater, “Both Parties Fret as More
     Democrats Request Mail Ballots in Key States,” New York
     Times       (Sept.     30,     2020),     available     at
     https://www.nytimes.com/2020/09/30/us/mail-voting-
     democrats-republicans-turnout.html)].     But it doesn’t
     necessarily follow that more Democrats will commit voter
     fraud, such as through the destruction of drop boxes or
     third-party ballot harvesting, and thus more Republicans’
     votes will be diluted.

            In fact, as Plaintiffs’ expert, Mr. Riddlemoser,
     explains, fraudsters from either party could target drop
     boxes in specific areas in order to destroy ballots,
     depending on who may be the predominant party in the
     area. [ECF 504-19, at pp. 17-18 (“In short, nothing would
     prevent someone from intentionally targeting a drop box in
     a predominantly Republican or predominantly Democratic
     area with an intent to destroy as many votes for that
     political party or that party’s candidate(s) as possible.”)].
     Indeed, the more important fact for this theory of harm is

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     not the party of the voter, but the party of the fraudster—
     and, on this, Plaintiffs present no evidence that one party
     over the other is likely to commit voter fraud.

             Second, Plaintiffs also argue that the RNC, the
     Congressional Plaintiffs, and the Trump Campaign have
     organizational standing because they “have and will
     continue to devote their time and resources to ensure that
     their Pennsylvania supporters, who might otherwise be
     discouraged by the Secretary’s guidance memos favoring
     mail-in     and    absentee     voting    and   Defendants’
     implementation thereof, get out to the polls and vote on
     Election Day.” [ECF 551, p. 19]. This is a similar
     argument raised by the plaintiffs in Clapper, and rejected
     there by the Supreme Court. Because Plaintiffs’ harm is
     not “certainly impending,” as discussed above, spending
     money in response to that speculative harm cannot
     establish a concrete injury.       Clapper, 568 U.S. at 416
     (“Respondents’ contention that they have standing because
     they incurred certain costs as a reasonable reaction to a
     risk of harm is unavailing—because the harm respondents
     seek to avoid is not certainly impending. In other words,
     respondents cannot manufacture standing merely by
     inflicting harm on themselves based on their fears of
     hypothetical future harm that is not certainly
     impending.”); see also Donald J. Trump for President, Inc.
     v. Cegavske, --- F. Supp. 2d ---, 2020 WL 5626974, at *5 (D.
     Nev. Sept. 18, 2020) (“Outside of stating ‘confusion’ and
     ‘discouragement’ in a conclusory manner, plaintiffs make
     no indication of how AB 4 will discourage their member
     voters from voting. If plaintiffs did not expend any
     resources on educating their voters on AB4, their voters
     would proceed to vote in-person as they overwhelmingly
     have in prior elections.”).

            Third, with respect to the poll-watching claim,
     Plaintiffs argue that at least one of the Plaintiffs, Ms.
     Patterson, is a prospective poll watcher who is being denied
     the right to poll watch based on the county-residency
     restriction, and thus she meets the Article III
     requirements. [ECF 551, p. 34 (citing ECF 551-3, ¶¶ 9-10)].
     However, Ms. Patterson cannot establish standing
     because, by Plaintiffs’ own concession, the theory of harm
     in this case is not the denial of the right to poll watch, but
     instead dilution of votes from fraud caused from the failure
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     to have sufficient poll watchers. [ECF 509, p. 67 (“But, the
     core of the as-applied challenge here is not that the
     Plaintiffs cannot staff a particular polling place, it is that a
     candidate and his or her party is presented with the
     Hobson’s choice of selecting limited polling places to
     observe due to the residency requirement and accept that
     unobserved polling places must exist due to the inability to
     recruit a sufficient force of poll watchers due to the
     necessity that candidates be county residents.”)].

            And the remedy sought here is much broader than
     simply allowing Ms. Patterson to poll watch in a certain
     county, but is tied to the broader harm of vote dilution that
     Plaintiffs assert. [ECF 503-1, p. 3, ¶ 3 (“Plaintiffs shall be
     permitted to have watchers present at all locations where
     voters are registering to vote, applying for absentee or
     mail-in ballots, voting absentee or mail-in ballots, and/or
     returning or collecting absentee or mail-in ballots,
     including without limitation any satellite or early voting
     sites established by any county board of elections.”)].
     Standing is measured based on the theory of harm and the
     specific relief requested. See Gill, 138 S. Ct. at 1934 (“We
     caution, however, that ‘standing is not dispensed in gross’:
     A plaintiff’s remedy must be tailored to redress the
     plaintiff’s particular injury.”). As with all of the claims, the
     poll-watching claim rests on evidence of vote dilution that
     does not rise to the level of a concrete harm.

           In sum, Plaintiffs here, based on the evidence
     presented, lack Article III standing to assert their claims.
     Because they lack standing, the Court will enter judgment
     in Defendants’ favor and dismiss all claims.10 However,

     10  The organizational Plaintiffs also raise certain
     associational and organizational standing arguments,
     asserting that they represent their members’ interests.
     The associational standing arguments are derivative of
     their members’ interests. That is, because the Court has
     found no concrete injury suffered by the individual voters,
     which would include the members of the organizational
     Plaintiffs, there are no separate grounds to establish
     standing for these organizations. See United Food &
     Commercial Workers Union Local 751 v. Brown Grp., Inc.,
     517 U.S. 544, 553 (1997) (an organization only has
     standing to sue on behalf of its members when “its
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     because of the novelty of Plaintiffs’ claims and theories, a
     potential appeal in this case, and the short time before the
     general election, out of an abundance of caution, the Court
     will, in the alternative, proceed to examine the claims on
     the merits.

     II.   Defendants and Intervenors are entitled to
           summary judgment on Plaintiffs’ claim that
           drop boxes violate the U.S. Constitution.

            Plaintiffs’ drop-box claim has materially changed
     since the Pennsylvania Supreme Court’s decision
     authorizing the use of drop boxes. Plaintiffs now allege
     that drop boxes effectively allow third parties to return the
     ballots of voters other than themselves because, they say,
     no one is there to stop them. Absent an in-person guard or
     poll worker to monitor the drop boxes and prevent the
     return of ballots cast in a manner contrary to what the
     Election Code permits, Plaintiffs assert that they face an
     unacceptable risk of vote dilution, which burdens their
     right to vote. Plaintiffs also argue that the “uneven” use of
     drop boxes in Pennsylvania, by some counties but not
     others, violates equal protection by subjecting voters in
     different counties to different amounts of dilutive risk, and
     perhaps by diluting lawful votes cast by individuals who
     failed to comply with the Election Code.

            The evidence relevant to these claims is undisputed.
     See [ECF 509, p. 45 (“After the completion of extensive
     discovery, including numerous depositions and responses
     to discovery requests, no genuine dispute of material fact
     exists regarding Plaintiffs’ constitutional claims.”)].
     Viewed in the light most favorable to Plaintiffs, the Court
     could conclude from this evidence, and will assume for
     purposes of this decision, that (1) drop boxes allow for
     greater risk of third-party ballot delivery in violation of the
     Election Code than in-person polling locations or manned
     drop boxes, and (2) that the use of drop boxes is “uneven”
     across Pennsylvania due to its county-based election
     system—i.e., some counties are using “unmanned” drop
     boxes with varying security measures, some are using
     “manned” drop boxes, some are using dozens of drop boxes

     members would otherwise have standing to sue in their
     own right”) (citation omitted).
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     in a variety of locations, some are using one drop box in a
     county office building, and some are not using drop boxes
     at all. The question before the Court is whether this state
     of affairs violates equal protection or due process.

            The Court finds that it does not. The uneven use of
     drop boxes across counties does not produce dilution as
     between voters in different counties, or between “lawful”
     and “unlawful” voters, and therefore does not present an
     equal-protection violation. But even if it did, the guidelines
     provided by Secretary Boockvar are rational, and weighing
     the relative burdens and benefits, the Commonwealth’s
     interests here outweigh any burden on Plaintiffs’ right to
     vote.

           A.     Pennsylvania’s “uneven” use of drop
                  boxes does not violate federal equal-
                  protection rights.

            Plaintiffs’ primary claim concerns the uneven use of
     drop boxes across the Commonwealth, which they contend
     violates the Equal-Protection Clause of the 14th
     Amendment.

           The 14th Amendment’s Equal-Protection Clause
     commands that “no State shall … deny to any person
     within its jurisdiction the equal protection of laws.” U.S.
     Const. amend. XIV, § 1. This broad and simple promise is
     “an essential part of the concept of a government of laws
     and not men.” Reynolds v. Sims, 377 U.S. 533, 568 (1964).

            But while the Constitution demands equal
     protection, that does not mean all forms of differential
     treatment are forbidden. See Nordlinger v. Hahn, 505 U.S.
     1, 10 (1992) (“Of course, most laws differentiate in some
     fashion between classes of persons. The Equal Protection
     Clause does not forbid classifications.”). Instead, equal
     protection “simply keeps governmental decisionmakers
     from treating differently persons who are in all relevant
     respects alike.” Id. (citation omitted). What’s more,
     “unless a classification warrants some form of heightened
     review because it jeopardizes exercise of a fundamental
     right or categorizes on the basis of an inherently suspect
     characteristic, the Equal Protection Clause requires only


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     that the classification rationally further a legitimate state
     interest.” Id. (citations omitted).

            Of course, the right of every citizen to vote is a
     fundamental right. See Ill. State Bd. of Elections v.
     Socialist Workers Party, 440 U.S. 173, 184 (1979) (“[F]or
     reasons too self-evident to warrant amplification here, we
     have often reiterated that voting is of the most
     fundamental significance under our constitutional
     structure.”) (citations omitted). Indeed, it is a foundational
     right “that helps to preserve all other rights.” Werme v.
     Merrill, 84 F.3d 479, 483 (1st Cir. 1996); Wesberry v.
     Sanders, 376 U.S. 1, 17 (1964) (“Other rights, even the
     most basic, are illusory if the right to vote is undermined.”).
     And its scope is broad enough to encompass not only the
     right of each voter to cast a ballot, but also the right to have
     those votes “counted without dilution as compared to the
     votes of others.” Minn. Voters Alliance v. Ritchie, 720 F.3d
     1029, 1031 (8th Cir. 2013) (cleaned up).

           As a result, Plaintiffs are quite correct when they
     suggest that a state election procedure that burdens the
     right to vote, including by diluting the value of votes
     compared to others, must “comport with equal protection
     and all other constitutional requirements.” Cortés, 218 F.
     Supp. 3d at 407. That much, at least, is not in dispute.

            At the same time, however, the Constitution “confers
     on the states broad authority to regulate the conduct of
     elections, including federal ones.” Griffin v. Roupas, 385
     F.3d 1128, 1130 (7th Cir. 2004) (citing U.S. Const. Art. I, §
     4, cl. 1). This authority includes “broad powers to
     determine the conditions under which the right of suffrage
     may be exercised.” Shelby Cnty., Ala. v. Holder, 570 U.S.
     529, 543 (2013) (cleaned up). Indeed, “[c]ommon sense, as
     well as constitutional law, compels the conclusion” that
     states must be free to engage in “substantial regulation of
     elections” if “some sort of order, rather than chaos, is to
     accompany the democratic processes.” Burdick v. Takushi,
     504 U.S. 428, 433 (1992) (cleaned up). And all “[e]lection
     laws will invariably impose some burden upon individual
     voters.” Id.

            If the courts were “to subject every voting regulation
     to strict scrutiny and to require that the regulation be

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     narrowly tailored to advance a compelling state interest,”
     it “would tie the hands of States seeking to assure that
     elections are operated equitably and efficiently.” Id. The
     “machinery of government would not work if it were not
     allowed a little play in its joints.” Bain Peanut Co. of Tex.
     v. Pinson, 282 U.S. 499, 501 (1931). Thus, when faced with
     a constitutional challenge to a state election law, or to the
     actions of state officials responsible for regulating
     elections, a federal court must weigh these competing
     constitutional considerations and “make the ‘hard
     judgment’ that our adversary system demands.” Crawford
     v. Marion Cnty. Election Bd., 553 U.S. 181, 190 (2008).

            The Supreme Court has supplied lower courts
     guidance as to how to make these hard judgments, by
     “forg[ing]” the “flexible standard” for assessing the
     constitutionality of election regulations into “something
     resembling an administrable rule.” Id. at 205 (Scalia, J.
     concurring) (citing Burdick, 504 U.S. at 434).

            Under this standard, first articulated in Anderson v.
     Celebrezze, 460 U.S. 780 (1983) and then refined in
     Burdick, the fact “[t]hat a law or state action imposes some
     burden on the right to vote does not make it subject to strict
     scrutiny.” Donatelli v. Mitchell, 2 F.3d 508, 513 (3d Cir.
     1993); see also Libertarian Party of Ohio v. Blackwell, 462
     F.3d 579, 585 (6th Cir. 2006) (“[V]oting regulations are not
     automatically subjected to heightened scrutiny.”). Instead,
     any “law respecting the right to vote—whether it governs
     voter qualifications, candidate selection, or the voting
     process,” is subjected to “a deferential ‘important
     regulatory     interests’     standard      for    nonsevere,
     nondiscriminatory restrictions, reserving strict scrutiny for
     laws that severely restrict the right to vote.” Crawford, 553
     U.S. at 204 (Scalia, J. concurring).

            In practice, this means that courts must weigh the
     “character and magnitude of the burden the State’s rule
     imposes” on the right to vote “against the interests the
     State contends justify that burden, and consider the extent
     to which the State’s concerns make that burden necessary.”
     Timmons v. Twin Cities Area New Party, 520 U.S. 351, 358
     (1997) (cleaned up). If the state imposes a “severe” burden
     on the right to vote, strict scrutiny applies—the rule may
     survive only if it is “narrowly tailored” and only if the state

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     advances a “compelling interest.” Id. But if the state
     imposes only “reasonable, nondiscriminatory restrictions,”
     its “important regulatory interests will usually be enough”
     to justify it. Id. Indeed, where state regulations are
     “minimally burdensome and nondiscriminatory” a level of
     scrutiny “closer to rational basis applies[.]” Ohio Council 8
     Am. Fed’n of State v. Husted, 814 F.3d 329, 335 (6th Cir.
     2016). And where the state imposes no burden on the
     “right to vote” at all, true rational basis review applies. See
     Biener v. Calio, 361 F.3d 206, 215 (3d Cir. 2004) (“Biener
     also cannot establish an infringement on the fundamental
     right to vote . . . As the [election] filing fee does not infringe
     upon a fundamental right, nor is Biener in a suspect class,
     we consider the claims under a rational basis test.”)
     (citation omitted); Common Cause/New York v. Brehm,
     432 F. Supp. 3d 285, 310 (S.D.N.Y. 2020) (“Under this
     framework, election laws that impose no burden on the
     right to vote are subject to rational-basis review.”).

            This operates as a “sliding scale”—the “more severe
     the burden imposed, the more exacting our scrutiny; the
     less severe, the more relaxed our scrutiny.” Arizona
     Libertarian Party v. Hobbs, 925 F.3d 1085, 1090 (9th Cir.
     2019); see also Fish v. Schwab, 957 F.3d 1105, 1124 (10th
     Cir. 2020) (“We, and our sister circuits and commentators,
     have referred to this as a ‘sliding scale’ test.”); Libertarian
     Party of New Hampshire v. Gardner, 638 F.3d 6, 14 (1st
     Cir. 2011) (“We review all of the First and Fourteenth
     Amendment claims under the sliding scale approach
     announced by the Supreme Court in Anderson . . . and
     Burdick[.]”); Burdick, 504 U.S. at 434 (“[T]he rigorousness
     of our inquiry into the propriety of a state election law
     depends upon the extent to which a challenged regulation
     burdens First and Fourteenth Amendment rights.”).

           Against that backdrop, the Court now turns to
     Plaintiffs’ claim that the use of unmanned drop boxes by
     some Pennsylvania counties, but not others, violates equal
     protection.     As will be discussed, Plaintiffs’ equal-
     protection claim fails at the threshold, without even
     reaching Anderson-Burdick, because Plaintiffs have not
     alleged or shown that Pennsylvania’s system will result in
     the dilution of votes in certain counties and not others.
     Furthermore, even if the Court applies Anderson-Burdick,
     the attenuated “burden” Plaintiffs have identified—an
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     increased risk of vote dilution created by the use of
     unmanned drop boxes—is more than justified by
     Defendants’ important and precise interests in regulating
     elections.

                  1.     Plaintiffs have not shown that
                         Pennsylvania treats equivalent
                         votes    in  different counties
                         differently.

           Plaintiffs’ equal-protection claim asserts differential
     treatment on a theory of vote dilution. As far as the Court
     can discern, this claim has two dimensions.

             First, the main thrust concerns differential
     treatment as between counties. Plaintiffs assert that some
     counties will use drop boxes in certain ways (specifically,
     without in-person guards or in varying number and
     locations), while others will not—resulting in differential
     treatment. See, e.g., [ECF 551, p. 44 (“Plaintiffs assert
     (and have proven) that Defendants have adopted, and
     intend to implement in the General Election, an election
     regime that applies Pennsylvania’s Election Code in a way
     that treats the citizens of Pennsylvania unequally
     depending on . . . the location where they happen to live: in
     some counties, voters will have around-the-clock access to
     ‘satellite election offices’ at which they can deposit their
     vote, but in other counties, voters will have no access at all
     to such drop boxes; in some counties those drop boxes will
     be staffed and secure, but in other counties drop boxes will
     be unmonitored and open to tampering[.]”)]; [Id. at p. 46
     (“Defendants’ ongoing actions and stated intentions ensure
     that votes will not be counted the same as those voting in
     other counties, and in some instances, in the same
     Congressional district. For instance, the harm flowing
     from those actions will fall disproportionately on the
     Republican candidates that bring suit here because many
     Democrat-heavy counties have stated intentions to
     implement the Secretary’s unconstitutional . . . ballot
     collection guidance, and many Republican-heavy counties
     have stated intentions to follow the Election Code as it is
     written.”)].

           Second, although less clear, Plaintiffs’ equal-
     protection claim may also concern broader differential

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     treatment between law-abiders and scofflaws. In other
     words, Plaintiffs appear to suggest that Pennsylvania
     discriminates against all law-abiding voters by adopting
     policies which tolerate an unacceptable risk of a lawfully
     cast votes being diluted by each unlawfully cast vote
     anywhere in Pennsylvania. See, e.g., [ECF 509, p. 55 (“The
     use of unstaffed drop boxes . . . not only dilutes the weight
     of all qualified Pennsylvanian electors, it curtails a sense
     of security in the voting process.”) (emphasis in original)];
     [ECF 509 p. 68 (“There will be no protection of one-person,
     one-vote in Pennsylvania, because her policies . . . allowing
     inconsistently located/used drop boxes will result in illegal
     ballots being cast and counted with legitimate votes[.]”)].

           As discussed below, both of these species of equal
     protection fail because there is, in fact, no differential
     treatment here—a necessary predicate for an equal-
     protection claim.

            Initially, Plaintiffs “have to identify a burden before
     we can weigh it.” Crawford, 553 U.S. at 205 (Scalia, J.
     concurring). In the equal-protection context, this means
     the plaintiff “must present evidence that s/he has been
     treated differently from persons who are similarly
     situated.” Renchenski v. Williams, 622 F.3d 315, 337 (3d
     Cir. 2010) (cleaned up). And not just any differential
     treatment will do. As discussed above, differences in
     treatment raise equal-protection concerns, and necessitate
     heightened scrutiny of governmental interests, only if they
     burden a fundamental right (such as the right to vote) or
     involve a suspect classification based on a protected class.
     See Obama for Am. v. Husted, 697 F.3d 423, 429 (6th Cir.
     2012) (“If a plaintiff alleges only that a state treated him or
     her differently than similarly situated voters, without a
     corresponding burden on the fundamental right to vote, a
     straightforward rational basis standard of review should
     be used.”).

            Plaintiffs argue that equal protection is implicated
     because Pennsylvania has permitted counties to use drop
     boxes to varying extents, and with varying degrees of
     security. Some, like Delaware County, intend to use
     dozens of drop boxes. See generally [ECF 549-28]. Many
     others will not use drop boxes at all. See generally [ECF
     504-1]. And among the counties that do use drop boxes,

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     some will staff them with county officials, while others will
     monitor them only with video surveillance or not at all. See
     generally [ECF 549-28].

            In this respect, Plaintiffs argue that they suffer an
     equal-protection harm similar to that found by the
     Supreme Court in Bush v. Gore, 531 U.S. 98 (2000). There,
     the Supreme Court held that the Florida Supreme Court
     violated equal protection when it “ratified” election recount
     procedures that allowed different counties to use “varying
     standards to determine what was a legal vote.” Id. at 107.
     This meant that entirely equivalent votes might be counted
     in one county but discounted in another. See, e.g., id.
     (“Broward County used a more forgiving standard than
     Palm Beach County, and uncovered almost three times as
     many new votes, a result markedly disproportionate to the
     difference in population between the counties.”). Given the
     absence of uniform, statewide rules or standards to
     determine which votes counted, the Court concluded that
     the patchwork recount scheme failed to “satisfy the
     minimum requirement for nonarbitrary treatment of
     voters necessary to secure the fundamental right [to vote].”
     Id.

            While the Supreme Court expressly limited its
     holding in Bush “to the present circumstances” of a
     standardless “statewide recount under the authority of a
     single state judicial officer,” id. at 109, a few courts have
     found its reasoning to be persuasive as a broader principle
     of equal protection. See Stewart v. Blackwell, 444 F.3d 843,
     859 (6th Cir. 2006) (“Somewhat more recently decided is
     Bush v. Gore, . . . which reiterated long established Equal
     Protection principles.”); Ne. Ohio Coal. for Homeless v.
     Husted, 696 F.3d 580, 598 (6th Cir. 2012) (“We agree with
     all of the parties and the district court that the consent
     decree likely violates the equal protection principle
     recognized in Bush v. Gore.”); Pierce v. Allegheny Cty. Bd.
     of Elections, 324 F. Supp. 2d 684, 705 (W.D. Pa. 2003)
     (Conti, J.) (“As noted above, the court finds that the facts
     presented raise a serious equal protection claim under a
     theory similar to that espoused by the United States
     Supreme Court in Bush v. Gore, supra.”); Black v.
     McGuffage, 209 F. Supp. 2d 889, 899 (N.D. Ill. 2002) (“The
     Court is certainly mindful of the limited holding of Bush.
     However, we believe that situation presented by this case
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     is sufficiently related to the situation presented in Bush
     that the holding should be the same.”).

            Indeed, Bush’s core proposition—that a state may
     not take the votes of two voters, similarly situated in all
     respects, and, for no good reason, count the vote of one but
     not the other—seems uncontroversial. It also seems
     reasonable (or at least defensible) that this proposition
     should be extended to situations where a state takes two
     equivalent votes and, for no good reason, adopts procedures
     that greatly increase the risk that one of them will not be
     counted—or perhaps gives more weight to one over the
     other. See, e.g., Black, 209 F. Supp. 2d at 899 (“Plaintiffs
     in this case allege that the resulting vote dilution, which
     was found to be unacceptable in Bush without any evidence
     of a disproportionate impact on any group delineated by
     traditional suspect criteria, is impacting African American
     and Hispanic groups disproportionately. . . . Any voting
     system that arbitrarily and unnecessarily values some
     votes over others cannot be constitutional.”); see also
     Reynolds, 377 U.S. at 555 (“[T]he right of suffrage can be
     denied by a debasement or dilution of the weight of a
     citizen’s vote just as effectively as by wholly prohibiting the
     free exercise of the franchise.”).

            That is the sort of equal-protection claim Plaintiffs
     purport to be asserting—a claim that voters in counties
     that use drop boxes are subjected to a much higher risk of
     vote dilution than those in other counties that do not. But
     that characterization falls apart under scrutiny. Indeed,
     despite their assertions, Plaintiffs have not actually
     alleged, let alone proven, that votes cast in some counties
     are diluted by a greater amount relative to votes cast in
     others. Rather, they have, at best, shown only that events
     causing dilution are more likely to occur in counties that
     use drop boxes. But, importantly, the effect of those events
     will, by Plaintiffs’ own admission, be felt by every voter
     across all of Pennsylvania. [ECF 509, p. 55. (“The use of
     unstaffed drop boxes places the security of unknown
     hundreds (if not thousands) of ballots in jeopardy of theft,
     destruction, and manipulation. This not only dilutes the
     weight of all qualified Pennsylvanian electors, it curtails a
     sense of security in the voting process.”) (citations omitted)
     (emphasis in original)]. Such dilution impacts the entire


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     electorate equally; not just voters in the county where it
     occurs.

            To illustrate this distinction, consider, for example,
     a presidential election. The Court agrees with Plaintiffs
     that the relevant electoral unit in such an election is “the
     entire Commonwealth of Pennsylvania.” [ECF 551, p. 55
     (“The electoral unit in this election is the entire
     Commonwealth of Pennsylvania.”)]. Indeed, on election
     night, votes cast in each of Pennsylvania’s 67 counties will
     be canvassed, counted, and ultimately added to a statewide
     vote total that decides who wins Pennsylvania’s 20
     electoral votes. So, ask: what is the dilutive impact of a
     hypothetical illegal vote cast in Philadelphia during that
     election? Does it cause, in any sense, an “unequal
     evaluation of ballots” cast in different counties, Bush, 531
     U.S at 106, such that lawful ballots cast in Philadelphia
     will be less likely to count, worth less if they do, or
     otherwise disfavored when compared to votes cast in other
     counties? The answer is evident—it does not. Rather, the
     hypothetical illegal vote cast in Philadelphia dilutes all
     lawful votes cast in the election anywhere in the
     Commonwealth by the exact same amount.

            The same reasoning holds in elections that occur
     within part of a state, rather than statewide. For example,
     consider a hypothetical legislative district covering two
     counties—one that uses drop boxes and one that does not.
     There may well be a greater risk that illegal voting will
     occur in the county that uses drop boxes. But any dilutive
     impact of those votes will be felt equally by voters in both
     counties.

             This is categorically different from the harm at issue
     in Bush and cases like it. In Bush, Florida’s arbitrary use
     of different recount standards in different counties meant
     that the state was counting equivalent ballots differently
     in different counties, meaning that voters in some counties
     were more likely to have their votes counted than those in
     others.

           In Black v. McGuffage, an Illinois district-court case
     on which Plaintiffs heavily rely, the plaintiffs alleged that
     the type of voting machines used in some Illinois counties
     were statistically much more likely to result in equivalent

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     votes being discounted at a much higher frequency in some
     counties than others, and that the worst machines were
     those being used in counties with high populations of
     minority groups. 209 F. Supp. 2d at 899. As a result, voters
     (and, specifically, minority voters) were much more likely
     to have their votes discounted, based just on the county in
     which they lived. See id. (“As a result, voters in some
     counties are statistically less likely to have their votes
     counted than voters in other counties in the same state in
     the same election for the same office. Similarly situated
     persons are treated differently in an arbitrary manner. . . .
     In addition, the Plaintiffs in this case allege that the
     resulting vote dilution . . . is impacting African American
     and Hispanic groups disproportionately.”).

            Finally, Stewart v. Blackwell, another case cited by
     Plaintiffs, was the same as Black—voters in counties that
     used punch-card voting were “approximately four times as
     likely not to have their votes counted” as a voter in a
     different county “using reliable electronic voting
     equipment.” 444 F.3d at 848.

            What ties these cases together is that each of them
     involves a state arbitrarily “valu[ing] one person’s vote over
     that of another,” Bush, 531 U.S. at 104-05, by permitting
     counties to either apply different standards to decide what
     votes count (Bush) or use different voting technologies that
     create a great risk of votes being discounted in one county
     that does not exist in others (Black and Stewart). It is this
     sort of “differential treatment . . . burden[ing] a
     fundamental right” that forms the bedrock of equal
     protection. Sullivan v. Benningfield, 920 F.3d 401, 409
     (6th Cir. 2019).

            Plaintiffs,   in    contrast,    have    shown       no
     constitutionally significant differential treatment at all.

           Instead, as discussed, if Plaintiffs are correct that
     the use of drop boxes increases the risk of vote dilution, all
     votes in the relevant electoral unit—whether that is
     statewide, a subset of the state, or a single county—face the
     same degree of increased risk and dilution, regardless of
     which county is most at fault for elevating that risk.



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           What Plaintiffs have really identified, then, are not
     uneven risks of vote dilution—affecting voters in some
     counties more than equivalent voters in others—but
     merely different voting procedures in different counties
     that may contribute different amounts of vote dilution
     distributed equally across the electorate as a whole.
     The Court finds that this is not an equal-protection issue.

            To be clear, the reason that there is no differential
     treatment is solely based on Plaintiffs’ theory of harm in
     this case. In the more “routine” vote-dilution cases, the
     state imposes some restriction or direct impact on the
     plaintiff’s right to vote—that results in his or her vote being
     weighed less (i.e., diluted) compared to those in other
     counties or election districts. See Gill, 138 S. Ct. at 1930,
     (explaining that “the holdings in Baker and Reynolds were
     expressly premised on the understanding that the injuries
     giving rise to those claims were individual and personal in
     nature, because the claims were brought by voters who
     alleged facts showing disadvantage to themselves as
     individuals”) (cleaned up). In this case, though, Plaintiffs
     complain that the state is not imposing a restriction on
     someone else’s right to vote, which, they say, raises the
     risk of fraud, which, if it occurs, could dilute the value of
     Plaintiffs’ vote. The consequence of this inverted theory of
     vote dilution is that all other votes are diluted in the same
     way; all feel the same effect.

            Finally, the Court’s ruling in this regard is
     consistent with the many courts that have recognized that
     counties may, consistent with equal protection, employ
     entirely different election procedures and voting systems
     within a single state. See, e.g., Wexler v. Anderson, 452
     F.3d 1226, 1231-33 (11th Cir. 2006) (“Plaintiffs do not
     contend that equal protection requires a state to employ a
     single kind of voting system throughout the state. Indeed,
     local variety in voting systems can be justified by concerns
     about cost, the potential value of innovation, and so on.”)
     (cleaned up); Hendon v. N.C. State Bd. of Elections, 710
     F.2d 177, 181 (4th Cir. 1983) (“A state may employ diverse
     methods of voting, and the methods by which a voter casts
     his vote may vary throughout the state.”); Short v. Brown,
     893 F.3d 671, 679 (9th Cir. 2018) (“[T]he appellants’
     reading of the Supreme Court’s voting cases would
     essentially bar a state from implementing any pilot
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     program to increase voter turnout. Under their theory,
     unless California foists a new system on all fifty-eight
     counties at once, it creates ‘unconstitutional vote-dilution’
     in counties that do not participate in the pilot plan.
     Nothing in the Constitution, the Supreme Court’s
     controlling precedent, or our case law suggests that we can
     micromanage a state’s election process to this degree.”);
     Fla. State Conference of N.A.A.C.P. v. Browning, 569 F.
     Supp. 2d 1237, 1258 (N.D. Fla. 2008) (“[A]s with countless
     public services delivered through Florida’s political
     subdivisions—such as law enforcement and education—
     resource disparities are to some degree inevitable. They are
     not, however, unconstitutional.”); Green Party of State of
     New York v. Weiner, 216 F. Supp. 2d 176, 192 (S.D.N.Y.
     2002) (“Even in that situation, [Bush v. Gore] did not
     challenge, and the Court did not question, the use of
     entirely different technologies of voting in different parts
     of the state, even in the same election.”); Paher v. Cegavske,
     No. 20-243, 2020 WL 2748301, at *9 (D. Nev. May 27, 2020)
     (“[I]t cannot be contested that Clark County, which
     contains most of Nevada’s population—and likewise voters
     (69% of all registered voters [])—is differently situated
     than other counties. Acknowledging this as a matter of
     generally known (or judicially noticeable) fact and
     commonsense makes it more than rational for Clark
     County to provide additional accommodations to assist
     eligible voters.”); Ron Barber for Cong. v. Bennett, No. 14-
     2489, 2014 WL 6694451, at *5 (D. Ariz. Nov. 27, 2014)
     (“[T]he [Bush v. Gore] Court did not invalidate different
     county systems regarding implementation of election
     procedures.”); Tex. Democratic Party v. Williams, No. 07-
     115, 2007 WL 9710211, at n.4 (W.D. Tex. Aug. 16, 2007)
     (“In Bush v. Gore, the Supreme Court specifically noted:
     ‘The question before the Court is not whether local entities,
     in the exercise of their expertise, may develop different
     systems for implementing elections.’”).

           Equal protection does not demand the imposition of
     “mechanical compartments of law all exactly alike.”
     Jackman v. Rosenbaum Co, 260 U.S. 22, 31 (1922). Rather,
     “the Constitution is sufficiently flexible to permit its
     requirements to be considered in relation to the . . . contexts
     in which they are invoked.” Merchants Nat’l Bank of
     Mobile v. Dredge Gen. G. L. Gillespie, 663 F.2d 1338, 1343
     (5th Cir. 1981). And in this context, “few (if any) electoral
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     systems could survive constitutional scrutiny if the use of
     different voting mechanisms by counties offended the
     Equal Protection Clause.” Trump v. Bullock, --- F.3d ---,
     2020 WL 5810556, at *14 (D. Mont. Sept. 30, 2020).

             The distinction—between differences in county
     election procedures and differences in the treatment of
     votes or voters between counties—is reflected in Bush
     itself. There, the Supreme Court took pains to clarify that
     the question before it was “not whether local entities, in the
     exercise of their expertise, may develop different systems
     for implementing elections.” Bush, 531 U.S. at 109; see also
     id. at 134 (Souter, J. dissenting) (“It is true that the Equal
     Protection Clause does not forbid the use of a variety of
     voting mechanisms within a jurisdiction, even though
     different mechanisms will have different levels of
     effectiveness in recording voters’ intentions; local variety
     can be justified by concerns about cost, the potential value
     of innovation, and so on.”); Bullock, 2020 WL 5810556, at
     *14 (“[T]he Supreme Court was clear in Bush v. Gore that
     the question was not whether local entities, in the exercise
     of their expertise, may develop different systems for
     implementing elections.”) (cleaned up).

            Thus, coming back to the theory of Plaintiffs’ case,
     Plaintiffs contend that Secretary Boockvar’s drop-box
     guidance will result in differences between counties and
     differing risks of fraud. But the result of that uneven
     implementation will not be votes in certain counties being
     valued less than others. And the result won’t be that
     voters who vote in person will have their votes valued less,
     either. Instead, if Plaintiffs are right, any unlawful votes
     will dilute all other lawful votes in the same way. While
     certainly voter fraud and illegal voting are bad, as a matter
     of equal protection, there is no unequal treatment here,
     and thus no burden on Plaintiffs’ rights under the Equal
     Protection Clause.

            In addition to their equal-protection claim based on
     county differences, Plaintiffs also appear to allude to a
     more general type of equal-protection violation. They
     assert that Pennsylvania comprises a single election unit.
     [ECF 551, p. 55 (“The electoral unit in this election is the
     entire Commonwealth of Pennsylvania.”)]. They assert
     that they intend to cast their ballots lawfully. See, e.g.,

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     [ECF 504-3, ¶ 4 (“As a Pennsylvania qualified registered
     elector, I have always voted in-person at primary and
     general elections, and I intend to vote in-person at the
     upcoming November 3, 2020 General Election.”)]. And
     they assert that unmanned drop boxes across the
     Commonwealth (regardless of the county) will, on a
     statewide basis, dilute their votes. See, e.g., [id. at ¶ 6 (“As
     a Pennsylvania qualified registered elector who votes in-
     person, I do not want my in-person vote diluted or cancelled
     by votes that are cast in a manner contrary to the
     requirements enacted by the Pennsylvania General
     Assembly.”)]. For example, if one “qualified elector” casts
     a lawful ballot, but a fraudulent voter casts ten ballots,
     then that elector’s vote will, under Plaintiffs’ theory, be
     diluted by a magnitude of ten—resulting in differential
     treatment.

            The problem with this theory is that there does not
     appear to be any law to support it. Indeed, if this were a
     true equal-protection problem, then it would transform
     every violation of state election law (and, actually, every
     violation of every law) into a potential federal equal-
     protection claim requiring scrutiny of the government’s
     “interest” in failing to do more to stop illegal activity. This
     is not the law. To the contrary, it is well-established that
     even violations of state election laws by state officials, let
     alone violations by unidentified third parties, do not give
     rise to federal constitutional claims except in unusual
     circumstances. See Shipley v. Chicago Bd. of Election
     Commissioners, 947 F.3d 1056, 1062 (7th Cir. 2020) (“A
     violation of state law does not state a claim under § 1983,
     and, more specifically, a deliberate violation of state
     election laws by state election officials does not transgress
     against the Constitution.”) (cleaned up); Martinez v. Colon,
     54 F.3d 980, 989 (1st Cir. 1995) (“[T]he Constitution is not
     an empty ledger awaiting the entry of an aggrieved
     litigant’s recitation of alleged state law violations—no
     matter how egregious those violations may appear within
     the local legal framework.”).

           Thus, this type of equal-protection claim fails as a
     matter of law, as well.




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                  2.     If Pennsylvania’s “uneven” use of
                         drop boxes indirectly burdens the
                         right to vote at all, that burden is
                         slight, and justified by important
                         state interests.

           Even assuming that Plaintiffs could establish
     unequal treatment to state an equal-protection claim, their
     claim nonetheless fails because the governmental interests
     here outweigh any burden on the right to vote.

            Initially, the Court finds that the appropriate level
     of scrutiny is rational basis. Defendants’ failure to
     implement a mandatory requirement to “man” drop boxes
     doesn’t directly infringe or burden Plaintiffs’ rights to vote
     at all. Indeed, as discussed above in the context of
     standing, what Plaintiffs characterize as the burden or
     harm here is really just an ancillary ‘increased risk’ of a
     theoretical harm, the degree of which has not been
     established with any empirical precision. See Obama, 697
     F.3d at 429 (“If a plaintiff alleges only that a state treated
     him or her differently than similarly situated voters,
     without a corresponding burden on the fundamental right
     to vote, a straightforward rational basis standard of review
     should be used.”); Brehm, 432 F. Supp. 3d at 310 (“Under
     this framework, election laws that impose no burden on the
     right to vote are subject to rational-basis review.”).

            On rational-basis review, the Secretary’s guidance
     here passes constitutional muster. Her guidance certainly
     provides some flexibility in how counties may use drop
     boxes, but the guidance overall is rationally related to a
     legitimate     governmental        interest—namely,       the
     implementation of drop boxes in a secure manner, taking
     into account specific county differences. That Plaintiffs feel
     the decisions and actions of the Pennsylvania General
     Assembly, Secretary Boockvar, and the county Defendants
     are insufficient to prevent fraud or illegal voting is of no
     significance. “[R]ational-basis review in equal protection
     analysis is not a license for courts to judge the wisdom,
     fairness, or logic of legislative choices.” Heller v. Doe by
     Doe, 509 U.S. 312, 319 (1993).

           As detailed above, Secretary Boockvar’s guidance
     provides lawful, comprehensive, and reasonable standards

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     with respect to (1) selecting the location of drop boxes, (2)
     drop-box design criteria, (3) signage, (4) drop-box security
     measures, and (5) drop-box ballot collection and chain of
     custody procedures. Of particular note, with respect to
     ballot security, the Secretary’s guidance calls for the use of
     reasonably robust measures like video surveillance,
     durable and tamperproof design features, regular ballot
     collection every 24 hours, chain-of-custody procedures to
     maintain ballot traceability, and signage advising voters
     that third-party delivery is prohibited, among other things.

            To be sure, the Secretary’s guidance doesn’t insist on
     the use of security personnel—though some counties have
     decided to post security guards outside of drop boxes on
     their own. But the Court can’t say that either the
     Secretary’s failure to provide that requirement, or the
     decision of some counties to proceed with drop boxes
     “unmanned,” is irrational. For example, the evidence
     presented demonstrates that placing a security guard
     outside of a drop box at all times is costly, particularly for
     cash-strapped counties—at least $13 per hour or about
     $104 (8 hours) to $312 (24 hours) per day, according to
     Defendants’ expert, Professor Robert McNair. [ECF 549-
     11, p. 11] In the context of a broader election system that
     detects and deters fraud at many other stages of the voting
     process, and given that that there are also no equivalent
     security measures present at U.S. postal mailboxes (which
     constitute an arguably more tempting vehicle for the
     would-be ballot harvester), the Court finds that the lack of
     any statewide requirement that all drop boxes be manned
     or otherwise surveilled is reasonable, and certainly
     rational.

            But even assuming Plaintiffs are right that their
     right to vote here has been burdened (and thus a
     heightened level of scrutiny must apply), that burden is
     slight and cannot overcome Defendants’ important state
     interests under the Anderson-Burdick framework. Indeed,
     courts routinely find attenuated or ancillary burdens on
     the right to vote to be “slight” or insignificant, even burdens
     considerably less attenuated or ancillary than any burden
     arguably shown here. See, e.g., Weber v. Shelley, 347 F.3d
     1101, 1106 (9th Cir. 2003) (“Under Burdick, the use of
     touchscreen voting systems is not subject to strict scrutiny
     simply because this particular balloting system may make
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     the possibility of some kinds of fraud more difficult to
     detect.”).11


     11 See, also, e.g., Dudum v. Arntz, 640 F.3d 1098, 1117 (9th
     Cir. 2011) (“If the aspects of the City’s restricted IRV
     scheme Dudum challenges impose any burdens on voters’
     constitutional rights to vote, they are minimal at best.”);
     Common Cause/Georgia v. Billups, 554 F.3d 1340, 1354–
     55 (11th Cir. 2009) (“The district court determined that the
     burden imposed on Georgia voters who lack photo
     identification was not undue or significant, and we agree. .
     . . The NAACP and voters are unable to direct this Court
     to any admissible and reliable evidence that quantifies the
     extent and scope of the burden imposed by the Georgia
     statute.”); Soules v. Kauaians for Nukolii Campaign
     Comm., 849 F.2d 1176, 1183 (9th Cir. 1988) (“Appellants
     claim that Hawaii’s absentee voting law fails to prohibit
     ‘the solicitation, examination and delivery of absentee
     ballots by persons other than the voters’ and that such
     activities occurred during the special election . . . We agree
     with the district court that the Hawaii absentee ballot
     statute and the regulations adopted under it adequately
     protect the secrecy and integrity of the ballot. Although
     Hawaii has not adopted a regulation to prevent the
     delivery of ballots by persons other than the voter, the
     Hawaii regulations go into great detail in their elaboration
     of procedures to prevent tampering with the ballots.”);
     McLain v. Meier, 637 F.2d 1159, 1167 (8th Cir. 1980)
     (“[A]lthough ballot format has an effect on the fundamental
     right to vote, the effect is somewhat attenuated.”); Nemes
     v. Bensinger, --- F. Supp. 3d ---, 2020 WL 3402345, at *13
     (W.D. Ky. June 18, 2020) (“The burden imposed by the
     contraction to one polling place is modest, and the
     identified groups are afforded various other means under
     the voting plans to easily and effectively avoid
     disenfranchisement. As already discussed, Defendants
     have offered evidence of the substantial government
     interest in implementing voting plans that provide for a
     free and fair election while attempting to minimize the
     spread of COVID-19.”); Paralyzed Veterans of Am. v.
     McPherson, No. 06-4670, 2008 WL 4183981, at *22 (N.D.
     Cal. Sept. 9, 2008) (“Plaintiff Bohlke’s listed burdens rely
     on speculative risk or the ancillary effects of third party
     assistance, but not on evidence of any concrete harm. Such
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           To begin with, application of the Anderson-Burdick
     framework here presents something of a “square peg,
     round hole” dilemma. After all, that test assumes there is
     some constitutional injury to “weigh” against the state’s
     “important” regulatory interests in the first place. And
     without differential treatment of votes or voters, there isn’t
     any equal-protection injury for the Court to balance.

            The Anderson-Burdick test is also ill-fitted to
     Plaintiffs’ claims for another reason. Typically, Anderson-
     Burdick is invoked where the government takes some
     direct action to burden or restrict a plaintiff’s right to vote.
     Here, in contrast, Plaintiffs complain that Pennsylvania
     has indirectly burdened the right to vote through
     inaction—i.e., by not imposing enough regulation to
     secure the voting process it has adopted, which, Plaintiffs
     say, will allow third parties to vote in an unlawful way,
     which, if it happens, will dilute (and thus burden) the right
     to vote.

            This unusual causal daisy-chain makes it difficult to
     apply Anderson-Burdick’s balancing approach. After all, it
     is one thing to assess the government’s interest in taking a
     specific action that imposed burdens on the right to vote.
     It is much less natural for a court to evaluate whether the
     government had a good reason for not doing something
     differently, or for failing to do more to prevent (or reduce
     the risk of) misconduct by third parties that could burden
     the right to vote.

            To the extent Anderson-Burdick applies in such
     circumstances, the appropriate course would, in this
     Court’s view, be to weigh any burden stemming from the
     government’s alleged failures against the government’s
     interest in enacting the broader election scheme it has
     erected, of which the challenged piece is usually only one
     part.    Focusing solely on the allegedly inadequate
     procedure being challenged, such as the state’s
     authorization of “drop boxes” here, would ignore the fact
     that Election Code provisions and regulations operate as
     part of a single, complex organism balancing many

     speculations or effects are insufficient under Supreme
     Court and Ninth Circuit precedent to demonstrate a severe
     burden on the fundamental right to vote.”).
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     competing interests, all of which are “important” for
     purposes of the Anderson-Burdick analysis. See, e.g.,
     Crawford, 553 U.S. at 184 (“deterring and detecting voter
     fraud”); Tedards v. Ducey, 951 F.3d 1041, 1067 (9th Cir.
     2020) (“voter turnout”); Lunde v. Schultz, 221 F. Supp. 3d
     1095, 1106 (S.D. Iowa 2014) (“expanding ballot access to
     nonparty candidates”); Greenville Cnty. Republican Party
     Exec. Comm. v. South Carolina, 824 F. Supp. 2d 655, 671
     (D.S.C. 2011) (“promoting voter participation in the
     electoral process”); Mays v. LaRose, 951 F.3d 775, 787 (6th
     Cir. 2020) (“orderly administration of elections”); Dudum,
     640 F.3d at 1115 (“orderly administration of . . . elections”);
     Paher, 2020 WL 2089813, at *7 (“protect[ing] the health
     and safety of . . . voters” and “safeguard[ing] the voting
     franchise”); Nemes, 2020 WL 3402345, at *13
     (“implementing voting plans that provide for a free and fair
     election while attempting to minimize the spread of
     COVID-19”).

            Thus, on the “burden” side of the equation is
     Plaintiffs’ harm of vote dilution predicated on a risk of
     fraud. As discussed above in the context of lack of
     standing, that burden is slight, factually, because it is
     based on largely speculative evidence of voter fraud
     generally, anecdotal evidence of the mis-use of certain drop
     boxes during the primary election, and worries that the
     counties will not implement a “best practice” of having poll
     workers or guards man the drop boxes. See [ECF 461, ¶¶
     63-82; ECF 504-2, ¶ 12; 504-3, ¶ 6; 504-4, ¶7; ; ECF 504-6,
     ¶¶ 6-8; ECF 504-7, ¶¶ 5-9; ECF 504-9, 92:4-10; ECF 504-
     10, 60:3-61:10; 504-19, pp. 3, 16-18, 20 & Ex. D; ECF 504-
     25; ECF 504-49; ECF 509, p. 67; ECF 551, p. 34].

            This somewhat scant evidence demonstrates, at
     most, an increased risk of some election irregularities—
     which, as many courts have held, does not impose a
     meaningful burden under Anderson-Burdick. “Elections
     are, regrettably, not always free from error,” Hutchinson v.
     Miller, 797 F.2d 1279, 1286–87 (4th Cir. 1986), let alone
     the “risk” of error. In just about every election, votes are
     counted, or discounted, when the state election code says
     they should not be. But the Constitution “d[oes] not
     authorize federal courts to be state election monitors.”
     Gamza v. Aguirre, 619 F.2d 449, 454 (5th Cir. 1980). It is
     “not an empty ledger awaiting the entry of an aggrieved
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     litigant’s recitation of alleged state law violations.”
     Fournier v. Reardon, 160 F.3d 754, 757 (1st Cir. 1998). Nor
     is it “an election fraud statute.” Minnesota Voters, 720 F.3d
     at 1031.

             “Garden variety” election irregularities, let alone the
     “risk” of such irregularities, are simply not a matter of
     federal constitutional concern “even if they control the
     outcome of the vote or election.” Bennett v. Yoshina, 140
     F.3d 1218, 1226 (9th Cir. 1998). And as discussed above,
     most often, even “a deliberate violation of state election
     laws by state election officials does not transgress against
     the Constitution.” Shipley, 947 F.3d at 1062. see, e.g., Lecky
     v. Virginia State Bd. of Elections, 285 F. Supp. 3d 908, 919
     (E.D. Va. 2018) (“[E]ven assuming the Fredericksburg
     officials’ failure to provide provisional ballots amounted to
     a violation of state law, it would not rise to the level of an
     equal protection violation.”).

            Compared, then, to Plaintiffs’ slight burden, the
     Commonwealth has put forward reasonable, precise, and
     sufficiently weighty interests that are undisputed and that
     can be distilled into three general categories: (1) the
     benefits of drop boxes, (2) the Commonwealth’s interests in
     furthering its overall election-security plan concerning
     drop boxes, and (3) the interests inherent in the
     Commonwealth’s general mail-in ballot scheme.

            The first category concerns the benefits of drop boxes
     generally.    Secretary Boockvar has pointed out the
     Commonwealth’s interests generally in using drop boxes—
     including, (1) the increase of voter turnout, (2) the
     protection of voters’ health in the midst of the ongoing
     pandemic, (3) the increase of voter satisfaction, in light of
     ongoing U.S. Postal Service issues, and (4) the reduction of
     costs for counties. [ECF No. 547, at pp. 22-25; ECF No.
     549-2, ¶¶ 36-39, 42-44]. Plaintiffs do not dispute any of
     these interests.

            The second category of interests concerns the
     Commonwealth’s interests in implementing drop boxes
     with appropriate and effective safety measures and
     protocols in place. That is, Secretary Boockvar has, in her
     capacity as the chief state official charged with overseeing
     elections, issued uniform guidance to all counties regarding

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     the use of drop boxes, which is noted above. That guidance
     includes (1) advising counties that the Election Code
     permits the use of drop boxes, and (2) setting forth best
     practices that the counties should “consider” with respect
     to their use. Among other things, the Secretary advised
     that counties should maintain a traceable chain of custody
     for mail-in and absentee ballots retrieved from drop boxes;
     utilize drop boxes with various security features (e.g., anti-
     tampering features, locks, video surveillance, and removal
     when the site is closed or cannot be monitored); and
     designate sworn county personnel to remove ballots from
     drop boxes. And evidence suggests that the Secretary’s
     deputies have emphasized these best practices when
     queried by county officials.        [ECF 549-32 (“Per our
     conversation, the list of items are things the county must
     keep in mind if you are going to provide a box for voters to
     return their ballots in person.”)].

             This guidance is lawful, reasonable, and non-
     discriminatory, and so does not create any constitutional
     issue in its own right. With this guidance, the Secretary
     has diminished the risks tolerated by the legislature in
     adopting mail-in voting and authorizing drop-boxes, by
     encouraging the counties to adopt rather comprehensive
     security and chain-of-custody procedures if they do elect to
     use drop boxes. Conversely, the legislature’s decision to
     leave the counties with ultimate discretion when it comes
     to how, and to what extent, to use drop boxes (as opposed
     to adopting a scheme in which the Secretary could enforce
     compliance with her guidance) is also reasonable, and
     justified by sufficiently weighty governmental interests,
     given the many variations in population, geography, local
     political culture, crime rates, and resources. [ECF 549-9
     (“There is no logical reason why ballot receptacles such as
     drop boxes must be uniform across different counties;
     particularly because the verification of the voter is
     determined by election officials upon receipt of the ballot.
     Counties vary in size and need. Across the country, best
     practices dictate that counties determine what type of box
     and size works for them. The needs of a large county are
     very different from the needs of a smaller county.”); ECF
     549-11, p. 9 (“Such variation between counties even within
     a state makes sense, since the needs of different counties
     vary and their use of drop boxes reflects those
     considerations (e.g., the geographic size of a county, the
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     population of the county, and the ease with which voters in
     the county can access other locations to return mail-in
     ballots).”].

            The third category of interests is, more generally,
     the interests of the Commonwealth in administering its
     overall mail-in ballot regime, including the various
     security and accountability measures inherent in that
     legislative plan.

            Pennsylvania did not authorize drop boxes in a
     vacuum. Last year, the Pennsylvania legislature
     “weigh[ed] the pros and cons,” Weber, 347 F.3d at 1107, and
     adopted a broader system of “no excuse” mail-in voting as
     part of the Commonwealth’s Election Code. As the
     Pennsylvania Supreme Court has now confirmed, that
     system left room for counties to authorize drop boxes and
     other satellite locations for returning ballots to the county
     boards of elections. See Boockvar, 2020 WL 5554644, at *9
     (“[W]e need not belabor our ultimate conclusion that the
     Election Code should be interpreted to allow county boards
     of election to accept hand-delivered mail-in ballots at
     locations other than their office addresses including drop-
     boxes.”).

            Inherent in any mail-in or absentee voting system is
     some degree of increased risk of votes being cast in
     violation of other provisions of the Election Code,
     regardless of whether those ballots are returned to drop
     boxes, mailboxes, or some other location. For example,
     there is simply no practical way to police third party
     delivery of ballots to any mailbox anywhere in the
     Commonwealth, where Plaintiffs do not dispute that such
     ballots can be lawfully returned. It is also likely that more
     (and perhaps many more) voters than usual will be
     disenfranchised by technicalities this year, for failing to
     comply with the procedural requirements associated with
     mail-in ballots, such as the requirement that such ballots
     be placed in “inner secrecy envelopes.”

            But in enacting the “no excuse” mail-in voting
     system that it did, the Pennsylvania legislature chose to
     tolerate the risks inherent in that approach. And the key
     point is that the legislature made that judgment in the
     context of erecting a broader election scheme that

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     authorizes other forms of voting and has many other
     safeguards in place to catch or deter fraud and other illegal
     voting practices.       These safeguards include voter
     registration; a mail-in ballot application and identity
     verification process, 25 P.S. §§ 3146.2, 3150.12; a system
     for tracking receipt of mail-in ballots, 25 P.S. §§ 3146.3(a),
     3150.13(a); and, perhaps most important of all, a pre-
     canvassing and canvassing process during which mail-in
     ballots are validated before being counted. In addition,
     Pennsylvania law also seeks to deter and punish fraud by
     imposing criminal penalties for unlawful voting, 25 P.S §
     3533; voting twice in one election, 25 P.S § 3535; forging or
     destroying ballots, 25 P.S § 3517; unlawful possession or
     counterfeiting of ballots 25 P.S § 3516; and much more of
     the conduct Plaintiffs fear, see 25 P.S. §3501, et seq.

            In this larger context, the Court cannot say that the
     balance Pennsylvania struck across the Election Code was
     unreasonable, illegitimate, or otherwise not “sufficiently
     weighty to justify,” Crawford, 553 U.S. at 191, whatever
     ancillary risks may be associated with the use of drop
     boxes, or with allowing counties to exercise discretion in
     that regard. Pennsylvania may balance the many
     important and often contradictory interests at play in the
     democratic process however it wishes, and it must be free
     to do so “without worrying that a rogue district judge might
     later accuse it of drawing lines unwisely.” Abbott, 961 F.3d
     at 407.

            Thus, balancing the slight burden of Plaintiffs’ claim
     of dilution against the categories of interests above, the
     Court finds that the Commonwealth and Defendants’
     interests in administering a comprehensive county-based
     mail-in ballot plan, while both promoting voting and
     minimizing fraud, are sufficiently “weighty,” reasonable,
     and justified. Notably, in weighing the burdens and
     interests at issue, the Court is mindful of its limited role,
     and careful to not intrude on what is “quintessentially a
     legislative judgment.” Griffin, 385 F.3d at 1131. “[I]t is the
     job of democratically-elected representatives to weigh the
     pros and cons of various balloting systems.” Weber, 347
     F.3d at 1106. “So long as their choice is reasonable and
     neutral, it is free from judicial second-guessing.” Id.; see
     also Abbott, 961 at 407 (“That the line might have been
     drawn differently ... is a matter for legislative, rather than
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     judicial, consideration.”) (cleaned up); Trinsey v. Com. of
     Pa., 941 F.2d 224, 235 (3d Cir. 1991) (“We take no position
     on the balancing of the respective interests in this
     situation. That is a function for which the legislature is
     uniquely fitted.”).

            Thus, even under the Anderson-Burdick framework,
     the Court finds that Plaintiffs’ constitutional challenge
     fails as a matter of law.

           B.     Pennsylvania’s use of drop boxes does
                  not violate federal due process.

             In addition to their equal-protection challenge to the
     use of drop boxes, Plaintiffs also appear to argue that the
     use of unmanned drop boxes violates substantive due
     process protected by the 14th Amendment. This argument
     is just a variation on their equal-protection argument—i.e.,
     the uneven use of drop boxes will work a “patent and
     fundamental unfairness” in violation of substantive due
     process principles. See Griffin v. Burns, 570 F.2d 1065,
     1077 (1st Cir. 1978) (substantive due process rights are
     violated “[i]f the election process itself reaches the point of
     patent and fundamental unfairness[.]”). The analysis for
     this claim is the same as that for equal protection, and thus
     it fails for the same reasons.

            But beyond that, this claim demands even stricter
     proof. Such a claim exists in only the most extraordinary
     circumstances. See Nolles v. State Comm. for
     Reorganization of Sch. Districts, 524 F.3d 892, 898 (8th Cir.
     2008) (“A canvass of substantive due process cases related
     to voting rights reveals that voters can challenge a state
     election procedure in federal court only in limited
     circumstances, such as when the complained of conduct
     discriminates against a discrete group of voters, when
     election officials refuse to hold an election though required
     by state law, resulting in a complete disenfranchisement,
     or when the willful and illegal conduct of election officials
     results in fraudulently obtained or fundamentally unfair
     voting results.”) (cleaned up); Yoshina, 140 F.3d at 1226
     (“We have drawn a distinction between ‘garden variety’
     election irregularities and a pervasive error that
     undermines the integrity of the vote. In general, garden
     variety election irregularities do not violate the Due

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     Process Clause, even if they control the outcome of the vote
     or election.”) (citation omitted); Bennett v. Mollis, 590 F.
     Supp. 2d 273, 278 (D.R.I. 2008) (“Before an election error
     becomes a key that unlocks the restraints on the federal
     court’s authority to act, the Plaintiffs must demonstrate
     either an intentional election fraud or an unintentional
     error resulting in broad-gauge unfairness.”).

             Indeed, “only the most egregious official conduct can
     be said to be arbitrary in the constitutional sense”—the
     “executive action must be so ill-conceived or malicious that
     it ‘shocks the conscience.’” Miller v. City of Phila., 174 F.3d
     368, 375 (3d Cir. 1999) (cleaned up).

            Based on the slight burden imposed here, and the
     Commonwealth’s interests in their overall county specific
     voting regime, which includes a host of other fraud-
     prevention measures, the Court finds that the drop-box
     claim falls short of the standard of substantive due process.

     III.   Defendants and Intervenors are entitled to
            summary judgment on Plaintiffs’ signature-
            comparison claims.

            Plaintiffs’ next claim concerns whether the
     Secretary’s recent guidance on signature comparison
     violates the federal Constitution. Plaintiffs frame their
     claims pertaining to signature comparison in two ways—
     one based on due process and the other based on equal
     protection.

            Plaintiffs initially assert that the Election Code
     requires a signature comparison for mail-in and absentee
     applications and ballots. Thus, according to Plaintiffs,
     Secretary Boockvar’s guidance, which says the opposite, is
     creating unconstitutional vote dilution, in violation of due-
     process principles—i.e., certain unlawful, unverified
     ballots will now be counted, thereby diluting the lawful
     ones cast by other voters (such as in-person voters, whose
     signatures are verified). Plaintiffs also appear to argue
     more generally that absent signature comparison, there is
     a heightened risk of voter fraud, and therefore a
     heightened risk of vote dilution of lawful votes.




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           In addition to due process, Plaintiffs argue that the
     guidance violates equal-protection principles—first, by
     counties engaging in a patchwork of procedures (where
     some counties intend to do a signature comparison for mail-
     in ballots, while others do not); and second, by
     implementing different standards between mail-in ballots
     and in-person ones.

            In contrast, Defendants and Intervenors take the
     position that state law does not require signature
     comparison, and for good reason. According to them,
     requiring such comparisons is fraught with trouble, as
     signatures change over time and elections officials are not
     signature-analysis experts.       This leaves open the
     possibility for arbitrary and discriminatory application
     that could result in the disenfranchisement of valid voters.

            For the reasons that follow, the Court will dismiss
     the signature-comparison claims and enter judgment in
     favor of Defendants. A plain reading of the Election Code
     demonstrates that it does not impose a signature-
     comparison requirement for mail-in ballots and
     applications, and thus Plaintiffs’ vote-dilution claim
     sounding in due process fails at the outset. Further, the
     heightened risk of fraud resulting from a lack of signature
     comparison, alone, does not rise to the level of a federal
     constitutional violation. Finally, the equal-protection
     claims fail because there are sound reasons for the
     different treatment of in-person ballots versus mail-in
     ballots; and any potential burdens on the right to vote are
     outweighed by the state’s interests in their various election
     security measures.

           A.     The Election Code does not require
                  signature comparison for mail-in and
                  absentee ballots or ballot applications.

            Plaintiffs’ federal-constitutional claims in Count I of
     their Second Amended Complaint are partially based on
     the Secretary’s guidance violating state law. That is,
     Plaintiffs’ first theory is that by the Secretary violating
     state law, unlawful votes are counted and thus lawfully
     cast votes are diluted. According to Plaintiffs, this violates
     the 1st and 14th Amendments, as well as the Elections


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     Clause (the latter of which requires the legislature, not an
     executive, to issue election laws).12

            Thus, a necessary predicate for these constitutional
     claims is whether the Election Code mandates signature
     comparison for mail-in and absentee ballots. If it doesn’t,
     as the Secretary’s guidance advises, then there can be no
     vote dilution as between lawful and unlawful votes, nor a
     usurpation of the legislature’s authority in violation of the
     Elections Clause.

           After carefully considering the parties’ arguments
     and the relevant law, the Court finds that the plain
     language of the Election Code imposes no requirement for
     signature comparison for mail-in and absentee ballots and
     applications.13 In other words, the Secretary’s guidance is


     12 The parties do not specifically brief the elements of an
     Elections-Clause claim. This is typically a claim brought
     by a state legislature, and the Court has doubts that this is
     a viable theory for Plaintiffs to assert. See Lance v.
     Coffman, 549 U.S. 437, 442 (2007). Regardless, if state law
     does not require signature comparison, then there is no
     difference between the Secretary’s guidance and the
     Election Code, and the Elections-Clause claim necessarily
     fails.
     13 Several Defendants and Intervenors have asked this
     Court to abstain from deciding this issue on the basis of
     Pullman. As this Court previously discussed, a court can
     abstain under Pullman if three factors are met: “(1) [the
     dispute] requires interpretation of “unsettled questions of
     state law,”; (2) permitting resolution of the unsettled state-
     law questions by state courts would “obviate the need for,
     or substantially narrow the scope of adjudication of the
     constitutional claims”; and (3) an “erroneous construction
     of state law would be disruptive of important state
     policies[.]”” [ECF 409, p. 3 (quoting Chez Sez, 945 F.2d at
     631)]. But if, on the other hand, the answer to the state
     law dispute is “clear and unmistakable,” abstention is not
     warranted. [Id. at p. 15 (citing Chez Sez, 945 F.2d at 632)].
     Here, the Court concludes (as discussed below) that the
     Election Code is clear that signature comparison is not
     required and further, that Plaintiffs’ competing
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     consistent with the Election Code, and creates no vote-
     dilution problems.14

            Plaintiffs, in advancing their claim, rely on section
     3146.8(g)(3)-(7) of the Election Code to assert that the Code
     requires counties to “verify” the signatures on mail-in and
     absentee ballots (i.e., examine the signatures to determine
     whether they are authentic). Plaintiffs specifically point to
     section 3146.8(g)(3) as requiring this signature
     verification. [ECF 509, pp. 17-18].

           Section 3146.8(g)(3) states:

           When the county board meets to pre-canvass
           or canvass absentee ballots and mail-in
           ballots … the board shall examine the
           declaration on the envelope of each ballot …
           and shall compare the information thereon


     interpretation is not plausible. As such, the Court cannot
     abstain under Pullman.

            The Pullman analysis does not change simply
     because Secretary Boockvar has filed a “King’s Bench”
     petition with the Pennsylvania Supreme Court, requesting
     that court to clarify whether the Election Code mandates
     signature comparison of mail-in and absentee ballots and
     applications. [ECF 556, p. 11; ECF 557]. The fact that such
     a petition was filed does not change this Court’s conclusion
     that the Election Code is clear. The Pullman factors
     remain the same. And they are not met here.

     14 The Secretary’s September 11, 2020, guidance, stated
     that the “Pennsylvania Election Code does not authorize
     the county board of elections to set aside returned absentee
     or mail-in ballots based solely on signature analysis by the
     county board of elections.” [ECF 504-24, p. 3, § 3].
     Similarly, the Secretary’s September 28, 2020, guidance
     stated that “Election Code does not permit county election
     officials to reject applications or voted ballots based solely
     on signature analysis. … No challenges may be made to
     mail‐in and absentee ballots at any time based on
     signature analysis.” [ECF 504-25, p. 9, § 5.2].


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           with that contained in the “Registered
           Absentee and Mail-in Voters File,” the
           absentee voters’ list and/or the “Military
           Veterans and Emergency Civilians Absentee
           Voters File,” whichever is applicable. If the
           county board has verified the proof of
           identification as required under this act and
           is satisfied that the declaration is sufficient
           and the information contained in the
           “Registered Absentee and Mail-in Voters
           File,” the absentee voters’ list and/or the
           “Military Veterans and Emergency Civilians
           Absentee Voters File” verifies his right to
           vote, the county board shall provide a list of
           the names of electors whose absentee ballots
           or mail-in ballots are to be pre-canvassed or
           canvassed.

     25 P.S. § 3146.8(g)(3).

            According to Plaintiffs, Section 3146.8(g)(3)’s
     requirement to verify the proof of identification, and
     compare the information on the declaration, is tantamount
     to signature comparison. The Court disagrees, for at least
     three reasons.

           First, nowhere does the plain language of the statute
     require signature comparison as part of the verification
     analysis of the ballots.

           When interpreting a statute enacted by the
     Pennsylvania     General     Assembly,      courts     apply
     Pennsylvania’s Statutory Construction Act, 1 Pa. C.S. §§
     1501-1991. And as the Act instructs, the “object of all
     interpretation and construction of statutes is to ascertain
     and effectuate the intention of the General Assembly.” 1
     Pa C.S. § 1921(a). If the words of the statute are clear and
     unambiguous, the letter of the law applies. Id. at § 1921(b).
     Otherwise, courts may consider a variety of factors to
     determine the legislature’s intent, including “other
     statutes upon the same or similar subjects” and “[t]he
     consequences of a particular interpretation.” Id. at §
     1921(c)(5)-(6).



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            Section 3146.8(g)(3) does not expressly require any
     signature verification or signature comparison. 25 P.S. §
     3146.8(g)(3). It instead requires election officials to (1)
     “examine the declaration on the envelope of each ballot,”
     (2) “compare the information thereon with that contained
     in the … ‘Voters file’ [or] the absentee voters’ list,” and (3)
     if “the county board has [a] verified the proof of
     identification as required under this act and [b] is satisfied
     that the declaration is sufficient and the information
     contained in the [Voter’s file] … verifies his right to vote,”
     the election official shall include the ballot to be counted.
     Id.

            Under the express terms of the statute, then, the
     information to be “verified” is the “proof of identification.”
     Id. The Election Code defines “proof of identification” as
     the mail-in/absentee voter’s driver’s license number, last
     four digits of their Social Security number, or a specifically
     approved form of identification. 25 P.S. § 2602(z.5)(3)(i)-
     (iv).15 The only other “verification” the election official


     15The Election Code’s definition of “proof of identification”
     in full provides:

           The words “proof of identification” shall mean
           … For a qualified absentee elector … or a
           qualified mail-in elector… :

                i.       in the case of an elector who has
           been issued a current and valid driver’s
           license, the elector’s driver’s license number;

                ii.     in the case of an elector who has
           not been issued a current and valid driver’s
           license, the last four digits of the elector’s
           Social Security number;

                iii.       in the case of an elector who has
           a religious objection to being photographed, a
           copy of a document that satisfies paragraph
           (1) [i.e., “a valid-without-photo driver’s license
           or a valid-without-photo identification card
           issued         by     the      Department       of
           Transportation”]; or

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     must conduct is to determine whether “the information
     contained in the [Voter’s file] … verifies his right to vote.”

             Nowhere does this provision require the election
     official to compare and verify the authenticity of the
     elector’s signature. In fact, the word “signature” is absent
     from the provision. It is true that the elector must fill out
     and sign the declaration included on the ballot. 25 P.S. §§
     3146.6(a), 3150.16(a). However, while section 3146.8(g)(3)
     instructs the election official to “examine the declaration …
     and compare the information thereon with that contained
     in the [Voter’s file],” the provision clarifies that this is so
     the election official can be “satisfied that the declaration is
     sufficient.” 25 P.S. § 3146.8(g)(3). In other words, the
     election official must be “satisfied” that the declaration is
     “fill[ed] out, date[d] and sign[ed],” as required by sections
     3150.16(a) and 3146.6(a) of the Election Code. Notably
     absent is any instruction to verify the signature and set
     aside the ballot if the election official believes the signature
     to be non-genuine. There is an obvious difference between
     checking to see if a signature was provided at all, and
     checking to see if the provided signature is sufficiently
     authentic. Only the former is referred to in section
     3146.8(g)(3).



                iv.       in the case of an elector who has
            not been issued a current and valid driver’s
            license or Social Security number, a copy of a
            document that satisfies paragraph (2) [i.e., “a
            document that shows the name of the
            individual to whom the document was issued
            and the name substantially conforms to the
            name of the individual as it appears in the
            district register; shows a photograph of the
            individual to whom the document was issued;
            includes an expiration date and is not expired,
            except (A) … or (B) …; and was issued by” the
            federal, state, or municipal government, or an
            “accredited Pennsylvania public or private
            institution of higher learning [or] “a
            Pennsylvania are facility.”].

     25 P.S. § 2602(z.5)(3).

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             Second, beyond the plain language of the statute,
      other canons of construction compel the Court’s
      interpretation. When interpreting statutes passed by the
      General Assembly, Pennsylvania law instructs courts to
      look at other aspects of the statute for context. See 1 Pa.
      C.S. § 1921(c)(5) (“When the words of the statute are not
      explicit, the intention of the General Assembly may be
      ascertained by considering … other statutes upon the same
      or similar subjects.”); O’Rourke v. Commonwealth, 778
      A.2d 1194, 1201 (Pa. 2001) (“The cardinal rule of all
      statutory construction is to ascertain and effectuate the
      intent of the Legislature. To accomplish that goal, we
      should not interpret statutory words in isolation, but must
      read them with reference to the context in which they
      appear.” (citation omitted)).

              Context here is important because the General
      Assembly mandated signature comparison for in-person
      voting elsewhere in the Election Code—thus evidencing its
      intention not to require such comparison for mail-in
      ballots. See Fonner v. Shandon, Inc., 724 A.2d 903, 907
      (Pa. 1999) (“[W]here a section of a statute contains a given
      provision, the omission of such a provision from a similar
      section is significant to show a different legislative intent.”)
      (citation omitted).

              In addressing in-person voting, the General
      Assembly explicitly instructs that the election official shall,
      after receiving the in-person elector’s voter certificate,
      immediately “compare the elector’s signature on his
      voter’s certificate with his signature in the district register.
      If, upon such comparison, the signature upon the voter’s
      certificate appears to be genuine, the elector who has
      signed the certificate shall, if otherwise qualified, be
      permitted to vote: Provided, That if the signature on the
      voter’s certificate, as compared with the signature as
      recorded in the district register, shall not be deemed
      authentic by any of the election officers, such elector shall
      not be denied the right to vote for that reason, but shall be
      considered challenged as to identity and required to [cure
      the deficiency].” 25 P.S. § 3050(a.3)(2) (emphasis added).

             Elsewhere, the General Assembly also explicitly
      accounts for signature comparison of in-person voters: “[I]f
      it is determined that the individual was registered and

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      entitled to vote at the election district where the ballot was
      cast, the county board of elections shall compare the
      signature on the provisional ballot envelope with the
      signature on the elector’s registration form and, if
      the signatures are determined to be genuine, shall
      count the ballot if the county board of elections confirms
      that the individual did not cast any other ballot, including
      an absentee ballot, in the election. … [But a] provisional
      ballot shall not be counted if … the signature[s] required
      … are either not genuine or are not executed by the same
      individual…” 25 P.S. § 3050(a.4)(5)(i)-(ii) (emphasis
      added); see also 25 P.S. § 2936 (“[When reviewing
      nomination papers], the Secretary of the Commonwealth or
      the county board of elections, although not hereby required
      so to do, may question the genuineness of any
      signature or signatures appearing thereon, and if he
      or it shall thereupon find that any such signature or
      signatures are not genuine, such signature or signatures
      shall be disregarded[.]” (emphasis added)).

             Clearly then, the General Assembly, in enacting the
      Election Code, knew that it could impose a signature-
      comparison requirement that requires an analysis to
      determine whether a signature is “genuine.” And when
      that was its intent, the General Assembly explicitly and
      unequivocally imposed that requirement. It is thus telling,
      from a statutory construction standpoint, that no such
      explicit requirement is imposed for returned mail-in or
      absentee ballots. Indeed, the General Assembly is aware—
      and in fact, requires—that a voter must sign their
      application for an absentee or mail-in ballot, and must sign
      the declaration on their returned ballot. 25 P.S. §§
      3146.2(d) (absentee-ballot application), 3150.12(c) (mail-in-
      ballot application), 3146.6(a) (absentee-voter declaration),
      3150.16(a) (mail-in voter declaration). Despite this, the
      General Assembly did not mention a signature-comparison
      requirement for returned absentee and mail-in ballots.

             The Court concludes from this context that this is
      because the General Assembly did not intend for such a
      requirement. See, e.g., Mishoe v. Erie Ins. Co., 824 A.2d
      1153, 1155 (Pa. 2003) (“In arriving at our conclusion that
      the foregoing language does not provide for the right to a
      jury trial, we relied on three criteria. First, we put
      substantial emphasis on the fact that the PHRA was
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      silent regarding the right to a jury trial. As we explained,
      ‘the General Assembly is well aware of its ability to grant
      a jury trial in its legislative pronouncements,’ and
      therefore, ‘we can presume that the General Assembly’s
      express granting of trial by jury in some enactments means
      that it did not intend to permit for a jury trial under the
      PHRA.’” (cleaned up) (emphasis added)); Holland v. Marcy,
      883 A.2d 449, 456, n.15 (Pa. 2005) (“We additionally note
      that the legislature, in fact, did specify clearly when it
      intended the choice of one individual to bind others. In
      every other category addressed by Section 1705(a) other
      than (a)(5) which addressed uninsured owners, the General
      Assembly specifically referenced the fact that the decision
      of the named insured … binds other household members.
      … Similar reference to the ability of the uninsured owner’s
      deemed choice to affect the rights of household members is
      conspicuously missing from Section 1705(a)(5).”).

             Accordingly, the Court finds that the General
      Assembly’s decision not to expressly refer to signature
      comparisons for mail-in ballots, when it did so elsewhere,
      is significant.

             Third, this Court is mindful that Pennsylvania’s
      election statutes are to be construed in a manner that does
      not risk disenfranchising voters. See, e.g., 1 Pa. C.S. §
      1922(3) (“In ascertaining the intention of the General
      Assembly in the enactment of a statute the following
      presumptions, among others, may be used: … That the
      General Assembly does not intend to violate the
      Constitution of the United States or of this
      Commonwealth.”); id. at § 1921(c)(6) (in interpreting a
      statute, the court may consider “[t]he consequences of a
      particular interpretation”).

            As the Pennsylvania Supreme Court emphasized
      last month, “[I]t is well-settled that, although election laws
      must be strictly construed to prevent fraud, they ordinarily
      will be construed liberally in favor of the right to vote.
      Indeed, our goal must be to enfranchise and not to
      disenfranchise the electorate.” Boockvar, 2020 WL
      5554644, at *9 (cleaned up); see also id. (“[A]lthough both
      Respondent and the Caucus offer a reasonable
      interpretation of Section 3150.16(a) as it operates within
      the Election Code, their interpretation restricts voters’

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      rights, as opposed to the reasonable interpretation
      tendered by Petitioner and the Secretary. The law,
      therefore, militates in favor of this Court construing the
      Election Code in a manner consistent with the view of
      Petitioner and the Secretary, as this construction of the
      Code favors the fundamental right to vote and
      enfranchises,    rather    than     disenfranchises,   the
      electorate.”).

              Here, imposing a signature-comparison requirement
      as to mail-in and absentee ballots runs the risk of
      restricting voters’ rights. This is so because election
      officials, unstudied and untested in signature verification,
      would have to subjectively analyze and compare
      signatures, which as discussed in greater detail below, is
      potentially problematic.16 [ECF 549-2, p. 19, ¶ 68]; [ECF
      549-9, p. 20, ¶ 64]. And perhaps more importantly, even
      assuming       an   adequate,     universal     standard     is
      implemented, mail-in and absentee voters whose
      signatures were “rejected” would, unlike in-person voters,
      be unable to cure the purported error. See 25 P.S. §
      3146.8(a) (stating that in-person and absentee ballots
      “shall [be safely kept] in sealed or locked containers until
      they are to be canvassed by the county board of elections,”
      which § 3146.8(g)(1.1)-(2) states is no earlier than election
      day); Boockvar, 2020 WL 5554644, at *20 (“[A]lthough the
      Election Code provides the procedures for casting and
      counting a vote by mail, it does not provide for the ‘notice
      and opportunity to cure’ procedure sought by Petitioner. To
      the extent that a voter is at risk for having his or her ballot
      rejected due to minor errors made in contravention of those
      requirements, we agree that the decision to provide a
      ‘notice and opportunity to cure’ procedure to alleviate that
      risk is one best suited for the Legislature.”). As discussed
      in more detail below, unlike in-person voters, whose
      signatures are verified in their presence, mail-in and
      absentee voters’ signatures would be verified at a later date

      16 While election officials must engage in signature
      comparison for in-person voters, that requirement is
      explicitly required by the Election Code, unlike for mail-in
      ballots. 25 P.S. § 3050(a.3)(2). And as discussed below, in-
      person voters, unlike mail-in voters, are immediately
      notified if their signatures are deficient.

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      outside the presence of the voter. See generally 25 P.S. §
      3146.8(a), (g) (requiring mail-in and absentee ballots to be
      kept secured in a sealed container until Election Day).
      Unbeknownst to the voter, then, and without an
      opportunity to remedy the purported error, these mail-in
      and absentee voters may not have their votes counted.
      Based on this risk of disenfranchisement, which the Court
      must consider in interpreting the statute, the Court cannot
      conclude that this was the General Assembly’s intention.

             The Court is not persuaded by Plaintiffs’ arguments
      to the contrary.

             Plaintiffs argue that section 3146.8(g)(5)-(7)
      provides a voter, whose ballot-signature was rejected,
      notice and an opportunity to cure the signature deficiency.
      [ECF 509, pp. 13, 18, 50]. That section, however, refers to
      when a person raises a specific challenge to a specific ballot
      or application on the grounds that the elector is not a
      “qualified elector.” 25 P.S. § 3146.8(g)(4) (stating that mail-
      in and absentee ballots shall be counted unless they were
      challenged under §§ 3146.2b or 3150.12b, which allow
      challenges on the grounds that the elector applying for a
      mail-in or absentee ballot wasn’t qualified). Thus, the
      “challenges” referenced in § 3146.8(g)(5)-(7) refer to a
      voter’s qualifications to vote, not a signature verification.

             Plaintiffs similarly argue that section 3146.8(h)
      provides mail-in voters notice and opportunity to cure
      signature deficiencies. [ECF 552, p. 60]. But that section
      relates to “those absentee ballots or mail-in ballots for
      which proof of identification has not been received or could
      not be verified.” 25 P.S. § 3146.8(h). As discussed above,
      “proof of identification” is a defined term, and includes the
      voter’s driver’s license number, last four digits of their
      Social Security number, or a specifically approved form of
      identification. 25 P.S. § 2602(z.5)(3)(i)-(iv). Not included is
      the voter’s signature.17


      17 Plaintiffs also argue that signature comparison for mail-
      in and absentee ballots is supported by historical case law.
      [ECF 552, pp. 58-59]. Plaintiffs cite to two cases from the
      1960s that the Court of Common Pleas decided. [Id.]. The
      first, Appeal of Fogleman, concluded that under the then-
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             At bottom, Plaintiffs request this Court to impose a
      requirement—signature comparison—that the General
      Assembly chose not to impose. Section 3146.8(g)(3) does
      not mention or require signature comparison. The Court
      will not write it into the statute.

             For the same reasons that the Election Code does
      not impose a signature-comparison requirement for mail-
      in and absentee ballots, the Election Code does not impose
      a signature-comparison requirement for mail-in and
      absentee ballot applications. While the General
      Assembly imposed a requirement that the application be
      signed, there is no mention of a requirement that the
      signature be verified, much less that the application be
      rejected based solely on such verification. 25 P.S. §§
      3146.2(d) (absentee-ballot application), 3150.12(c) (mail-in-
      ballot application). Again, finding no explicit instructions
      for signature comparison here (unlike elsewhere in the
      Code), the Court concludes that the General Assembly
      chose not to include a signature-comparison requirement
      for ballot applications.

            The Court again finds Plaintiffs’ arguments to the
      contrary unavailing. Plaintiffs argue that “there is no other
      proof of identification required to be submitted with the


      applicable election law, an absentee voter had to sign a
      declaration to show that he was a proper resident who had
      not already voted in that election. 36 Pa. D. & C.2d 426,
      427 (Pa. Ct. Comm. Pl. 1964). Regarding the voter’s
      signature, the court simply stated, “[if the elector fails or
      refuses to attach his or her signature, then such elector has
      not completed the declaration as required by law of all
      voters.” Id. Thus, no signature comparison or verification
      was implicated there; rather, the court simply stated that
      the declaration must be signed (i.e., completed). The
      second case Plaintiffs cite, In re Canvass of Absentee
      Ballots of Gen. Election [ECF 552, pp. 58-59], arose from
      individual, post-election challenges to 46 individual
      absentee ballots. 39 Pa. D. & C.2d 429, 430 (Pa. Ct. Comm.
      Pl. 1965). Thus, a universal and mandatory signature-
      comparison requirement was not at issue there, unlike
      what Plaintiffs contest here. This Court finds neither case
      persuasive.
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      ballot applications,” and thus, a signature comparison
      must be required. [ECF 509, p. 16].

             But the Election Code expressly requires the
      applicant to include several pieces of identifying
      information, including their name, mailing address, and
      date of birth. 25 P.S. §§ 3146.2(b), 3150.12(b). And after
      receiving the applicant’s application, the election official
      must “verify[] the proof of identification [a defined term as
      discussed above] and compar[e] the information provided
      on the application with the information contained on the
      applicant’s permanent registration card.”18 Id. at §§
      3146.2b(c), 3150.12b(a). Thus, contrary to Plaintiffs’
      argument, the General Assembly provided for certain
      methods of identification as to ballot applications.
      Signature verification isn’t one of them.

             For these reasons, the Court concludes that the
      Election Code does not impose a signature-comparison
      requirement for absentee and mail-in ballots and
      applications. As such, the Secretary’s September 11, 2020,
      and September 28, 2020, guidance is consistent with the
      Election Code. Plaintiffs’ claims of vote dilution based on
      this guidance will therefore be dismissed.

            B.     The lack of a signature comparison does
                   not violate substantive due process.

             In addition to alleging that the Secretary’s guidance
      violates the Election Code, Plaintiffs appear to also argue
      that their right to vote is unconstitutionally burdened and
      diluted due to a risk of fraud. That is, regardless of what
      the Election Code requires, Plaintiffs assert that absent
      signature comparison, mail-in and absentee ballots will be
      prone to fraud, thereby diluting other lawful ballots. [ECF
      509, pp. 45-50; 504-19, pp. 10-15]. Plaintiffs argue that this

      18 This identifying information on a ballot application
      includes much of the same information expressly listed for
      what a voter must provide in initially registering to vote.
      25 Pa. C.S.A. § 1327(a) (stating that the “official voter
      registration application” shall request the applicant’s: full
      name, address of residence (and mailing address if
      different), and date of birth).

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      significantly burdens their fundamental right to vote,
      resulting in a due-process violation, and thus strict
      scrutiny applies. The Court disagrees.

             As discussed above in the context of Plaintiffs’ drop-
      box claim, Plaintiffs’ claim here simply does not rise to the
      high level for a substantive due process claim. To violate
      substantive due process in the voting-rights context, the
      infringements are much more severe. Only in
      extraordinary circumstances will there be “patent and
      fundamental unfairness” that causes a constitutional
      harm. See Bonas v. Town of North Smithfield, 265 F.3d 69,
      74 (1st Cir. 2001); Shannon v. Jacobowitz, 394 F.3d 90, 94
      (2d Cir. 2005).

             Here, Plaintiffs’ signature-comparison claim does
      not meet this high standard. This isn’t a situation of
      malapportionment, disenfranchisement, or intentional
      discrimination. And the risk of voter fraud generally
      without signature comparison—as a matter of fact and
      law—does not rise to “patent and fundamental unfairness.”

             Indeed, as discussed above, Plaintiffs’ evidence of
      potential voter fraud here is insufficient to establish
      “patent and fundamental unfairness.” In their summary-
      judgment brief, Plaintiffs argue that “the Secretary’s
      September 2020 guidance memos promote voter fraud.”
      [ECF 509, p. 48]. Plaintiffs then offer a hypothetical where
      a parent signs a ballot application on their child’s behalf
      because the child is out-of-state. [ECF 509, p. 48].
      Plaintiffs assert that without signature comparisons, such
      “fraud” could proceed unchecked. [Id.]. Plaintiffs continue,
      arguing that the “fraud” would “snowball,” so that
      “spouses, neighbors, acquaintances, strangers, and others”
      were signing applications and ballots on others’ behalf. [Id.
      at pp. 48-49]. To prevent such fraud, Plaintiffs’ expert, Mr.
      Riddlemoser, asserts that signature comparison is needed.
      [ECF 504-19, p. 10 (“Not only does enforcing the Election
      Code’s requirement of a completed and signed declaration
      ensure uniformity, which increases voter confidence, it also
      functions to reduce fraud possibilities by allowing
      signature verification.”)].

            Mr. Riddlemoser first highlights that in
      Philadelphia in the primary, ballots were counted “that

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      lacked a completed declaration.” [Id. at p. 11]. Mr.
      Riddlemoser further opines that the September 11, 2020,
      guidance and September 28, 2020, guidance, in instructing
      that signature comparison is not required for mail-in and
      absentee ballots and applications, “encourage[s], rather
      than prevent[s], voter fraud.” [Id. at pp. 12-13]. Mr.
      Riddlemoser also notes that signature comparison is “the
      most common method” to verify ballots and that the
      Secretary’s guidance “leave the absentee/mail-in ballots
      subject to the potential for unfettered fraud.” [Id. at p. 14].
      He concludes that the guidance “invites the dilution of
      legitimately cast votes.” [Id.].

             Based on this evidentiary record, construed in
      Plaintiffs’ favor, the Court cannot conclude that there
      exists “patent and fundamental unfairness.” Rather,
      Plaintiffs present only the possibility and potential for
      voter fraud.      In their briefing, Plaintiffs relied on
      hypotheticals, rather than actual events. [ECF 509, p. 48].
      Mr. Riddlemoser admits that failing to verify signatures
      only creates “the potential” for fraud and “invites” vote
      dilution. [ECF 504-19, pp. 14, 15]. Even assuming an
      absence of signature comparison does indeed invite the
      potential for fraud, the nondiscriminatory, uniform
      practice and guidance does not give rise to “patent and
      fundamental unfairness” simply because of a “potential”
      for fraud. Plaintiffs have not presented evidence to
      establish a sufficient burden on their constitutional right
      to vote.

             Indeed, even if the Court assumed some “forged”
      applications or ballots were approved or counted, this is
      insufficient to establish substantial, widespread fraud that
      undermines the electoral process.           Rather, limited
      instances of “forged” ballots—which according to Plaintiffs’
      definition, includes an individual signing for their spouse
      or child—amount to what the law refers to as “garden
      variety” disputes of limited harm. As has long been
      understood, federal courts should not intervene in such
      “garden variety” disputes. Hutchinson, 797 F.2d at 1283
      (“[C]ourts have uniformly declined to endorse action under
      § 1983 with respect to garden variety election
      irregularities.”) (cleaned up); Yoshina, 140 F.3d at 1226
      (“In general, garden variety election irregularities do not
      violate the Due Process Clause, even if they control the
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      outcome of the vote or election.” (collecting cases)); Curry v.
      Baker, 802 F.2d 1302, 1314-15 (11th Cir. 1986) (“[I]f the
      election process itself reaches the point of patent and
      fundamental unfairness, a violation of the due process
      clause may be indicated and relief under § 1983 therefore
      in order. Such a situation must go well beyond the ordinary
      dispute over the counting and marking of ballots.” (cleaned
      up)).

             To be clear, the Court does not take Plaintiffs’
      allegations and evidence lightly. Election fraud is serious
      and disruptive. And Plaintiffs could be right that the safer
      course would be to mandate signature comparison for all
      ballots. But what Plaintiffs essentially complain of here is
      whether the procedures employed by the Commonwealth
      are sufficient to prevent that fraud. That is a decision left
      to the General Assembly, not to the meddling of a federal
      judge. Crawford, 553 U.S. at 208 (Scalia, J. concurring) (“It
      is for state legislatures to weigh the costs and benefits of
      possible changes to their election codes, and their judgment
      must prevail unless it imposes a severe and unjustified
      overall burden upon the right to vote, or is intended to
      disadvantage a particular class.”). Griffin, 385 F.3d at
      1131-32 (“[S]triking of the balance between discouraging
      fraud and other abuses and encouraging turnout is
      quintessentially a legislative judgment with which we
      judges should not interfere unless strongly convinced that
      the legislative judgment is grossly awry.”).

            C.     Plaintiffs’ federal   equal-protection
                   claims based on signature comparison
                   fail.

            Plaintiffs present two federal equal-protection
      claims. The Court will address each in turn.

                   1.     County differences over signature
                          comparison do not violate federal
                          equal-protection rights.

             Plaintiffs’ first federal equal-protection claim is
      based on some county boards of elections intending to
      verify the signatures on mail-in and absentee ballots and
      applications, while others do not intend to do so. To that
      end, Plaintiffs have presented evidence that some, but not

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      all, counties do intend to verify signatures. E.g., [ECF 504-
      1].19 According to Plaintiffs, this arbitrary and differential
      treatment of mail-in and absentee ballots among
      counties—purportedly caused by the Secretary’s
      September 11, 2020, and September 28, 2020, guidance—
      violates the Equal-Protection Clause because voters will be
      treated differently simply because of the county in which
      they reside. The Court, however, finds no equal-protection
      violation in this context.

             The Secretary’s guidance about which Plaintiffs
      complain is uniform and nondiscriminatory. It was issued
      to all counties and applies equally to all counties, and by
      extension, voters. Because the uniform, nondiscriminatory
      guidance is rational, it is sound under the Equal-Protection
      Clause. See Gamza, 619 F.2d at 453 (5th Cir. 1980) (“We
      must, therefore, recognize a distinction between state laws
      and patterns of state action that systematically deny
      equality in voting, and episodic events that, despite non-
      discriminatory laws, may result in the dilution of an
      individual’s vote. Unlike systematically discriminatory
      laws, isolated events that adversely affect individuals are
      not presumed to be a violation of the equal protection
      clause.”) (citation omitted). Indeed, the guidance merely
      instructs counties to abide by the Election Code—an
      instruction to follow the law is certainly rational and
      related to an obviously rational government interest.

             In fact, if there is any unequal application now, it is
      caused by those counties that are not following the
      guidance and are going above and beyond the Election
      Code to impose a signature-comparison requirement. That
      claim, though, is not before the Court, as Plaintiffs here do
      not assert that imposing a signature-comparison
      requirement violates the Constitution (they allege the
      opposite).

             In any event, to the extent there was uncertainty
      before, this decision informs the counties of the current

      19  The counties that intend to compare and verify
      signatures in the upcoming election include at least the
      following counties: Cambria, Elk, Franklin, Juniata,
      Mifflin, Sullivan, Susquehanna, and Wyoming. [ECF 504-
      1].
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      state of the law as it relates to signature comparison. If
      any county still imposes a signature-comparison
      requirement in order to disallow ballots, it does so without
      support from the Secretary’s guidance or the Election Code.
      Further, counties that impose this signature-comparison
      requirement to reject ballots may be creating a different
      potential constitutional claim for voters whose ballots are
      rejected. Boockvar, 2020 WL 5554644, at *34, n.16 (Wecht,
      J. concurring) (noting that courts around the country have
      found due process issues with signature-comparison
      requirements; and collecting cases).

             For these reasons, Plaintiffs’ equal-protection claim
      falls short.

                   2.     Different treatment between in-
                          person ballots and mail-in ballots
                          also does not violate federal equal-
                          protection rights.

            Plaintiffs also assert a second federal equal-
      protection claim on the grounds that the Election Code, by
      not requiring signature comparison for mail-in and
      absentee ballots, treats such ballots differently than in-
      person ballots (which require signature comparisons).
      Plaintiffs argue that this is an unconstitutionally arbitrary
      and unequal treatment. The Court disagrees.

             It is well-settled that states may employ in-person
      voting, absentee voting, and mail-in voting and each
      method need not be implemented in exactly the same way.
      See Hendon, 710 F.2d at 181 (“A state may employ diverse
      methods of voting, and the methods by which a voter casts
      his vote may vary throughout the state.”)

            “Absentee voting is a fundamentally different
      process from in-person voting, and is governed by
      procedures entirely distinct from in-person voting
      procedures.” ACLU of New Mexico v. Santillanes, 546 F.3d
      1313, 1320 (10th Cir. 2008) (citations omitted). It is an
      “obvious fact that absentee voting is an inherently different
      procedure from in-person voting.” Indiana Democratic
      Party v. Rokita, 458 F. Supp. 2d 775, 830-31 (S.D. Ind.
      2006). Because in-person voting is “inherently different”
      from mail-in and absentee voting, the procedures for each

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      need not be the same. See, e.g., Santillanes, 546 F.3d at
      1320-21 (“[B]ecause there are clear differences between the
      two types of voting procedures, the law’s distinction is
      proper.”); Rokita, 458 F. Supp. 2d at 831 (“[I]t is axiomatic
      that a state which allows for both in-person and absentee
      voting must therefore apply different requirements to
      these two groups of voters.”); Billups, 439 F. Supp. 2d at
      1356-57 (“[A]bsentee voting and in-person voting are
      inherently different processes, and both processes use
      different standards, practices, and procedures.”).

             Plaintiffs argue that while absentee and mail-in
      voting “is a fundamentally different process from in-person
      voting,” Defendants have “no justification in this instance
      to create such an arbitrary and disparate rule between
      absentee/mail-in voters and in-person voters.” [ECF 509,
      p. 51]. Not so.

             Because of the “inherent” differences between in-
      person voting and mail-in and absentee voting,
      Pennsylvania’s requirement for signature comparison for
      in-person ballots, but not mail-in and absentee ballots, is
      not arbitrary. By way of example, Secretary Boockvar
      articulated several valid reasons why Pennsylvania
      implements different verification procedures for mail-in
      and absentee voters versus in-person voters. [ECF 504-12;
      ECF 549-2].

             In her deposition, Secretary Boockvar explained
      that for in-person voters, the only possible verification is
      signature comparison and verification. [ECF 504-12,
      55:19-56:19]. This is because, unlike mail-in and absentee
      voters who must apply for a ballot, in-person voters may
      simply show up at the polls on Election Day and vote. In
      contrast, for mail-in and absentee voters, there are several
      verification steps implemented before the voter’s mail-
      in/absentee ballot is counted, such as checking their
      application and their drivers’ license number or social
      security number. [Id. at 56:8-19]. Thus, counties don’t need
      to resort to a signature comparison to identify and verify
      the mail-in or absentee voter.

             This is important, as Defendants and Intervenors
      present valid concerns about the uniformity and equality
      of signature comparisons, in part, due to the technical

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      nature of signature analysis, the subjective underpinnings
      of signature analysis, and the variety of reasons that
      signatures can naturally change over time. [ECF 549-2,
      pp. 19-20, ¶ 68; ECF 549-9, p. 20, ¶¶ 63-64]. Such factors
      can reasonably justify not requiring a signature
      comparison when the elector is not physically present.

             For example, Secretary Boockvar notes the concern
      with non-handwriting-expert election officials comparing
      signatures, without uniform standards. [ECF 549-2, pp.
      19-20, ¶ 68]. She also notes that people’s signatures can
      change over time, due to natural and unavoidable
      occurrences, like injuries, arthritis, or the simple passage
      of time. [Id.]. Such reasons are valid and reasonable. See
      Boockvar, 2020 WL 5554644, at *34 (Wecht, J. concurring)
      (“Signature comparison is a process fraught with the risk
      of error and inconsistent application, especially when
      conducted by lay people.”).

             Secretary Boockvar further asserts that signature
      comparison is justified for in-person voting, but not mail-in
      or absentee voting, because the in-person voter is notified
      of his or her signature deficiency, and afforded an
      opportunity to cure. [ECF 549-2, pp. 19-20, ¶¶ 66-68
      (explaining that in-person voters can be immediately
      notified of the signature deficiency, but mail-in/absentee
      voters cannot)]. Secretary Boockvar’s justifications are
      consistent with the Election Code’s framework.

              When a voter votes in person, he or she signs the
      voter’s certificate, and the election official immediately, in
      the voter’s presence, verifies the signature. 25 P.S. §
      3050(a.3)(1)-(2). If the election official finds the signature
      to be problematic, the in-person voter is told as such. Id. at
      § 3050(a.3)(2). Notably, however, the in-person voter may
      still cast a ballot. Id. (“[I]f the signature on the voter’s
      certificate … shall not be deemed authentic by any of the
      election officers, such elector shall not be denied the right
      to vote for that reason[.]”). The in-person voter whose
      signature is questioned must, after casting the ballot,
      “produce at least one qualified elector of the election
      district as a witness, who shall make affidavit of his
      identity or continued residence in the election district.” Id.
      at § 3050(d). Thus, the in-person voter whose signature is
      not verified is immediately notified, is still allowed to cast

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      a ballot, and is given the opportunity to remedy the
      signature-deficiency.

             In contrast, a voter who casts a mail-in or absentee
      ballot cannot be afforded this opportunity. Absentee and
      mail-in ballots are kept in “sealed or locked containers”
      until they are “canvassed by the county board of elections.”
      25 P.S. § 3146.8(a). The pre-canvassing and canvassing
      cannot begin until Election Day. Id. at § 3146.8(g)(1.1)-(2).
      As such, the absentee and mail-in ballots cannot be verified
      until Election Day, regardless of when the voter mails the
      ballot. Further, even if there were sufficient time, a voter
      cannot cure these types of deficiencies on their mail-in or
      absentee ballot. Boockvar, 2020 WL 5554644, at *20
      (“[A]lthough the Election Code provides the procedures for
      casting and counting a vote by mail, it does not provide for
      the “notice and opportunity to cure” procedure sought by
      Petitioner.”).

            Therefore, if mail-in and absentee ballots were
      subject to signature comparison, an election official—who
      is unstudied in the technical aspects of signature
      comparison—could deem a voter’s signature problematic
      and not count the ballot, which would effectively
      disenfranchise that voter. Unlike the in-person voter, the
      mail-in or absentee voter may not know that his or her
      signature was deemed inauthentic, and thus may be
      unable to promptly cure the deficiency even if he or she
      were aware.

             Accordingly, the Court concludes that the inherent
      differences and opportunities afforded to in-person voters
      compared to mail-in and absentee voters provides
      sufficient reason to treat such voters differently regarding
      signature comparison. The Court concludes that the lack
      of signature comparison for mail-in and absentee ballots is
      neither arbitrary, nor burdens Plaintiffs’ equal-protection
      rights.

            For these reasons, the Court will dismiss Plaintiffs’
      federal equal-protection claims related to signature
      comparison.




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                   3.     The Election Code provisions
                          related to signature comparison
                          satisfy Anderson-Burdick.

             Finally, even assuming the Election Code’s absence
      of a signature-comparison requirement imposes some
      burden on Plaintiffs’ constitutional rights, Plaintiffs’
      constitutional claims still fail.

             As discussed above with respect to Defendants’ drop-
      box implementation, Anderson-Burdick does not apply
      neatly to this claim either. This is because Plaintiffs aren’t
      challenging a specific regulation affecting their right to
      vote, but are instead challenging the lack of a restriction
      on someone else’s right to vote. This makes both the
      burden difficult to assess and also the state’s interests in
      not doing something more abstract. As such, the Court
      finds that the proper application of the Anderson-Burdick
      framework here includes weighing the burden involving
      Plaintiffs’ risk of vote dilution against the state’s interests
      and overall plan in preventing against voter fraud,
      including with respect to forged mail-in ballots.

             Weighing these considerations compels a conclusion
      that there is no constitutional violation here. With respect
      to any burden on Plaintiffs’ right to vote, that burden is
      slight, at best. A failure to engage in a signature
      comparison may, crediting Plaintiffs’ evidence, increase
      the risk of voter fraud. But even then, this remains a
      largely speculative concern. This burden too is lessened by
      the numerous other regulations imposed by the Election
      Code, including the detailed verification procedure as to
      the information on mail-in ballots (discussed above), and
      the deterrence furthered by criminal sanctions for those
      engaging in such voter fraud.

             Against these burdens, the Commonwealth has
      precise and weighty interests in verifying ballot
      applications and ballots in an appropriate manner to
      ensure that they are accurate. As discussed above, the
      Commonwealth        determined     that    the     risk   of
      disenfranchising mail-in and absentee voters, did not
      justify signature comparison for those voters. [ECF 549-2,
      pp. 19-20, ¶¶ 66-69]. Unlike for in-person voters, there are
      other means of identifying and verifying mail-in and

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      absentee voters, such as having to specifically apply for a
      mail-in or absentee ballot and provide various categories of
      identifying information. [ECF 504-12, 55:19-56:19]; 25 P.S.
      §§ 3146.2(b), 3150.12(b). And ultimately, due to the slight
      burden imposed on Plaintiffs, Pennsylvania’s regulatory
      interests in a uniform election pursuant to established
      procedures is sufficient to withstand scrutiny. Timmons,
      520 U.S. at 358.

             The General Assembly opted not to require
      signature comparisons for mail-in and absentee ballots and
      applications.    And as previously discussed, absent
      extraordinary reasons to, the Court is not to second-guess
      the legislature.

      IV.   Defendants and Intervenors are entitled to
            summary judgment on Plaintiffs’ as-applied,
            federal constitutional challenge to the county-
            residency requirement for poll watchers.

            Plaintiffs next take exception with the provision of
      the Election Code that restricts a registered voter from
      serving as a poll watcher outside the county of his or her
      residence. [ECF 461, ¶ 217].

             Plaintiffs argue that “[a]s applied to the 2020
      General Election, during the midst of the COVID-19
      pandemic, Pennsylvania’s residency requirement for
      watchers violates equal protection.” [ECF 509, p. 58].
      That’s because, according to Plaintiffs, the “current
      pandemic severely challenges the ability of parties to staff
      watchers[.]” [Id. at p. 60]. And not having enough poll
      watchers in place “puts into danger the constitutionally-
      guaranteed right to a transparent and undiluted vote,” [id.
      at p. 68], by “fostering an environment that encourages
      ballot fraud or tampering,” [ECF 461, ¶ 256]. As such,
      Plaintiffs believe that the county residency requirement “is
      not rationally connected or reasonably related to any
      interest presented by the Commonwealth.” [ECF 509, p.
      63].

             Defendants and Intervenors have a markedly
      different view.



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              As an initial matter, the Democratic Intervenors
      argue that Plaintiffs “are precluded from relitigating their
      claim that the Commonwealth lacks a constitutionally
      recognized basis for imposing a county-residence
      restriction for poll watchers” based on the doctrine
      articulated in England v. Louisiana State Bd. of Med.
      Examiners, 375 U.S. 411 (1964). [ECF 529, p. 16]. That
      doctrine requires that after a federal court has abstained
      under Pullman, the plaintiff must expressly reserve the
      right to litigate any federal claims in federal court while
      litigating state-law issues in state court. England, 375
      U.S. at 419, 421-22. Defendants and Intervenors contend
      that Plaintiffs (specifically, the Trump Campaign, the
      RNC, and the Republican Party) failed to do so in the
      proceedings before the Pennsylvania Supreme Court.

             And if the England doctrine doesn’t bar this claim,
      Defendants and Intervenors argue that “Plaintiffs’ as-
      applied challenge simply fails to state a constitutional
      claim.” See, e.g., [ECF 547, p. 65]. They believe that the
      county-residency requirement does not infringe on a
      fundamental right or regulate a suspect classification (such
      as race, sex, or national origin). [Id.]. As a result, the
      Commonwealth need only provide a rational basis for the
      requirement, which Defendants and Intervenors believe
      the Commonwealth has done. [Id.].

            After carefully reviewing the record and considering
      the parties’ arguments and evidence, the Court finds that
      the England doctrine does not bar Plaintiffs’ ability to
      bring this claim. Even so, after fully crediting Plaintiffs’
      evidence, the Court agrees with Defendants and
      Intervenors that Plaintiffs’ as-applied challenge fails on
      the merits.

            A.     The England doctrine does not bar
                   Plaintiffs’ federal challenge to the
                   county-residency requirement.

             In England, the Supreme Court established that
      after a federal court abstains under Pullman, “if a party
      freely and without reservation submits his federal claims
      for decision by the state courts, litigates them there, and
      has them decided there, then … he has elected to forgo his
      right to return to the District Court.” 375 U.S. at 419. To
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      reserve those rights, a plaintiff forced into state court by
      way of abstention must inform the state court that he is
      exposing the federal claims there only to provide the proper
      context for considering the state-law questions. Id. at 421.
      And that “he intends, should the state court[] hold against
      him on the question of state law, to return to the District
      Court for disposition of his federal contentions.” Id.
      Essentially, in England, the Supreme Court created a
      special doctrine of res judicata for Pullman abstention
      cases.

            The Democratic Intervenors argue that because
      none of the three Plaintiffs who participated in the
      Pennsylvania Supreme Court case as either intervenors or
      amici “reserved the right to relitigate [Plaintiffs’ poll-
      watcher claim] in federal court,” they are now “precluded”
      from doing so. [ECF 529, p. 17]. The Court is not convinced
      that this doctrine bars Plaintiffs’ claim for at least two
      reasons.

             First, in its original abstention decision, the Court
      noted that “[n]one of Plaintiffs’ poll-watching claims
      directly ask the Court to construe an ambiguous state
      statute.” [ECF 409, p. 24]. Instead, these claims resided
      in a Pullman gray area, because they were only indirectly
      affected by other unsettled state-law issues. In light of
      that, the Court finds that the England doctrine was not
      “triggered,” such that Plaintiffs needed to reserve their
      right to return to federal court to litigate the specific as-
      applied claim at issue here.

             Second, even if it were triggered, not all of the
      Plaintiffs here were parties in the Pennsylvania Supreme
      Court case, and only one (the Republican Party) was even
      given intervenor status. But even the Republican Party,
      acting as an intervenor, did not have an opportunity to
      develop the record or present evidence relevant to its as-
      applied challenge. Thus, this claim wasn’t “fully litigated”
      by any of the Plaintiffs, which is a necessary condition for
      the claim to be barred under the England doctrine. Cf.
      Bradley v. Pittsburgh Bd. of Educ., 913 F.2d 1064, 1073 (3d
      Cir. 1990) (explaining that a litigant “may not relitigate an
      issue s/he fully and unreservedly litigated in state court”).



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             Thus, Plaintiffs are not precluded by the England
      doctrine from bringing their remaining as applied poll-
      watcher claim. The Court will now address the claim on
      the merits.

            B.     The county-residency requirement, as
                   applied to the facts presented and the
                   upcoming general election, does not
                   violate the U.S. Constitution.

             Originally, Plaintiffs raised a facial challenge to the
      county-residency requirement under 25 P.S. § 2687. That
      is, Plaintiffs first took the position that there was no
      conceivable constitutional application of the requirement
      that an elector be a resident of the county in which he or
      she seeks to serve. But, as Plaintiffs’ concede, that facial
      challenge is no longer viable in light of the Pennsylvania
      Supreme Court’s recent decision. [ECF 448, p. 10]. As a
      result, Plaintiffs now focus solely on raising an as-applied
      challenge to the county-residency requirement.

             “[T]he distinction between facial and as-applied
      challenges is not so well defined that it has some automatic
      effect or that it must always control the pleadings and
      disposition in every case involving a constitutional
      challenge.” Citizens United v. Fed. Election Comm’n, 558
      U.S. 310, 331 (2010).

             At a fundamental level, a “facial attack tests a law’s
      constitutionality based on its text alone and does not
      consider the facts or circumstances of a particular case.
      United States v. Marcavage, 609 F.3d 264, 273 (3d Cir.
      2010). By contrast, an “as-applied attack” on a statute
      “does not contend that a law is unconstitutional as written
      but that its application to a particular person under
      particular circumstances deprived that person of a
      constitutional right.” Id. The distinction between facial
      and an as-applied attack, then, “goes to the breadth of the
      remedy employed by the Court, not what must be pleaded
      in a complaint.” Citizens United, 558 U.S. at 331; see also
      Bruni v. City of Pittsburgh, 824 F.3d 353, 362 (3d Cir. 2016)
      (“The distinction between facial and as-applied
      constitutional challenges, then, is of critical importance in
      determining the remedy to be provided).


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             Because the distinction is focused on the available
      remedies, not the substantive pleading requirements,
      “[t]he substantive rule of law is the same for both
      challenges.” Edwards v. D.C., 755 F.3d 996, 1001 (D.C. Cir.
      2014); see also Pursuing Am.’s Greatness v. Fed. Election
      Comm’n, 831 F.3d 500, 509, n.5 (D.C. Cir. 2016) (“Indeed,
      the substantive rule of law is the same for both as-applied
      and facial First Amendment challenges.”) (cleaned up);
      Legal Aid Servs. of Or. v. Legal Servs. Corp., 608 F.3d 1084,
      1096 (9th Cir. 2010) (“The underlying constitutional
      standard, however, is no different [in an as-applied
      challenge] th[a]n in a facial challenge.”).

             “In other words, how one must demonstrate the
      statute’s invalidity remains the same for both type of
      challenges, namely, by showing that a specific rule of law,
      usually a constitutional rule of law, invalidates the statute,
      whether in a personal application or to all.” Brooklyn Legal
      Servs. Corp. v. Legal Servs. Corp., 462 F.3d 219, 228 (2d
      Cir. 2006), abrogated on other grounds by Bond v. United
      States, 564 U.S. 211 (2011).

             In determining whether a state election law violates
      the U.S. Constitution, the Court must “first examine
      whether the challenged law burdens rights protected by
      the First and Fourteenth Amendments.” Patriot Party of
      Allegheny Cnty. v. Allegheny Cnty. Dep’t of Elections, 95
      F.3d 253, 258 (3d Cir. 1996). “Where the right to vote is
      not burdened by a state’s regulation on the election process,
      … the state need only provide a rational basis for the
      statute.” Cortés, 218 F. Supp. 3d at 408. The same is true
      under an equal protection analysis. “If a plaintiff alleges
      only that a state treated him or her differently than
      similarly situated voters, without a corresponding burden
      on the fundamental right to vote, a straightforward
      rational basis standard of review should be used.” Obama,
      697 F.3d at 428 (6th Cir. 2012); see also Biener, 361 F.3d at
      214-15 (applying rational basis where there was no
      showing of an “infringement on the fundamental right to
      vote.”); Donatelli, 2 F.3d at 515 (“A legislative classification
      that does not affect a suspect category or infringe on a
      fundamental constitutional right must be upheld against
      equal protection challenge if there is any reasonably
      conceivable state of facts that could provide a rational basis
      for the classification.” (cleaned up)).
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             But where the law imposes at least some burden on
      protected rights, the court “must gauge the character and
      magnitude of the burden on the plaintiff and weigh it
      against the importance of the interests that the state
      proffers to justify the burden.” Patriot Party, 95 F.3d at
      258 (citations omitted).

             Consistent with the Pennsylvania Supreme Court’s
      recent decision, but now based on a complete record, this
      Court finds that the county-residency requirement for poll
      watching does not, as applied to the particular
      circumstances of this election, burden any of Plaintiffs’
      fundamental constitutional rights, and so a deferential
      standard of review should apply. See Boockvar, 2020 WL
      5554644, at *30. Under a rational-basis review and
      considering all the relevant evidence before the Court, the
      county-residency requirement is rational, and thus
      constitutional. But even if the requirement burdened the
      right to vote, that burden is slight—and under the
      Anderson-Burdick test, the Commonwealth’s interests in a
      county-specific voting system, viewed in the context of its
      overall polling-place security measures, outweigh any
      slight burden imposed by the county-residency restriction.

                   1.     The county-residency requirement
                          neither burdens a fundamental
                          right, including the right to vote,
                          nor discriminates based on a
                          suspect classification.

             At the outset, “there is no individual constitutional
      right to serve as a poll watcher[.]” Boockvar, 2020 WL
      5554644, at *30 (citing Cortés, 218 F. Supp. 3d at 408); see
      also Dailey v. Hands, No. 14-423, 2015 WL 1293188, at *5
      (S.D. Ala. Mar. 23, 2015) (“[P]oll watching is not a
      fundamental right protected by the First Amendment.”);
      Turner v. Cooper, 583 F. Supp. 1160, 1162 (N.D. Ill. 1983)
      (“Plaintiffs have cited no authority …, nor have we found
      any, that supports the proposition that [the plaintiff] had a
      first amendment right to act as a poll watcher.”).

             “State law, not the Federal Constitution, grants
      individuals the ability to serve as poll watchers and parties
      and candidates the authority to select those individuals.”
      Cortés, 218 F. Supp. 3d at 414; see also Boockvar, 2020 WL

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      5554644, at *30 (the right to serve as a poll watcher “is
      conferred by statute”); Tiryak v. Jordan, 472 F. Supp. 822,
      824 (E.D. Pa. 1979) (“The number of poll-watchers allowed,
      the manner of their appointment, their location within the
      polling place, the activities permitted and the amount of
      compensation allowed are all dictated by [25 P.S. § 2687].”).
      Given the nature of the right, “[i]t is at least arguable that
      the [Commonwealth of Pennsylvania] could eliminate the
      position of poll watcher” without offending the constitution.
      Cotz v. Mastroeni, 476 F. Supp. 2d 332, 364 (S.D.N.Y.
      2007). In fact, one neighboring state—West Virginia—has
      eliminated poll watchers. W. Va. Code Ann. § 3-1-37; W.
      Va. Code Ann. § 3-1-41.

             Nor does the county-residency requirement hinder
      the “exercise of the franchise.” Cortés, 218 F. Supp. 3d at
      408. It doesn’t in any way limit voters’ “range of choices in
      the voting booth”—voters can still “cast ballots for
      whomever they wish[.]” Id. And, as Plaintiffs admit, the
      county-residency requirement doesn’t make the actual act
      of casting a vote any harder. See [ECF 524-24, 67:1-6].
      Indeed, at least one of the plaintiffs here, Representative
      Joyce, testified that he was unaware of anyone unable to
      cast his ballot because of the county-residency requirement
      for poll watchers [Id.].

             Finally, Plaintiffs’ claim that Pennsylvania’s “poll
      watching system” denies them “equal access” to the ability
      to observe polling places in the upcoming election does not,
      on its own, require the Court to apply anything other than
      rational-basis scrutiny. [ECF 551, p. 75]. To the extent
      Plaintiffs are denied equal access (which discussed below,
      as a matter of evidence, is very much in doubt), it isn’t
      based on their membership in any suspect classification.

             For a state law to be subject to strict scrutiny, it
      must not only make a distinction among groups, but the
      distinction must be based on inherently suspect classes
      such as race, gender, alienage, or national origin. See City
      of Cleburne v. Cleburne Living Ctr., 473 U.S. 432, 439-40
      (1985). Political parties are not such a suspect class.
      Greenville Republican Party, 824 F. Supp. 2d at 669
      (“[T]his court is unfamiliar with, and Plaintiffs have not
      cited, any authority categorizing political parties as an
      inherently suspect class.”) Likewise, “[c]ounty of residence

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      is not a suspect classification warranting heightened
      scrutiny[.]” Short, 893 F.3d at 679.

              Plaintiffs don’t dispute this. [ECF 509, p. 65 (“To be
      clear, the right at issue here is the right of candidates and
      political parties to participate in an election where the
      process is transparent and open to observation and the
      right of the voters to participate in such election.”
      (emphasis in original))]. Rather, Plaintiffs’ theory as to
      how the county-residency requirement burdens the right to
      vote is based on the same threat of vote dilution by fraud
      that they have advanced with their other claims. In other
      words, Plaintiffs’ claim that the county-residency
      requirement for poll watchers limits the ability to find poll
      watchers, which, in turn, limits the ability for poll watchers
      to detect fraud and ballot tampering. [ECF 461, ¶¶ 256-
      57]. The resulting fraudulent or destroyed ballots cause
      the dilution of lawfully cast ballots. [ECF 509, pp. 64-68].

             Thus, based on this theory, to establish the burden
      flowing from the county-residency restriction, Plaintiffs
      must show (1) the county-residency requirement prevents
      them from recruiting enough registered Republican poll
      watchers in every county, (2) the absence of these
      Republican poll watchers creates a material risk of
      increased fraud and ballot tampering, and (3) this risk of
      fraud and ballot tampering will dilute the value of honestly
      cast votes.

            There are both factual and legal problems fatal to
      Plaintiffs’ vote-dilution theory in this context. Factually,
      Plaintiffs’ evidence, accepted as true, fails to establish that
      they cannot find enough poll watchers because of the
      county-residency requirement. But even if they made that
      factual showing, the inability to find poll watchers still
      does not burden any recognized constitutional right in a
      way that would necessitate anything more than deferential
      review.

                   2.     Plaintiffs’ evidence does not
                          establish any factual predicate for
                          their theory.

            Even accepting as true Plaintiffs’ version of events,
      Plaintiffs have not established that the county-residency

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      requirement is responsible for an inability to find enough
      poll watchers for at least two reasons.

           First, Plaintiffs’ evidence stops short of
      demonstrating any actual shortfall of desired poll
      watchers.

             For example, in his declaration, James J.
      Fitzpatrick, the Pennsylvania Director for Election Day
      Operations for the Trump Campaign, stated only that the
      “Trump Campaign is concerned that due to the residency
      restriction, it will not have enough poll watchers in certain
      counties.” [ECF 504-2, ¶ 25 (emphasis added)]. Notably,
      however, Mr. Fitzpatrick, even when specifically asked
      during his deposition, never identified a single county
      where the Trump Campaign has actually tried and failed
      to recruit a poll watcher because of the county-residency
      requirement. See, e.g., [ECF 528-14, 261:21-25 (“Q: Which
      counties does the Trump campaign or the RNC contend
      that they will not be able to obtain what you refer to as full
      coverage of poll watchers for the November 2020 election?
      A: I’m not sure. I couldn’t tell you a list.”).

             Nor do any of Plaintiffs’ other witness declarations
      establish an actual, inability to recruit poll watchers in any
      specific county. Representative Reschenthaler stated only
      that he was “concerned” that he “will not be able to recruit
      enough volunteers from Greene County to watch the
      necessary polls in Greene County.” [ECF 504-6, ¶ 12].

             Representative Kelly stated that he was “likely to
      have difficulty getting enough poll watchers from within
      Erie County to watch all polls within that county on
      election day.” [ECF 504-5, ¶ 16]. “Likely difficulty” isn’t
      the same as an “actual inability.” That aside, the
      declaration doesn’t provide any basis for Representative
      Kelly’s assessment of this “likely difficulty.” Nowhere does
      he detail the efforts he took (e.g., the outreach he tried,
      prospective candidates he unsuccessfully recruited, and
      the like), nor did he explain why those efforts aren’t likely
      to succeed in the future.

            The same goes for Representative Thompson’s
      declaration. Representative Thompson stated that during
      some unspecified prior elections, unidentified parties and

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      campaigns did not “always find enough volunteers to serve
      as poll watchers in each precinct.” [ECF 504-4, ¶ 20]. But
      this undetailed statement doesn’t help Plaintiffs’ cause,
      because it doesn’t identify the elections during which this
      was a problem, the parties and campaigns affected by a
      lack of poll watchers, or the precincts for which no poll
      watcher could be found.

             Representative Joyce’s declaration doesn’t even
      express a “concern” about “likely difficulty” in recruiting
      poll watchers. He simply stated his belief that “[p]oll
      watchers play a very important role in terms of protecting
      the integrity of the election process[.]” [ECF 504-7, ¶ 11].
      While he may be right, it has no bearing on whether
      Plaintiffs can find enough people to play that “very
      important role.”

             Indeed, Plaintiffs’ prediction that they will “likely”
      have difficulty finding poll watchers is belied by the
      uncontested Pennsylvania voter registration statistics for
      2019 that they included as an exhibit to their summary-
      judgment brief. [ECF 504-34]. Those statistics suggest
      that there is no shortage of registered Republican voters
      who are qualified to serve as poll watchers. [Id.]. Even in
      the three specific counties in which Plaintiffs warn that
      “Democratic registered voters out-number … their
      Republican counterparts” (i.e., Philadelphia, Delaware,
      and Centre), there are still significant numbers of
      registered Republicans. See [ECF 504-34 (Philadelphia –
      118,003; Delaware – 156,867; and Centre – 42,903)]. And
      only a very small percentage of the registered Republicans
      would be needed to fill all the necessary poll watcher
      positions in those allegedly problematic counties. See, e.g.,
      Cortés, 218 F. Supp. 3d at 410 (noting that, in 2016, the
      Republican Party “could staff the entirety of the poll
      watcher allotment in Philadelphia county with just 4.1% of
      the registered Republicans in the county.”).           While
      Plaintiffs argue that these statistics don’t show the number
      of registered Republicans willing to serve as a poll watcher,
      the Court is hard pressed to see, nor do Plaintiffs show,
      how among the tens—or hundreds—of thousands of




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      registered Republicans in these counties, Plaintiffs are
      unable to find enough poll workers.20

            Plaintiffs have not presented any evidence that
      would explain how, despite these numbers, they will have
      a hard time finding enough poll watchers. In fact,
      Plaintiffs’ own expert, Professor Lockerbie, admits that
      “the Democratic and Republican parties might be able to
      meet the relevant criteria and recruit a sufficient
      population of qualified poll watchers who meet the
      residency requirements[.]” [ECF 504-20, ¶ 16].

             Professor Lockerbie’s report makes clear, and
      Plaintiffs appear to agree, that the county-residency
      requirement only potentially burdens other, “minor”
      political parties’ ability to recruit enough poll watchers.
      [ECF 509, p. 61 (citing ECF 504-20, ¶¶ 16-17)]. Regardless,
      any burden on these third parties is not properly before the
      Court. They are not parties to this litigation, and so the
      Court doesn’t know their precise identities, whether they
      have, in fact, experienced any difficulty in recruiting poll
      watchers, or, more fundamentally, whether they even want
      to recruit poll watchers at all.21


      20 Plus, these figures do not even tell the whole story
      because they do not take into account the hundreds of
      thousands of voters who are registered to other parties who
      could also conceivably serve as poll watchers for the Trump
      Campaign and the candidate Plaintiffs. [504-34]. While
      that may not be the ideal scenario for Plaintiffs, they
      concede there’s nothing in the Election Code that limits
      them to recruiting only registered voters from the
      Republican Party. [ECF 528-14, 267:23-268:1 (Q: And you
      don’t have to be a registered Republican to serve as a poll
      watcher for the Trump campaign, do you? A: No.)]. To that
      point, the Trump Campaign utilized at least two
      Democrats among the poll watchers it registered in the
      primary. [ECF 528-15, P001648].
      21To the extent that Plaintiffs are attempting to bring their
      claim on behalf of these third parties (which is unclear),
      they would lack standing to do so. Ordinarily, “a litigant
      must assert his or her own legal rights and interests and
      cannot rest a claim of relief on the legal rights or interests
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             Additionally, Plaintiffs failed to present evidence
      that connects the county-residency requirement to their
      inability to find enough poll watchers. To succeed on their
      theory Plaintiffs cannot just point to difficulty recruiting
      poll watchers, they need to also show that “Section 2687(b)




      of third parties.” Powers v. Ohio, 499 U.S. 400, 410 (1991).
      The only time a litigant can bring an action on behalf of a
      third party is when “three important criteria are satisfied.”
      Id. “The litigant must have suffered an ‘injury in fact,’ thus
      giving him or her a ‘sufficiently concrete interest’ in the
      outcome of the issue in dispute; the litigant must have a
      close relation to the third party; and there must exist some
      hindrance to the third party’s ability to protect his or her
      own interest.” Id. at 410-11 (cleaned up). Plaintiffs cannot
      satisfy the second or third criteria.

             Plaintiffs claim that they “have a close relationship
      with these minor parties such that it will act as an effective
      advocate for the minor parties.” [ECF 551, p. 30]. It is hard
      to see how Plaintiffs can be said to have a close relationship
      with rival political parties who are their direct adversaries
      in the upcoming election.

             Plaintiffs also argue that these “minor parties are
      hindered from protecting their own interests, particularly
      in this action when there are no minor party intervenors.”
      [Id.]. But that doesn’t hold water either. Just because
      these other parties have not asked to intervene, it does not
      mean they were incapable of intervening or seeking relief
      elsewhere. Indeed, these parties and their candidates have
      demonstrated time and again that they can raise their own
      challenges to election laws when they so desire, including
      by filing suit in federal district court. See, e.g., Stein v.
      Cortés, 223 F. Supp. 3d 423 (E.D. Pa. 2016) (Green Party
      Presidential candidate Jill Stein seeking recount);
      Libertarian Party of Conn. v. Merrill, No. 20-467, 2020 WL
      3526922 (D. Conn. June 27, 2020 (seeking to enjoin
      Connecticut’s ballot access rules that required minor party
      candidates to petition their way onto the ballot); Green
      Party of Ark. v. Martin, 649 F.3d 675 (8th Cir. 2011)
      (challenging Arkansas’ ballot access laws).

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      is responsible for their purported staffing woes.” Cortés,
      218 F. Supp. 3d at 410. Plaintiffs fail to show this, too.

             Plaintiffs argue that the ongoing COVID-19
      pandemic greatly reduces the number of people who would
      be willing to serve as a poll watcher, which further
      exacerbates the alleged problem caused by the county-
      residency requirement. [ECF 509, p. 60]. The primary
      problem with this argument, though, is that Plaintiffs have
      not presented any evidence to support it. Plaintiffs have
      not put forward a statement from a single registered voter
      who says they are unwilling to serve as a poll watcher due
      to concerns about contracting COVID-19.

             Despite this shortcoming, the Court also
      acknowledges that COVID-19 generally has made it more
      difficult to do anything in person, and it is entirely
      plausible that the current pandemic will limit Plaintiffs
      from recruiting poll watchers to man polling places on
      election day. But that is likely true for just about every
      type of election rule and regulation. For example, the
      effects of the ongoing pandemic coupled with the
      requirement that the poll watcher be a registered voter (a
      requirement that unquestionably narrows the pool of
      potential candidates) would also make it harder to recruit
      poll watchers. There is no basis to find that the current
      public-health conditions, standing alone, render the
      county-residency       requirement       irrational     or
      unconstitutional.

              To bolster their concerns over COVID-19, Plaintiffs
      point to Democratic Nat’l Committee v. Bostelmann, No. 20-
      249, 2020 WL 5627186 (W.D. Wis. Sept. 21, 2020), where
      the court there enjoined Wisconsin’s statute that requires
      that each election official (i.e., poll worker) be an elector of
      the county in which the municipality is located. That case
      is distinguishable in at least two important ways.

             First, Bostelmann concerned poll workers, not poll
      watchers. Id. at *7. The difference between the two is
      significant. Poll workers are a more fundamental and
      essential aspect of the voting process. Without poll
      workers, counties cannot even open polling sites, which
      creates the possibility that voters will be completely
      disenfranchised. In fact, in Bostelmann, the plaintiffs

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      presented evidence that Milwaukee was only able to open
      5 of its normal 180 polling places. Id. A failure to provide
      voters a place to vote is a much more direct and established
      constitutional harm than the one Plaintiffs allege here.

            Second, the plaintiffs in Bostelmann actually
      presented evidence that they were unable to find the poll
      workers they needed due to the confluence of the COVID-
      19 pandemic and the challenged restriction. Id. As
      discussed above, Plaintiffs here have presented no such
      evidence.

             To succeed on summary judgment, Plaintiffs need to
      move beyond the speculative concerns they offer and into
      the realm of proven facts. But they haven’t done so on two
      critical fronts—they haven’t shown an actual inability to
      find the necessary poll watchers, or that such an inability
      is caused by the county-residency requirement. Because
      Plaintiffs have not pointed to any specific “polling place
      that Section 2687(b) prevents [them] from staffing with
      poll watchers,” Plaintiffs’ theory of burden is doomed at
      launch. Cortés, 218 F. Supp. 3d at 409.

                    3.     Even if Plaintiffs could establish a
                           factual predicate for their theory,
                           it would fail as a matter of law.

            As the Pennsylvania Supreme Court concluded last
      month, Plaintiffs’ “speculative claim that it is ‘difficult’ for
      both parties to fill poll watcher positions in every precinct,
      even if true, is insufficient to transform the
      Commonwealth’s uniform and reasonable regulation
      requiring that poll watchers be residents of the counties
      they serve into a non-rational policy choice.” Boockvar,
      2020 WL 5554644, at *30 (emphasis added).22 The



      22 The Sierra Club Intervenors argue this should end the
      analysis. [ECF 542, p. 14 (“Even ‘as applied,’ Plaintiffs’
      claim has already been rejected”)]. While the Court finds
      the Pennsylvania Supreme Court’s apparent ruling on
      Plaintiffs’ as-applied challenge instructive, it is not
      outcome determinative. That is because the Pennsylvania
      Supreme Court did not have the benefit of the full
      evidentiary record that the Court has here.
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      fundamental constitutional principles undergirding this
      finding are sound.

             Plaintiffs’ only alleged burden on the right to vote is
      that Defendants’ lawful imposition of a county-residency
      requirement on poll watching will result in an increased
      risk of voter irregularities (i.e., ballot fraud or tampering)
      that will, in turn, potentially cause voter dilution. While
      vote dilution is a recognized burden on the right to vote in
      certain contexts, such as when laws are crafted that
      structurally devalue one community’s or group of people’s
      votes over another’s, there is no authority to support a
      finding of burden based solely on a speculative, future
      possibility that election irregularities might occur. See, e.g.,
      Minnesota Voters, 720 F.3d at 1033 (affirming dismissal of
      claims “premised on potential harm in the form of vote
      dilution caused by insufficient pre-election verification of
      EDRs’ voting eligibility and the absence of post-election
      ballot rescission procedures”); Common Cause Rhode
      Island v. Gorbea, 970 F.3d 11, 15 (1st Cir. 2020) (rejecting
      the claim that a ballot witness signature requirement
      should not be enjoined during a pandemic because it would
      allegedly increase the risk of voter fraud and put
      Republican candidates at risk); Cook Cnty. Rep. Party v.
      Pritzker, No. 20-4676, 2020 WL 5573059, at *4 (N.D. Ill.
      Sept. 17, 2020) (denying a motion to enjoin a law expanding
      the deadline to cure votes because plaintiffs did not show
      how voter fraud would dilute the plaintiffs’ votes).

             Without a recognized burden on the right to vote,
      Plaintiffs’ “argument that the defendants did not present
      an adequate justification is immaterial.” Green Party of
      Tennessee v. Hargett, No. 16-6299, 2017 WL 4011854, at *4
      (6th Cir. May 11, 2017). That’s because the Court need not
      apply the Anderson-Burdick framework, and its
      intermediate standards, in this situation. See Donatelli, 2
      F.3d at 514 & n.10. Instead, just as the Pennsylvania
      Supreme Court held, the Commonwealth here need only
      show “that a rational basis exists [for the county-residency
      requirement] to be upheld. Boockvar, 2020 WL 5554644,
      at *30 (citing Cortes, 218 F. Supp. 3d at 408); see also
      Voting for Am., Inc. v. Andrade, 488 F. App’x 890, 899 (5th
      Cir. 2012) (applying rational basis review as opposed to the
      Anderson-Burdick balancing test because state election
      law did not implicate or burden specific constitutional
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      rights); McLaughlin v. North Carolina Bd. of Elections, 65
      F.3d 1215, 1227 (4th Cir. 1995) (concluding that a ballot
      access law “fails the Anderson balancing test only if it also
      does in fact burden protected rights”).

             “Under rational-basis review, the challenged
      classification must be upheld ‘if there is any reasonably
      conceivable state of facts that could provide a rational basis
      for the classification.’” Donatelli, 2 F.3d at 513 (quoting
      FCC v. Beach Commc’ns, Inc., 508 U.S. 307, 313 (1993)).
      “This standard of review is a paradigm of judicial
      restraint.” FCC, 508 U.S. at 314. It “is not a license for
      courts to judge the wisdom, fairness, or logic of legislative
      choices.” Id. at 313. Nor is it the Court’s “place to
      determine whether the [General Assembly’s decisions]
      were the best decisions or even whether they were good
      ones.” Donatelli, 2 F.3d at 518.

             Applying this deferential standard of review, the
      Pennsylvania Supreme Court found that given
      Pennsylvania’s “county-based scheme for conducting
      elections, it is reasonable that the Legislature would
      require poll watchers, who serve within the various
      counties of the state, to be residents of the counties in
      which they serve.” Boockvar, 2020 WL 5554644, at *30
      (citing Cortés, 218 F. Supp. 3d at 409). The Court agrees.

             There are multiple reasons for this. As Secretary
      Boockvar advises, “[b]y restricting poll watchers’ service to
      the counties in which they actually reside, the law ensures
      that poll watchers should have some degree of familiarity
      with the voters they are observing in a given election
      district.” [ECF 549-2, p. 22, ¶ 78]. In a similar vein,
      Intervenors’ expert, Dr. Barreto, in his report, states that,
      voters are more likely to be comfortable with poll watchers
      that “they know and they recognize from their area.” [ECF
      524-1, ¶40 (“Research in political science suggests that
      voters are much more comfortable and trusting of the
      process when they know or are familiar with poll workers
      who are from their community.”)]. When poll watchers
      come from the community, “there is increased trust in
      government, faith in elections, and voter turnout[.]” [Id.].

             At his deposition, Representative Kelly agreed with
      this idea: “Yeah, I think – again, depending how the

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      districts are established, I think people are probably even
      more comfortable with people that they – that they know
      and they recognize from their area.” [ECF 524-23, 111:21-
      25].

              Whether requiring poll watchers to be residents of
      the county in which they will serve is the best or wisest rule
      is not the issue before the Court. The issue is whether that
      rule is reasonable and rationally advances Pennsylvania’s
      legitimate interests. This Court, like multiple courts
      before it, finds that it does.

                   4.     Plaintiffs’ poll-watcher claim fails
                          under      the    Anderson-Burdick
                          framework.

             Even if rational-basis review did not apply and
      Plaintiffs had established a burden on their right to vote,
      their claim nonetheless fails under the Anderson-Burdick
      framework.

             Viewing Plaintiffs’ evidence in the best possible
      light, at most, the county-residency requirement for poll
      watching places only an indirect, ancillary burden on the
      right to vote through an elevated risk of vote dilution.

             Against this slight burden, the Commonwealth has
      sound interests in imposing a county-residency
      requirement, including, as noted above, local familiarity
      with rules, regulations, procedures, and the voters.
      Beyond this, in assessing the Commonwealth’s interest in
      imposing the county-based restriction, that interest must
      be viewed in the overall context of the Commonwealth’s
      security measures involving polling places that are
      designed to prevent against fraud and vote dilution.

            As the court in Cortés recognized, “while poll
      watchers may help guard the integrity of the vote, they are
      not the Election Code’s only, or even best, means of doing
      so.” 218 F. Supp. 3d at 404.

             Each county has the authority to investigate fraud
      and report irregularities to the district attorney. 25 P.S. §
      2642(i). Elections in each district are conducted by a
      multimember election board, which is comprised of an
      election judge, a majority inspector, and a minor inspector.
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      25 P.S. § 2671. Each voting district may also use two
      overseers of election, who are appointed from different
      political parties by the Pennsylvania Courts of Common
      Pleas, and “carry greater authority than poll watchers.”
      Cortés, 218 F. Supp. 3d at 403 (citing 25 P.S. § 2685).
      “Election overseers have the right to be present with the
      officers of an election ‘within the enclosed space during the
      entire time the … election is held.” Id. “Poll watchers have
      no such right,” they must “remain ‘outside the enclosed
      space’ where ballots are counted or voting machines
      canvassed.” Id. (citing 25 P.S. § 2687(b)). Election
      overseers can also challenge any person offering to vote,
      while poll watchers have no such authority. 25 P.S. § 2687.
      For these reasons, concerns “over potential voter fraud—
      whether perpetrated by putative electors or poll workers
      themselves—appear more effectively addressed by election
      overseers than poll watchers[.]” Id. at 406.

             Plaintiffs complain that poll watchers may not be
      present during the pre-canvass and canvass meetings for
      absentee and mail-in ballots. But the Election Code
      provides that “authorized representatives” of each party
      and each candidate can attend such canvassing. 25 P.S. §
      3146.8(g)(1.1), (2).   That means if, for example, 15
      Republican candidates appear on ballots within a
      particular county (between both the state and federal
      elections), there could be up to 16 “authorized
      representatives” related to the Republican Party (one for
      each candidate and one for the party as a whole) present
      during canvassing. Adding poll watchers to that mix would
      just be forcing unnecessary cooks into an already crowded
      kitchen.23 See [ECF 549-2, p. 23, ¶ 83 (“If every certified

      23 After the briefing on the cross-motions for summary
      judgment had closed, on October 6, 2020, Secretary
      Boockvar issued additional guidance, which Plaintiffs then
      raised with the Court the following day. [ECF 571]. This
      new guidance confirms that poll watchers cannot be
      present during the pre-canvassing and canvassing of mail-
      in ballots. It also makes clear that while the authorized
      representative can be present, the representative cannot
      make any challenges to the ballots. The Court finds that
      this new guidance has minimal relevance to the current
      disputes at issue here.       The scope of duties of a
      representative is not before the Court. Of sole relevance
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      poll watcher within a county was permitted to attend the
      pre-canvass meeting, the elections staff could be
      overwhelmed by the vast numbers of poll watchers, and the
      pre-canvassing process could become chaotic and
      compromised.”)].

             Further, Secretary Boockvar testified that
      Pennsylvania has adopted new voting systems that will
      provide an additional layer of security. [ECF 524-27,
      237:21-238:11. That is, there will now be a paper trail in
      the form of verifiable paper ballots that will allow voters to
      confirm their choice, and the state recently piloted a new
      program that will help ensure that votes can be properly
      verified. [Id.].

             On balance, then, it is clear that to the extent any
      burden on the right to vote exists, it is minimal. On the
      other hand, the Commonwealth’s interest in a county-
      specific voting system, including with county-resident poll
      watchers, is rational and weighty, particularly when
      viewed in the context of the measures that the
      Commonwealth has implemented to prevent against
      election fraud at the polls. As such, under the flexible
      Anderson-Burdick standard, Plaintiffs have failed to
      establish that the county-residency requirement is
      unconstitutional.

                   5.     The Court will continue to abstain
                          from deciding where the Election
                          Code permits poll watching to
                          occur.

             Plaintiffs also appear to challenge any attempts to
      limit poll watching to “monitoring only in-person voting at
      the polling place on Election Day.” [ECF 461, ¶ 254]. That

      here is whether this new guidance changes how this Court
      weighs the burdens and benefits of the county-residency
      restriction for poll watchers. The Court finds that the
      representative’s inability to challenge mail-in ballots does
      appear to provide less protection to Plaintiffs; but in the
      grand election scheme, particularly in light of the role of
      the election overseers, the Court does not find the new
      guidance to materially upset the Commonwealth’s
      interests in its overall election-monitoring plan.
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      is, in their proposed order accompanying their Motion for
      Summary Judgement, Plaintiffs seek a declaration that
      they are “permitted to have watchers present at all
      locations where voters are registering to vote, applying for
      absentee or mail-in ballots, voting absentee or mail-in
      ballots, and/or returning or collecting absentee or mail-in
      ballots, including without limitation any satellite or early
      voting sites established by any county board of elections.”
      [ECF 503-1, ¶ 3].

             Plaintiffs also argue that Secretary Boockvar’s
      October 6, 2020, guidance expressly, and unlawfully,
      prohibits poll watchers from being present at county
      election offices, satellite offices, and designated ballot-
      return sites. [ECF 571].

             This challenge, however, is directly related to the
      unsettled state-law question of whether drop boxes and
      other satellite locations are “polling places” as envisioned
      under the Election Code. If they are, then Plaintiffs may
      be right in that poll watchers must be allowed to be
      present. However, the Court previously abstained under
      Pullman in addressing this “location” claim due to the
      unsettled nature of the state-law issues; and it will
      continue to do so. [ECF 459, p. 5 (“The Court will continue
      to abstain under Pullman as to Plaintiffs’ claim pertaining
      to the notice of drop box locations and, more generally,
      whether the ‘polling place’ requirements under the
      Election Code apply to drop-box locations. As discussed in
      the Court’s prior opinion, this claim involves unsettled
      issues of state law.”)].

              Moreover, Plaintiffs have filed a lawsuit in the Court
      of Common Pleas of Philadelphia to secure access to drop
      box locations for poll watchers. The state court held that
      satellite ballot-collection locations, such as drop-box
      locations, are not “polling places,” and therefore poll
      watchers are not authorized to be present in those places.
      [ECF 573-1, at p. 12]. The Trump Campaign immediately
      filed a notice of appeal of that decision. Regardless of what
      happens on appeal, Plaintiffs appear to be on track to
      obtain resolution of that claim in state court. [ECF 549-
      22]. Although this isn’t dispositive, it does give the Court
      comfort that Plaintiffs will be able to seek timely resolution
      of these issues, which appear to be largely matters of state
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      law. See Barr v. Galvin, 626 F.3d 99, 108 n.3 (1st Cir. 2010)
      (“Though the existence of a pending state court action is
      sometimes considered as a factor in favor of abstention, the
      lack of such pending proceedings does not necessarily
      prevent abstention by a federal court.”).

      V.    The    Court    will    decline to exercise
            supplemental jurisdiction over Plaintiffs’
            state-constitutional claims.

             In addition to the federal-constitutional claims
      addressed above, Plaintiffs assert violations of the
      Pennsylvania Constitution in Counts III, V, VII, and IX of
      the Second Amended Complaint. Because the Court will
      be dismissing all federal-constitutional claims in this case,
      it will decline to exercise supplemental jurisdiction over
      these state-law claims.

             Under 28 U.S.C. § 1367(c)(3), a court “may decline to
      exercise supplemental jurisdiction over state law claims if
      it has dismissed all claims over which it has original
      jurisdiction[.]” Stone v. Martin, 720 F. App’x 132, 136 (3d
      Cir. 2017) (cleaned up). “It ‘must decline’ to exercise
      supplemental jurisdiction in such circumstances ‘unless
      considerations of judicial economy, convenience, and
      fairness to the parties provide an affirmative justification
      for [exercising supplemental jurisdiction].’” Id. (quoting
      Hedges v. Musco, 204 F.3d 109, 123 (3d Cir. 2000)
      (emphasis in original)).

             Courts have specifically applied this principle in
      cases raising federal and state constitutional challenges to
      provisions of the state’s election code. See, e.g., Silberberg
      v. Bd. of Elections of New York, 272 F. Supp. 3d 454, 480–
      81 (S.D.N.Y. 2017) (“Having dismissed plaintiffs’ First and
      Fourteenth Amendment claims, the Court declines to
      exercise supplemental jurisdiction over plaintiffs’ state law
      claims.”); Bishop v. Bartlett, No. 06-462, 2007 WL 9718438,
      at *10 (E.D.N.C. Aug. 18, 2007) (declining “to exercise
      supplemental jurisdiction over the state constitutional
      claim” following dismissal of all federal claims and
      recognizing “the limited role of the federal judiciary in
      matters of state elections” and that North Carolina’s
      administrative, judicial, and political processes provide a


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      better forum for plaintiffs to seek vindication of their state
      constitutional claim), aff’d, 575 F.3d 419 (4th Cir. 2009).

            Beyond these usual reasons to decline to exercise
      supplemental jurisdiction over the state-constitutional
      claims, there are two additional reasons to do so here.

             First, the parties do not meaningfully address the
      state-constitutional claims in their cross-motions for
      summary judgment, effectively treating them as
      coextensive with the federal-constitutional claims here.
      The Pennsylvania Supreme Court, however, has held that
      Pennsylvania’s “Free and Equal Elections” Clause is not
      necessarily coextensive with the 14th Amendment. See
      League of Women Voters v. Commonwealth, 178 A.3d 737,
      812-813 (Pa. 2018) (referring to the Pennsylvania Free and
      Equal Elections Clause as employing a “separate and
      distinct standard” than that under the 14th Amendment to
      the U.S. Constitution). Given the lack of briefing on this
      issue and out of deference to the state courts to interpret
      their own state constitution, the Court declines to exercise
      supplemental jurisdiction.

             Second, several Defendants have asserted a defense
      of sovereign immunity in this case. That defense does not
      apply to Plaintiffs’ federal-constitutional claims under the
      Ex parte Young doctrine. See Acosta v. Democratic City
      Comm., 288 F. Supp. 3d 597, 627 (E.D. Pa. 2018) (“Here,
      the doctrine of Ex parte Young applies to Plaintiffs’
      constitutional claims for prospective injunctive and
      declaratory relief, and therefore the First and Fourteenth
      Amendment claims are not barred by the Eleventh
      Amendment. Secretary Cortés, as an officer of the
      Pennsylvania Department of State, may be sued in his
      individual and official capacities ‘for prospective injunctive
      and declaratory relief to end continuing or ongoing
      violations of federal law.’”). But sovereign immunity may
      apply to the state-law claims, at least those against
      Secretary Boockvar.           The possibility of sovereign
      immunity potentially applying here counsels in favor of
      declining supplemental jurisdiction to decide the state-law
      claims.

            As such, all state-constitutional claims will be
      dismissed without prejudice.

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                           CONCLUSION

              For the foregoing reasons, the Court will enter
      judgment in favor of Defendants and against Plaintiffs on
      all federal-constitutional claims, decline to exercise
      supplemental jurisdiction over the remaining state-law
      claims, and dismiss all claims in this case. Because there
      is no just reason for delay, the Court will also direct entry
      of final judgment under Federal Rule of Civil Procedure
      54(b). An appropriate order follows.

      DATED this 10th day of October, 2020.

                                 BY THE COURT:

                                 /s/ J. Nicholas Ranjan
                                 United States District Judge




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